USCA Case #24-1291      Document #2073429          Filed: 09/04/2024    Page 1 of 172



                                 No. 24-1291


              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT
              ___________________________________________

   TRAVIS DARDAR, NICOLE DARDAR, KENT DUHON, MARY ALICE
  NASH, JERRYD TASSIN, ANTHONY THERIOT, FISHERMEN INVOLVED
     IN SUSTAINING OUR HERITAGE, FOR A BETTER BAYOU, and
            NATURAL RESOURCES DEFENSE COUNCIL,
                                                    Petitioners,
                                         v.
             FEDERAL ENERGY REGULATORY COMMISSION,
                                             Respondent.
               ___________________________________________

                      JOINT PETITION FOR REVIEW
               ___________________________________________

      Pursuant to Section 19(b) of the Natural Gas Act, 15 U.S.C. § 717r(b), and

Federal Rule of Appellate Procedure 15(a), Petitioners Travis Dardar, Nicole

Dardar, Kent Duhon, Mary Alice Nash, Jerryd Tassin, Anthony Theriot, Fishermen

Involved in Sustaining Our Heritage, For a Better Bayou, and Natural Resources

Defense Council, (“Petitioners”) respectfully petition the United States Court of

Appeals for the District of Columbia Circuit to review and set aside the following

orders of the Federal Energy Regulatory Commission (“FERC” or “Commission”):
USCA Case #24-1291      Document #2073429           Filed: 09/04/2024   Page 2 of 172



      1. Order Granting Authorizations Under Section 3 and 7 of the Natural Gas

         Act, Venture Global CP2 LNG, LLC, Nos. CP22-21-000 & CP22-22-000,

         187 FERC ¶ 61,199 (June 27, 2024) (“Authorization Order”) (attached as

         Exhibit A); and

      2. Notice of Denial of Rehearing by Operation of Law and Providing for

         Further Consideration, Venture Global CP2 LNG, LLC, Nos. CP22-21-

         000 & CP22-22-000, 188 FERC ¶ 62,109 (August 29, 2024) (attached as

         Exhibit B).

      These orders concern applications by Venture Global CP2 LNG, LLC and

Venture Global CP Express, LLC, to construct and operate a 20 million metric ton

per annum liquified natural gas export terminal called the CP2 LNG Project in

Cameron Parish, Louisiana, and a new natural gas pipeline called the CP Express

Pipeline Project that would include an approximately 85.4-mile-long mainline

pipeline from Jasper County, Texas, to the proposed CP2 LNG export Project in

Cameron Parish, Louisiana, as well as appurtenant facilities. Petitioners and, in the

case of those petitioners that are organizations, their members have been and will

be aggrieved by the approval, construction, and operation of the CP2 LNG Project

and CP Express Pipeline Project.




                                          2
USCA Case #24-1291       Document #2073429           Filed: 09/04/2024    Page 3 of 172



      Petitioners intervened before the Commission and timely requested

rehearing of the Authorization Order. 1 This Court has jurisdiction and venue is

proper under Section 19(b) of the Natural Gas Act, 15 U.S.C. § 717r(b). In

accordance with Federal Rule of Appellate Procedure 15(c), the list of parties

served with copies of this Joint Petition is attached as Exhibit C. This Petition for

Review is timely because the Commission issued its Notice of Denial of Rehearing

by Operation of Law and Providing for Further Consideration on August 29, 2024,

and this Petition for Review was filed within sixty days.




1
  FERC granted all but one of Petitioners’ respective motions to intervene in the
proceeding below. However, FERC denied intervention to Petitioner Fishermen
Involved in Sustaining Our Heritage. See Authorization Order PP 15-17.
Petitioners challenged this denial in their pending request for rehearing before
FERC and take the position that the denial was arbitrary and capricious. Petitioners
remain hopeful FERC will correct this unlawful and unjust error.

                                           3
USCA Case #24-1291    Document #2073429         Filed: 09/04/2024   Page 4 of 172



DATED: September 4, 2024                Respectfully submitted,

                                         /s/ Megan C. Gibson
Caroline Reiser                         Megan C. Gibson
Natural Resources Defense Council       Southern Environmental Law Center
1152 15th Street NW, Suite 300          122 C Street NW, Suite 325
Washington DC, 20005                    Washington, DC 20001
Telephone: (202) 717-8341               Telephone: (202) 828-8382
Email: creiser@nrdc.org                 Email: mgibson@selcdc.org

Thomas Zimpleman                        Spencer Gall
Natural Resources Defense Council       Deirdre Dlugoleski
1152 15th Street NW, Suite 300          Southern Environmental Law Center
Washington DC, 20005                    120 Garrett Street, Suite 400
Telephone: (202) 513-6244               Charlottesville, Virginia 22902
Email: tzimpleman@nrdc.org              Telephone: (434) 977-4090
                                        Email: sgall@selcva.org

Morgan Johnson                          Counsel for Travis Dardar, Nicole
Natural Resources Defense Council       Dardar, Kent Duhon, Mary Alice Nash,
1152 15th Street NW, Suite 300          Jerryd Tassin, Anthony Theriot, For a
Washington DC, 20005                    Better Bayou, and Fishermen Involved
Telephone: (202) 289-2399               in Sustaining Our Heritage
Email: majohnson@nrdc.org

Counsel for Natural Resources Defense
Council




                                        4
USCA Case #24-1291    Document #2073429         Filed: 09/04/2024   Page 5 of 172



                                 EXHIBITS

Exhibit A: Order Granting Authorizations Under Section 3 and 7 of the Natural

            Gas Act, Venture Global CP2 LNG, LLC, Nos. CP22-21-000 & CP22-

            22-000, 187 FERC ¶ 61,199 (June 27, 2024).

Exhibit B: Notice of Denial of Rehearing by Operation of Law and Providing for

            Further Consideration, Venture Global CP2 LNG, LLC, Nos. CP22-

            21-000 & CP22-22-000, 188 FERC ¶ 62,109 (August 29, 2024).

Exhibit C: Official Service List in Federal Energy Regulatory Commission

            Docket Nos. CP22-21-000 and CP22-22-000.




                                       5
USCA Case #24-1291     Document #2073429          Filed: 09/04/2024   Page 6 of 172



              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


TRAVIS DARDAR, NICOLE
DARDAR, KENT DUHON, MARY
ALICE NASH, JERRYD TASSIN,
ANTHONY THERIOT, FISHERMEN
INVOLVED IN SUSTAINING OUR
HERITAGE, FOR A BETTER BAYOU,                No. ___________
and NATURAL RESOURCES
DEFENSE COUNCIL,

                     Petitioners,

              v.

FEDERAL ENERGY REGULATORY
COMMISSION,

                     Respondent.


                   CORPORATE DISCLOSURE STATEMENT

      Fishermen Involved in Sustaining Our Heritage (FISH) is a community

based non-profit organization based in Louisiana dedicated to championing the

rights of commercial fishermen to flourish and prosper. FISH has no parent

companies, and there are no publicly owned corporations that have a ten-percent or

greater ownership interest in FISH.

      For a Better Bayou is a community based non-profit organization based in

Louisiana dedicated to protecting the people and environment of Southwest

Louisiana. For a Better Bayou has no parent companies, and there are no publicly


                                        6
USCA Case #24-1291     Document #2073429           Filed: 09/04/2024   Page 7 of 172



owned corporations that have a ten-percent or greater ownership interest in For a

Better Bayou.

      Natural Resources Defense Council (NRDC) is a non-profit environmental

and public health organization committed to protecting the public and environment

through research and advocacy. NRDC has no parent companies, and there are no

publicly owned corporations that have a ten-percent or greater ownership interest

in NRDC.


DATED: September 4, 2024                 /s/ Megan C. Gibson
                                         Megan C. Gibson
                                         Southern Environmental Law Center




                                         7
USCA Case #24-1291      Document #2073429           Filed: 09/04/2024    Page 8 of 172



                          CERTIFICATE OF SERVICE

      I certify that, on September 4, 2024, copies of this Petition for Review and

exhibits were served on all parties admitted to participate in the agency

proceedings by email to the official service list in Federal Energy Regulatory

Commission Docket Nos. CP22-21-000 and CP22-22-000. As required by Federal

Rule of Appellate Procedure 15(c)(2), a list of those so served is attached as

Exhibit C.

      In accordance with D.C. Cir. Rule 15(a), I further certify that I emailed a

copy of the foregoing to the following:

      Robert Solomon
      Solicitor
      Federal Energy Regulatory Commission
      888 First Street, NE
      Washington, DC 20426
      Robert.solomon@ferc.gov



DATED: September 4, 2024                  /s/ Megan C. Gibson
                                          Megan Gibson
                                          Southern Environmental Law Center




                                          8
USCA Case #24-1291   Document #2073429   Filed: 09/04/2024   Page 9 of 172




                          EXHIBIT A
Document Accession #: 20240627-3107                Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429              Filed: 09/04/2024   Page 10 of 172



                                        187 FERC ¶ 61,199
                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Willie L. Phillips, Chairman;
                               Allison Clements and Mark C. Christie.

         Venture Global CP2 LNG, LLC                                     Docket Nos. CP22-21-000
         Venture Global CP Express, LLC                                              CP22-22-000

           ORDER GRANTING AUTHORIZATIONS UNDER SECTIONS 3 AND 7 OF THE
                               NATURAL GAS ACT

                                                (Issued June 27, 2024)

                On December 2, 2021, Venture Global CP2 LNG, LLC (CP2 LNG) filed a
         request, in Docket No. CP22-21-000, under section 3 of the Natural Gas Act (NGA)1 and
         Part 153 of the Commission’s regulations2 for authorization to site, construct, and operate
         a new liquefied natural gas (LNG) export terminal with 20 million metric tons per annum
         (MTPA) of nameplate liquefaction capacity and associated facilities on the east side of
         the Calcasieu Ship Channel in Cameron Parish, Louisiana (CP2 LNG Project or LNG
         project). The CP2 LNG Project would be constructed in two phases and include a
         liquefaction plant consisting of eighteen liquefaction blocks, four aboveground full
         containment LNG storage tanks, and two marine LNG loading docks.

                 In the same application, Venture Global CP Express, LLC (CP Express) filed a
         request, in Docket No. CP22-22-000, under NGA section 7(c)3 and Parts 157 and 284 of
         the Commission’s regulations,4 for a certificate of public convenience and necessity to
         construct and operate a new interstate natural gas pipeline system to connect the CP2
         LNG Project to the existing natural gas pipeline grid in east Texas and southwest
         Louisiana (CP Express Pipeline Project or pipeline project). The CP Express Pipeline
         Project would comprise an approximately 85.4-mile-long mainline pipeline from Jasper
         County, Texas, to the LNG Project in Cameron Parish, Louisiana, an approximately
         6.0-mile-long lateral pipeline in Calcasieu Parish, Louisiana, and associated aboveground
         facilities in Louisiana and Texas. The pipeline project is designed to transport feed gas to

                1
                    15 U.S.C. § 717b.
                2
                    18 C.F.R. pt. 153 (2023).
                3
                    15 U.S.C. § 717f(c).
                4
                    18 C.F.R. pts. 157, 284 (2023).
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429            Filed: 09/04/2024     Page 11 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 -2-

         the CP2 LNG Project and would allow CP Express to provide up to
         4,400,000 dekatherms per day (Dth/day) of firm transportation service. CP Express also
         requests a blanket certificate under Part 157, Subpart F of the Commission’s regulations
         to perform certain routine construction activities and operations, and a blanket certificate
         under Part 284, Subpart G of the Commission’s regulations to provide open-access
         natural gas transportation services, with pre-granted abandonment approval.

              For the reasons discussed below, we grant the requested authorizations for the CP2
         LNG Project and CP Express Pipeline Project, subject to the conditions discussed herein.

                Background and Proposal

                 CP2 LNG and CP Express (collectively, the applicants) are Delaware limited
         liability companies with their primary place of business in Arlington, Virginia. CP2
         LNG and CP Express are direct, wholly owned subsidiaries of Venture Global LNG, Inc.
         (Venture Global).5 Upon commencing operations proposed in its application, CP Express
         will become a natural gas company within the meaning of section 2(6) of the NGA,6 and,
         as such, will be subject to the Commission’s jurisdiction. Because its operations will not
         be in interstate commerce, CP2 LNG will not be a “natural gas company” as defined in
         the NGA but will be subject to the Commission’s jurisdiction under NGA section 3.

                A.       CP2 LNG Project (Docket No. CP22-21-000)

                CP2 LNG requests authorization to site, construct, and operate the CP2 LNG
         Project on an approximately 737.3-acre site on the east side of the Calcasieu Ship
         Channel.7 The project is designed with a nameplate liquefaction and export capacity of
         approximately 20 MTPA, and a peak achievable capacity of 28 MTPA under optimal

                5
                 Venture Global is also the parent company of: Venture Global Calcasieu Pass,
         LLC and TransCameron Pipeline LLC, which received authorizations from the
         Commission to construct and operate an LNG terminal and pipeline, respectively, in
         Cameron Parish, Louisiana, Venture Global Calcasieu Pass, LLC, 166 FERC ¶ 61,144
         (2019) (Calcasieu Pass LNG); and, Venture Global Plaquemines LNG, LLC and Venture
         Global Gator Express, LLC, which received authorizations from the Commission to
         construct and operate an LNG terminal and pipeline, respectively, in Plaquemines Parish,
         Louisiana, Venture Global Plaquemines LNG, LLC, 168 FERC ¶ 61,204 (2019)
         (Plaquemines LNG).
                6
                    15 U.S.C. § 717a(6).
                7
                 CP2 LNG states that it has contractually secured through agreements with
         landowners all land required for the construction and operation of the CP2 LNG Project.
         Application at 8.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291          Document #2073429             Filed: 09/04/2024      Page 12 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                   -3-

         operating conditions. The project will receive natural gas via the proposed CP Express
         Pipeline Project.

                 The project will be constructed in two phases, each phase designed with a
         nameplate liquefaction and export capacity of 10 MTPA, and a peak achievable capacity
         of 14 MTPA. Each phase of construction will take approximately 36 months to
         complete. CP2 LNG states that it will place each liquefaction block into service upon
         completion, with initial operations beginning approximately 24 months after the start of
         construction. CP2 LNG anticipates Phase II construction will start 12 months after the
         start of Phase I construction.

                The proposed CP2 LNG Project consists of liquefaction facilities, LNG storage
         tanks, marine facilities, and associated infrastructure and support facilities. Specifically,
         CP2 LNG proposes to construct:

                     One natural gas gate station (constructed during Phase I);

                     Six pretreatment facilities (three pretreatment facilities constructed during
                      each phase);8

                     Eighteen liquefaction blocks and ancillary support facilities (nine blocks
                      constructed during each phase);9

                     Four full-containment, underground LNG storage tanks, each with a net
                      usable capacity of approximately 200,000 cubic meters (two tanks
                      constructed during each phase);

                     Two boil-off, flash, and gas relief systems (one constructed during each
                      phase);




                8
                 Each pretreatment facility will contain: an amine gas-sweetening system to
         remove carbon dioxide (CO2) and hydrogen sulfide (H2S); and a molecular sieve
         dehydration system to remove water and heavy hydrocarbons from the natural gas
         received from the CP Express Pipeline.
                9
                  Each liquefaction block will have a nameplate liquefaction capacity of
         approximately 1.1 MTPA and will contain two single mixed refrigerant process units,
         each with a refrigerant make-up system. The liquefaction blocks will all be operated by a
         single distributed control system for all process and power control and connected to a
         common refrigerant storage area.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429            Filed: 09/04/2024     Page 13 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 -4-

                       Two LNG loading docks,10 each designed to accommodate LNG carriers of
                        120,000 to 185,000 cubic meters, with accompanying turning basins within
                        a shared recessed area along the southwest shoreline of Monkey Island, on
                        the east side of the Calcasieu Ship Channel; a utility dock; and marine flare
                        for gas-up/cooldown of LNG carriers (both loading docks, the utility dock,
                        and the marine flare constructed during Phase I);

                       Two electric power generation plants with a combined nameplate capacity
                        of 1,470 megawatts (MW) (a 750 MW plant constructed in Phase I and a
                        720 MW plant constructed in Phase II);11

                       Safety and security systems; and

                       Other appurtenant facilities.

                CP2 LNG received authorization from the Department of Energy, Office of Fossil
         Energy (DOE/FE) to export annually up to approximately 28 MTPA of natural gas in the
         form of LNG to countries with which the United States has a Free Trade Agreement. 12 In
         addition, CP2 LNG currently has pending before DOE/FE an application to export LNG
         to other nations with which the U.S. permits such trade, but has not entered into a Free
         Trade Agreement.13

                 CP2 LNG states that it intends to construct and operate carbon capture and
         sequestration (CCS) facilities that will capture, compress, and sequester approximately
         500,000 tons of carbon dioxide (CO2) from feed gas entering the CP2 LNG Project. As
         part of the pretreatment process, CO2 will be removed from the feed gas as CO2 vapor14

                10
                  Each loading dock will include: one pipe trestle; one loading platform; one
         gangway; four marine loading arms; associated aids to navigation; four berthing
         dolphins; and, six mooring dolphins.
                11
                     August 15, 2022 Supplement to Previously Filed Project Information.
                12
                  Venture Global CP2 LNG, LLC, FE Docket No. 21-131-LNG, Order No. 4812
         (April 22, 2022).
                13
                 Venture Global CP2 LNG, LLC, December 2, 2021 Application, FE Docket
         No. 21-131-LNG.
                14
                  First, the feed gas will be sent through an acid gas absorber column where the
         acid gas components (CO2 and hydrogen sulfide [H2S]) will be removed from the feed
         gas through accumulation in an amine solution. The acid-gas-rich amine solution will
         then be routed to an amine regenerator distillation column where the acid gases will be
         boiled out, creating a lean, regenerative amine solution to be cycled back to the absorber
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291          Document #2073429           Filed: 09/04/2024     Page 14 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               -5-

         and sent to the on-site carbon capture facility, where the CO2 vapor will be compressed,
         condensed into a liquid, and pumped to a higher pressure.15 The resulting CO2 liquid will
         then be routed to a CO2 send-out pipeline for injection into saline aquifers approximately
         three miles offshore.16

               B.       CP Express Pipeline Project (Docket No. CP22-22-000)

                CP Express proposes to construct a new interstate natural gas pipeline system to
         supply feed gas to the proposed CP2 LNG Project, providing up to 4,400,000 Dth/day of
         firm natural gas transportation service. The CP Express Pipeline will originate at
         interconnections with Transcontinental Gas Pipe Line’s interstate system and Midcoast
         Energy’s CJ Express pipeline in Jasper County, Texas, extend through Newton County,
         Texas, and Calcasieu and Cameron Parishes, Louisiana, and terminate at the CP2 LNG
         Project. CP Express estimates that the CP Express Pipeline Project will cost
         approximately $1.483 billion.17

                CP Express proposes to construct and operate the pipeline project in two phases in
         conjunction with construction of the CP2 LNG Project. Facilities constructed during
         Phase I would provide 2,200,000 Dth/day of firm transportation service, transporting
         enough feed gas for the nine liquefaction blocks to be constructed in Phase I of the CP2
         LNG Project. During Phase I, CP Express proposes to construct and operate the
         following facilities:


         column and a vapor stream containing the acid gases. Next, the vapor stream will be sent
         through a sulfur removal unit to remove the H2S. The resulting CO2 vapor stream will
         then be routed to the carbon capture facilities.
               15
                  In the event the CCS system is unavailable, the acid gas stream will be routed to
         thermal oxidizers, where the CO2, trace amounts of H2S not removed in the sulfur
         removal unit, and trace amounts of hydrocarbons will be incinerated and discharged to
         the atmosphere. In the event the thermal oxidizers are also out-of-service during
         operations, the acid gas will be routed to the flare and emitted to the atmosphere.
               16
                  The geological sequestration of CO2 is subject to the U.S. Environmental
         Protection Agency’s (EPA’s) jurisdiction under the Underground Injection Control (UIC)
         Program. The state of Louisiana has primary enforcement authority for CCS projects
         under the federal UIC program. The Louisiana Department of Natural Resources
         (Louisiana DNR) administers the UIC Class VI program in Louisiana. State of Louisiana
         Underground Injection Control Program; Class VI Primacy, 89 Fed. Reg. 703 (Jan. 5,
         2024).
               17
                    Application at Ex. K.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291          Document #2073429             Filed: 09/04/2024     Page 15 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                  -6-

                      An approximately 85.4-mile-long, 48-inch-diameter mainline pipeline from
                       Jasper County, Texas, to the CP2 LNG Project, with interconnections to
                       existing natural gas transmission pipelines;18

                      An approximately 6-mile-long, 24-inch-diameter lateral pipeline in
                       Calcasieu Parish, Louisiana (Enable Gulf Run Lateral);

                      The Moss Lake Compressor Station, near milepost (MP) 44.4 of the CP
                       Express Pipeline, with two 34,800-horsepower (hp) natural-gas-fired
                       compressor units;

                      Five meter stations at interconnects with existing pipelines along the
                       mainline, with a 48-inch-diameter pig launcher at the Transco & CJ
                       Express Interconnect Meter Station at MP 0.0 and a 24-inch-diameter pig
                       receiver at the Enable Interconnect Meter Station at MP 6.0;

                      A 24-inch-diameter pig launcher at MP 0.0 of the Enable Gulf Run Lateral;
                       and

                      A gas gate station19 (i.e., meter station) for gas deliveries at the CP2 LNG
                       Project.

                Phase II would provide an additional 2,200,000 Dth/day of firm transportation
         service, transporting feed gas for the nine additional liquefaction blocks constructed in
         Phase II of the CP2 LNG Project. In Phase II, CP Express proposes to construct and
         operate three additional natural-gas-fired, 34,800-hp compression units and one natural-
         gas-fired, 13,000-hp booster unit at the Moss Lake Compressor Station.

                CP Express also requests: (1) a blanket certificate of public convenience and
         necessity pursuant to Part 284, Subpart G of the Commission’s regulations authorizing
         CP Express to provide transportation service to customers requesting and qualifying for
         transportation service under its proposed FERC Gas Tariff, with pre-granted
         abandonment authorization; (2) a blanket certificate of public convenience and necessity
         pursuant to Part 157, Subpart F of the Commission’s regulations authorizing certain

                18
                  CP Express plans interconnections to the following pipeline systems:
         Transcontinental Gas Pipe Line and Midcoast Energy’s CJ Express Project in Jasper
         County, Texas; Texas Eastern Transmission and Gulf South Pipeline in Newton County,
         Texas; and Florida Gas Transmission and Tennessee Gas Pipeline in Calcasieu Parish,
         Louisiana.
                19
                   The gas gate station will include a pig receiver, filter/separators, custody
         transfer meters, pressure regulators, emergency shutdown valves, and gas analyzers.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429           Filed: 09/04/2024     Page 16 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 -7-

         future facility construction, operation, and abandonment; and (3) approval of its pro
         forma tariff.

                CP Express states that it held a binding open season for the proposed firm
         transportation services to the CP2 LNG Project, and that as a result it executed a binding
         precedent agreement with CP2 LNG for 100% of the firm transportation service provided
         by Phases I and II of the CP Express Pipeline Project for a term of twenty years at
         negotiated rates. CP Express received no other bids or expressions of interest during the
         open season.20

                Notice, Interventions, and Comments

                Notice of CP2 LNG and CP Express’s joint application was issued on December
         16, 2021, and published in the Federal Register on December 23, 2021.21 The notice
         established January 6, 2022, as the deadline to file interventions, comments, and protests.
         Timely, unopposed motions to intervene22 were filed by: Public Citizen; Natural
         Resources Defense Council (NRDC); Healthy Gulf; Cheniere Creole Trail Pipeline;
         Driftwood LNG and Driftwood Pipeline; Southeast Laborers’ District Council; the State
         of Louisiana; Restore Explicit Symmetry To Our Ravaged Earth (RESTORE); the
         American Gas Association; Travis and Nicole Dardar; Anthony Theriot and Kent Duhon;
         and Sierra Club, Turtle Island Restoration Network, Louisiana Bucket Brigade, Louisiana
         Environmental Action Network, Port Arthur Community Action Network, and, Texas
         Campaign for the Environment (collectively, Environmental Coalition).

                Between January 7, 2022 and October 30, 2023, out-of-time motions to intervene
         were filed by: Golden Pass LNG; Golden Pass Pipeline LLC; Commonwealth LNG;
         Bernard and Georgia Webb and Jerryd Tassin; Mary Alice Nash; Niskanen Center; For a



                20
                  Application at 10. CP Express provided a copy of the open season notice and
         proof of publication. October 17, 2022 Response to Data Request.
                21
                     86 Fed. Reg. 72,939 (Dec. 23, 2021).
                22
                   Timely, unopposed motions to intervene are granted by operation of Rule 214 of
         the Commission’s regulations. 18 C.F.R. § 385.214 (2023). Timely motions
         to intervene include those filed dealing with environmental issues during the comment
         period for the draft environmental impact statement (EIS). See 18 C.F.R.
         § 380.10(a)(1)(i) (2023). Because Travis and Nicole Dardar, Anthony Theriot and Kent
         Duhon, and the American Gas Association filed unopposed motions to intervene during
         the comment period for the draft EIS (January 19, 2023 – March 13, 2023), their motions
         are timely.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291          Document #2073429           Filed: 09/04/2024     Page 17 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               -8-

         Better Bayou; and Adley and Judy Dyson. These late-filed interventions were granted by
         Secretary’s Notices on November 13, 2023.

                 On April 18, 2024, Fishermen Involved in Sustaining our Heritage (FISH) filed a
         late motion to intervene in the proceedings. In its motion, FISH states that it is a
         coalition of 60 commercial fishermen who fish in and around the waters of Cameron,
         Louisiana, where the project will be located, and that its participation is in the public
         interest because it is the only organization dedicated to championing the rights of
         commercial fisherman in Southwest Louisiana.23 FISH explains that it was unable to
         intervene during the intervention window because it did not exist until November 2023.24
         We find that FISH failed to demonstrate that good cause exists to grant its motion to
         intervene out of time. Although FISH states that it was formed in November 2023, it did
         not seek to intervene in the proceedings until April 18, 2024. The Commission has
         previously explained that an entity cannot “sleep on its rights” and then seek untimely
         intervention.25 Further, FISH’s interests are adequately represented by other parties to
         the proceeding, including its Executive Director, Travis Dardar,26 as well as For a Better
         Bayou and Louisiana Bucket Brigade, with which FISH jointly filed comments on
         January 17, 2024, regarding the project’s impacts on commercial fishing and shrimping.
         Last we note that on its website, FISH states that it partners with other groups and NGOs,
         including several that are intervenors in these proceedings: Healthy Gulf; Sierra Club;
         For a Better Bayou; and Louisiana Bucket Brigade.27 Therefore, FISH’s late motion to
         intervene is denied.

               On January 6, 2022, the Environmental Coalition jointly filed a protest.28 On
         March 3, 2023, CP2 LNG and CP Express filed an answer to the Environmental

               23
                    FISH April 18, 2024 Motion to Intervene at 1-2.
               24
                    Id. at 3.
               25
                    See Cal. Dept. of Water Resources, 120 FERC ¶ 61,057, at P 14 (2007)
         (footnote omitted), reh’g denied, 120 FERC ¶ 61,248, aff’d sub nom. Cal. Trout and
         Friends of the River v. FERC, 572 F.3d 1003 (9th Cir. 2009) (“an entity cannot ‘sleep on
         its rights’ and then seek untimely intervention”).
               26
                    Travis and Nicole Dardar March 3, 2023 Motion to Intervene.
               27
                    Fishermen Involved in Sustaining our Heritage (FISH),
         https://fishermenfightback.org (last accessed May 22, 2024).
               28
                   On October 12, 2022, Louisiana Bucket Brigade filed, in this and several other
         Commission gas project dockets, a letter addressed to President Biden expressing general
         opposition to LNG export terminals on environmental, economic, climate, and national
         security grounds and sharing information about its Defend U.S. Consumers campaign,
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429            Filed: 09/04/2024     Page 18 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 -9-

         Coalition’s protest. Although the Commission’s Rules of Practice and Procedure do not
         permit answers to protests,29 we will accept the answer herein because it clarifies the
         concerns raised and provides information that has assisted in our decision making.

                The Environmental Coalition asserts that the applicants have not demonstrated
         market need for the project and that the project’s climate impacts render it not consistent
         with the public interest. Individuals and other entities also filed comments expressing
         similar concerns. In addition, the Commission received comments in support of the
         project, citing an increase in job opportunities and local economic investment, as well as
         comments from international energy companies and utilities that executed sales purchase
         agreements with CP2 LNG urging that the project is needed. The protests and comments
         were addressed in the EIS, and as appropriate, below.

                Discussion

                A.       CP2 LNG Project (Docket No. CP22-21-000)

                             1. Jurisdiction over CCS Facilities

                CP2 LNG contends that the CCS facilities are not subject to the Commission’s
         jurisdiction, noting that certain components will be subject to the regulatory authority of
         other entities.30 Healthy Gulf asserts that the CCS facilities must be considered a part of
         the project,31 and Sierra Club argues that the carbon capture facility within the terminal
         boundary should be considered a part of the proposed project and subject to the
         Commission’s jurisdiction like other pollution control equipment at LNG terminals.32




         which Louisiana Bucket Brigade states will increase public awareness about the risks
         associated with continued gas export terminal development. Louisiana Bucket Brigade
         October 12, 2022 Letter at 1-4. The Bucket Brigade’s October 12th letter generally
         expresses the same issues already raised in its joint protest and environmental comments
         in this proceeding.
                29
                     18 C.F.R. § 385.213(a)(2) (2023).
                30
                   Application at 12; CP2 LNG July 7, 2023 Response to Environmental
         Information Request at General Attachment 1-a. See infra note 40 (discussing facilities
         subject to both the Commission’s and another agency’s jurisdiction).
                31
                     Healthy Gulf January 5, 2022 Intervention at 1-2.
                32
                  Environmental Coalition January 6, 2022 Protest at 5. LNG Terminals often
         include selective catalytic reduction systems to minimize emissions of nitrogen oxides
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429             Filed: 09/04/2024     Page 19 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 10 -

                We conclude that the CCS facilities located within the terminal fence-line up to
         the entry point of the send-out pipeline33 are subject to the Commission’s jurisdiction
         under section 3(e) of the NGA.34 The Commission has consistently exercised its
         jurisdiction over pretreatment facilities within an LNG terminal’s fence-line35 that
         remove trace constituents36 from the feed gas, as well as over on-site facilities for the
         disposition of trace constituents.37 The fact that another agency may have jurisdiction
         over some aspect of a facility within the fence-line of an LNG terminal does not serve to
         remove that facility from Commission jurisdiction. Many facilities within an LNG


         (NOx) from combustion turbines. See, e.g., final EIS at 4-365; January 2019 Final EIS
         for Port Arthur Liquefaction Project at 2-9 (filed in Docket No. CP17-20-000).
                33
                   The send-out pipeline would mostly be located outside the terminal fence-line,
         but the proposed entry point is located under the southern portion of the terminal’s
         floodwall. CP2 LNG July 22, 2022 Response to Environmental Information Request at
         2-3. The Department of Transportation’s Pipelines and Hazardous Materials Safety
         Administration (PHMSA) states that it would have jurisdiction over the send-out CO2
         pipeline starting from the first flange connection downstream of the on-site CO2 pipeline
         pumps. Final EIS at 4-397 to 4-398.
                34
                  15 U.S.C. § 717b(e). We note that, consistent with this finding, the EIS
         evaluated the on-site CCS facilities.
                35
                    “LNG terminal” includes facilities at the terminal site that are used to process
         natural gas. 15 U.S.C. § 717a(11). See, e.g., supra note 8 (describing jurisdictional
         pretreatment facilities that remove CO2, H2S, water, and heavy hydrocarbons from feed
         gas); September 2022 Final EIS for the Commonwealth LNG Project at 4-264 (describing
         jurisdictional pretreatment facilities to remove mercury, CO2, H2S, water, and heavy
         hydrocarbons from feed gas) (filed in Docket No. CP19-502-000). But see Freeport LNG
         Dev., L.P., 175 FERC ¶ 61,237, at n.9 (2021) (finding that an off-site helium processing
         facility is not jurisdictional because “…the helium plant will be separated by a unit fence
         and have minimal impacts on the safety and reliability of the pretreatment facility.”).
                36
                   Pipeline-quality natural gas typically contains trace constituents such as
         nitrogen, oxygen, CO2, and water. Trace constituents have no significant effect on the
         operational efficiency of natural gas when used as an energy source but can negatively
         affect liquefaction equipment and product purity when present in feed gas for LNG
         production.
                37
                   For instance, in the event the CCS facilities are unavailable, the CO2 removed
         from the feed gas will be routed to the jurisdictional facilities and equipment for final
         disposition. See supra note 15.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429            Filed: 09/04/2024     Page 20 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 11 -

         terminal’s fence-line are both jurisdictional to the Commission and subject to other
         regulatory authorities.38

                          2. Public Interest Standard Under Section 3 of the NGA

                Because the proposed facilities will be used to export natural gas to foreign
         countries, the construction and operation of the proposed facilities and site of their
         location require approval by the Commission under section 3 of the NGA.39 Commenters
         argue that the NGA does not contain a legal standard for the authorization of LNG
         terminals under section 3(e), and that the Commission has not articulated a coherent
         policy for exercising this authority.40 NRDC contends that the NGA requires the


               38
                   For example, while CP2 LNG states that the emissions from the on-site
         combustion turbine powering the CO2 compressors are included in its air permit
         application submitted to the Louisiana Department of Environmental Quality (Louisiana
         DEQ) (CP2 LNG’s July 22, 2022 Response to Environmental Information Request at 3.),
         we note that the air permit application also covers emissions from all facilities
         undisputedly subject to the Commission’s jurisdiction, including the project’s eighteen
         liquefaction blocks and two power plants. Final EIS at 4-357; CP2 LNG’s August 1,
         2022 Response to Environmental Information Request at Attachment 1.f.v-1.
         Additionally, the regulatory authorities with jurisdiction over components of the CCS
         system highlighted by CP2 LNG—PHMSA and EPA under the UIC permitting
         program—have jurisdiction over the CO2 pipeline and geological sequestration of carbon
         dioxide, respectively, but do not have jurisdiction over the CO2 extraction and
         compression facilities located at the CP2 LNG Project terminal site.
               39
                   15 U.S.C. § 717b(a). The regulatory functions of NGA section 3 were
         transferred to the Secretary of Energy in 1977 pursuant to section 301(b) of the
         Department of Energy Organization Act. Pub. L. No. 95-91, 42 U.S.C. § 7101 et seq.
         (2012). In reference to regulating the imports or exports of natural gas, the Secretary of
         Energy subsequently delegated to the Commission the authority to approve or disapprove
         the construction and operation of natural gas import and export facilities and the site at
         which such facilities shall be located. The most recent delegation is in DOE Delegation
         Order No. S1-DEL-FERC-2006, effective May 16, 2006. Applications for authorization
         to import or export natural gas must be submitted to the Department of Energy (DOE).
         The Commission does not authorize importation or exportation of the commodity itself.
         See EarthReports, Inc. v. FERC, 828 F.3d 949, 952-53 (D.C. Cir. 2016) (detailing how
         regulatory oversight for the export of LNG and supporting facilities is divided between
         the Commission and DOE).
               40
                  See, e.g., Better Bayou et al. March 13, 2023 Comments at 1-3; NRDC March
         13, 2023 Comments at 2-3; Niskanen Center March 13, 2023 Comments at 8-9.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429         Filed: 09/04/2024     Page 21 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 12 -

         Commission to “meaningfully evaluate this proposed [p]roject through a genuine
         framework to balance those relevant costs against assessed benefits.”41

                 We disagree that we lack a coherent standard. Section 3 provides that an
         application shall be approved if the Commission finds the proposal “will not be
         [in]consistent with the public interest,” subject to “such terms and conditions as the
         Commission [may] find necessary or appropriate.”42 The U.S. Court of Appeals for the
         District of Columbia Circuit (D.C. Circuit) has explained that the NGA section 3 standard
         “sets out a general presumption favoring . . . [such] authorization[s].”43 To overcome this
         favorable presumption and support denial of an NGA section 3 application, there must be
         an “affirmative showing of inconsistency with the public interest.”44 In addition, NGA
         section 3(c) provides that the exportation of gas to nations with which there is in effect a
         free trade agreement (FTA nations) “shall be deemed to be consistent with the public
         interest.”45 As noted above, CP2 LNG has received authorization to export to FTA
         nations.46

               We received comments contending that CP2 LNG fails to provide evidence of
         market need for the proposed project and that authorization of the project may lead to


                41
                     NRDC March 13, 2023 Comments at 2-3.
                42
                  15 U.S.C. § 717b(a), (e)(3). For a discussion of the Commission’s authority to
         condition its approvals of LNG facilities under section 3 of the NGA, see, e.g., Distrigas
         Corp. v. FPC, 495 F.2d 1057, 1063-64 (D.C. Cir. 1974), cert. denied, 419 U.S. 834
         (1974); Dynegy LNG Prod. Terminal, L.P., 97 FERC ¶ 61,231 (2001).
                43
                  Ctr. for Biological Diversity v. FERC, 67 F.4th 1176, 1188 (D.C. Cir. 2023)
         (Alaska LNG) (quoting W. Va. Pub. Servs. Comm’n v. U.S. Dep’t of Energy, 681 F.2d
         847, 856 (D.C. Cir. 1982)); EarthReports v. FERC, 828 F.3d at 953 (same); see also
         Sierra Club v. U.S. Dep’t of Energy, 867 F.3d 189, 203 (D.C. Cir. 2017).
                44
                   Sierra Club v. U.S. Dep’t of Energy, 867 F.3d at 203 (quoting Panhandle
         Producers & Royalty Owners Ass’n v. Econ. Regul. Admin., 822 F.2d 1105, 1111 (D.C.
         Cir. 1987)). See also KeySpan LNG, L.P., 112 FERC ¶ 61,028, at PP 3, 29 (2005)
         (finding that authorization of a proposed LNG import terminal would be inconsistent with
         the public interest where the proposed facilities would not fully comply with current
         safety standards even though the project would provide “a new source of reliable LNG
         imports in New England, where gas is critically needed.”).
                45
                     15 U.S.C. § 717b(c).
                46
                     See supra P 8.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291          Document #2073429           Filed: 09/04/2024     Page 22 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 13 -

         overbuilding U.S. LNG export capacity.47 The Institute for Energy Economics &
         Financial Analysis claims that global demand for LNG exports was artificially inflated by
         the conflict in Ukraine and that future LNG demand growth is uncertain.48 Louisiana
         Bucket Brigade asserts that LNG companies are exploiting Russian hostilities to garner
         support for their proposed LNG projects and that expanding the number of LNG
         terminals poses national security risks.49 RESTORE states that the project’s contribution
         to climate change outweighs any public benefits it may provide.50 NRDC argues that
         DOE’s approval of exports of the natural gas commodity does not necessitate the
         Commission’s approval of the proposed export facility, and that the Commission cannot
         solely rely on DOE’s export approval to demonstrate the public benefits of the proposed
         project.51

                 We also received comments from international energy companies and utilities that
         executed sales and purchase agreements with CP2 LNG, urging that the project is needed.
         Inpex Corporation and JERA, of Japan,52 and EnBW Energie Baden-Wurttemberg AG, of
         Germany,53 each filed comments stressing the importance of the CP2 LNG Project. The
         entities note that the project will contribute to energy security in Japan, Germany, and
         globally.

                Section 3(a) of the NGA provides, in part, that “no person shall export any natural
         gas from the United States to a foreign country or import any natural gas from a foreign
         country without first having secured an order of the Commission authorizing it to do
         so.”54 As noted above, in 1977 the Department of Energy Organization Act transferred

               47
                Environmental Coalition January 6, 2022 Protest at 2-3; Institute for Energy
         Economics & Financial Analysis March 13, 2023 Comments at 2-4; NRDC March 13,
         2023 Comments at 2-3.
               48
               Institute for Energy Economics & Financial Analysis March 13, 2023
         Comments at 2-4.
               49
                    Louisiana Bucket Brigade October 12, 2022 Letter at 1-2.
               50
                    RESTORE March 13, 2023 Comments at 6.
               51
                    NRDC March 13, 2023 Comments at 2-3.
               52
                INPEX Corporation December 7, 2023 Comments; JERA Co., Inc. December 8,
         2023 Comments.
               53
                    EnBW Energie Baden-Wurttemberg AG December 14, 2023 Comments.
               54
                    15 U.S.C. § 717b(a).
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429            Filed: 09/04/2024      Page 23 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 - 14 -

         the regulatory functions of section 3 of the NGA to the Secretary of Energy.
         Subsequently, the Secretary of Energy delegated to the Commission authority to
         “[a]pprove or disapprove the construction and operation of particular facilities, the site at
         which such facilities shall be located, and with respect to natural gas that involves the
         construction of new domestic facilities, the place of entry for imports or exit for
         exports.”55

                 However, as we have previously explained,56 the Secretary has not delegated to
         the Commission any authority to approve or disapprove the import or export of the
         commodity itself.57 Therefore, we decline to address commenters’ and protestors’
         economic claims (e.g., those regarding market demand for LNG), which are relevant only
         to the exportation of the commodity of natural gas, a matter within DOE’s exclusive
         jurisdiction, and not implicated by our limited action of reviewing proposed terminal sites
         and facilities.58 The Commission’s authority under NGA section 3 applies “only to the
         siting and the operation of the facilities necessary to accomplish an export[,]”59 while
         “export decisions [are] squarely and exclusively within the [DOE]’s wheelhouse.”60
         Similarly, issues related to the impacts of natural gas development and production are
         related to DOE’s authorization of the export and not the Commission’s siting of the
         facilities,61 notwithstanding DOE’s interpretation of its own obligations under the
         National Environmental Policy Act (NEPA). We have reviewed CP2 LNG’s application

                55
                     DOE Delegation Order No. 00-004.00A.
                56
                  See Alaska Gasline Dev. Corp., 171 FERC ¶ 61,134, at P 15, order on
         reh’g, 172 FERC ¶ 61,214 (2020).
                57
                   See supra note 41. See also Freeport LNG Dev., L.P., 148 FERC ¶ 61,076,
         reh’g denied, 149 FERC ¶ 61,119 (2014), aff’d sub nom. Sierra Club v. FERC, 827 F.3d
         36 (D.C. Cir. 2016) (finding that because DOE, not the Commission, has sole authority to
         license the export of any natural gas through LNG facilities, the Commission is not
         required to address the indirect effects of the anticipated export of natural gas in its
         NEPA analysis); Sabine Pass Liquefaction, LLC, 146 FERC ¶ 61,117, reh’g denied,
         148 FERC ¶ 61,200 (2014), aff’d sub nom. Sierra Club v. FERC, 827 F.3d 59 (D.C. Cir.
         2016).
                58
               See Jordan Cove Energy Project L.P., 170 FERC ¶ 71,202, at P 32 (2020);
         Commonwealth LNG, LLC, 181 FERC ¶ 61,143, at P 13 (2022).
                59
                     Trunkline Gas Co., LLC, 155 FERC ¶ 61,328, at P 18 (2016).
                60
                     Sierra Club v. FERC, 827 F.3d at 46.
                61
                     Id.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429           Filed: 09/04/2024      Page 24 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 - 15 -

         to determine if the siting, construction, and operation of its facilities as proposed would
         not be consistent with the public interest.62

                CP2 LNG states that it has contractually secured through agreements with
         landowners all land required for the construction and operation of the CP2 LNG
         Project.63

                Additionally, as discussed further below, Commission staff’s EIS for the project
         finds that, although some impacts of the project would be permanent and significant, such
         as impacts on visual resources, including impacts to visual resources within
         environmental justice communities, most impacts would not be significant or would be
         reduced to less-than-significant levels with the implementation of avoidance,
         minimization, and mitigation measures recommended in the EIS64 and adopted by this
         order. We conclude that the various arguments raised regarding the CP2 LNG Project do
         not amount to the affirmative showing of inconsistency with the public interest that is
         necessary to overcome the presumption in section 3 of the NGA.

                In accordance with the Memorandum of Understanding signed on August 31,
         2018, by the Commission and the Pipeline and Hazardous Materials Safety
         Administration (PHMSA) within the U.S. Department of Transportation (DOT),65
         PHMSA undertook a review of the proposed facility’s ability to comply with the federal
         safety standards contained in Part 193, Subpart B, of Title 49 of the Code of Federal




                62
                   See supra P 41; see also Nat’l Steel Corp., 45 FERC ¶ 61,100, at 61,332-33
         (1988) (observing that DOE, “pursuant to its exclusive jurisdiction, has approved the
         importation with respect to every aspect of it except the point of importation” and that the
         “Commission’s authority in this matter is limited to consideration of the place of
         importation, which necessarily includes the technical and environmental aspects of any
         related facilities”).
                63
                     Application at 8.
                64
                  As part of its environmental review, Commission staff developed mitigation
         measures it determined would appropriately and reasonably reduce the environmental
         impacts resulting from project construction and operation.
                65
                  Memorandum of Understanding Between the Department of Transportation
         and the Federal Energy Regulatory Commission Regarding Liquefied Natural Gas
         Transportation Facilities (Aug. 31, 2018), https://www.ferc.gov/legal/mou/2018/FERC-
         PHMSA-MOU.pdf.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429          Filed: 09/04/2024      Page 25 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 16 -

         Regulations.66 On June 28, 2023,67 PHMSA issued a Letter of Determination indicating
         CP2 LNG has demonstrated that the siting of the proposed CP2 LNG Project complies
         with these federal safety standards. If the proposed project is subsequently modified so
         that it differs from the details provided in the documentation submitted to PHMSA,
         further review would be conducted by PHMSA.

                CP2 LNG will operate its LNG terminal under the terms and conditions mutually
         agreed to by its customers and will solely bear the responsibility for the recovery of any
         costs associated with construction and operation of the terminal and associated facilities.
         Accordingly, CP2 LNG’s proposal does not trigger NGA section 3(e)(4).68

                In view of the above, after careful consideration of the entire record of this
         proceeding, including the findings and recommendations of the final EIS, we find that,
         subject to the conditions imposed in this order, CP2 LNG’s proposal is not inconsistent
         with the public interest. Therefore, we will grant CP2 LNG’s application.

                B.       CP Express Pipeline Project (Docket No. CP22-22-000)

                 Because the proposed facilities will be used to transport natural gas in interstate
         commerce subject to the Commission’s jurisdiction, the construction and operation of the
         facilities are subject to the requirements of subsections (c) and (e) of section 7 of the
         NGA.69

                             1. Certificate Policy Statement

                 The Certificate Policy Statement provides guidance for evaluating proposals to
         certificate new construction.70 The Certificate Policy Statement establishes criteria for


                66
                     49 C.F.R. pt. 193, subpt. B (2023).
                67
               Commission staff July 6, 2023 memo, Docket No. CP22-21-000 (attaching
         PHMSA’s Letter of Determination).
                68
                  15 U.S.C. § 717b(e)(4) (governing orders for LNG terminals offering open
         access service).
                69
                     Id. §§ 717f(c) & (e).
                70
                   Certification of New Interstate Nat. Gas Pipeline Facilities, 88 FERC
         ¶ 61,227, corrected, 89 FERC ¶ 61,040 (1999), clarified, 90 FERC ¶ 61,128, further
         clarified, 92 FERC ¶ 61,094 (2000) (Certificate Policy Statement). On March 24, 2022,
         the Commission issued an order converting the policy statements issued in February 2022
         to draft policy statements. Certification of New Interstate Nat. Gas Facilities
Document Accession #: 20240627-3107              Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429           Filed: 09/04/2024      Page 26 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 - 17 -

         determining whether there is a need for a proposed project and whether the proposed
         project will serve the public interest. The Certificate Policy Statement explains that, in
         deciding whether to authorize the construction of new pipeline facilities, the Commission
         balances the public benefits against the potential adverse consequences. The
         Commission’s goal is to appropriately consider the enhancement of competitive
         transportation alternatives, the possibility of overbuilding, subsidization by existing
         customers, the applicant’s responsibility for unsubscribed capacity, the avoidance of
         unnecessary disruptions of the environment, and the unneeded exercise of eminent
         domain in evaluating new pipeline construction.

                 Under this policy, the threshold requirement for applicants proposing new projects
         is that the applicant must be prepared to financially support the project without relying on
         subsidization from its existing customers. The next step is to determine whether the
         applicant has made efforts to eliminate or minimize any adverse effects the project might
         have on the applicant’s existing customers, existing pipelines in the market and their
         captive customers, and landowners and communities affected by the route of the new
         pipeline facilities. If residual adverse effects on these interest groups are identified after
         efforts have been made to minimize them, the Commission will evaluate the project by
         balancing the evidence of public benefits to be achieved against the residual adverse
         effects. This is essentially an economic test. Only when the benefits outweigh the
         adverse effects on economic interests will the Commission proceed to complete the
         environmental analysis, where other interests are considered.

                                a.        No Subsidy Requirement and Project Need

                CP Express’s proposal satisfies the threshold requirement that it financially
         support the project without relying on subsidization from existing customers. CP Express
         is a new company with no existing shippers. Thus, there is no potential for subsidization
         on CP Express’s system.71

               CP Express asserts that the pipeline project is needed to transport domestically
         sourced natural gas to the CP2 LNG Project, where the gas will be liquefied and exported
         under CP2 LNG’s DOE/FE export authorization.72 CP Express entered a long-term

         Consideration of Greenhouse Gas Emissions in Nat. Gas Infrastructure Project Reviews,
         178 FERC ¶ 61,197 (2022) (Order on Draft Policy Statements).
                71
                  See Mountain Valley Pipeline, LLC, 161 FERC ¶ 61,043, at P 32 (2017), order
         on reh’g, 163 FERC ¶ 61,197 (2018); Atl. Coast Pipeline, LLC, 161 FERC ¶ 61,042, at
         P 28 (2017), order denying reh’g, 163 FERC ¶ 61,098 (2018); Sierrita Gas Pipeline,
         LLC, 147 FERC ¶ 61,192, at P 23 (2014).
                72
                     Application at 43.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429           Filed: 09/04/2024     Page 27 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 18 -

         precedent agreement with CP2 LNG for the full capacity of the pipeline system. Sierra
         Club asserts that the Commission may not rely on this precedent agreement as evidence
         of project need because CP2 LNG is an affiliate.73

                 As the Commission has previously recognized, “it is not an uncommon model for
         entities developing LNG terminals to construct and operate, through an affiliate, an
         associated pipeline to provide transportation and ensure delivery of the natural gas which
         will serve as feedstock for the liquefaction process.”74 Further, affiliated LNG terminals,
         unlike affiliated local distribution companies, have no captive customers to whom they
         can pass the costs associated with their transportation contracts.75 We find CP Express’s
         precedent agreement with CP2 LNG for 100% of the pipeline’s capacity to be significant
         evidence of project need.

                               b.     Impacts on Existing Customers, Existing Pipelines and
                                      Their Customers, and Landowners and Surrounding
                                      Communities

                 As discussed above, CP Express does not have existing customers. In addition,
         there is no evidence that the CP Express Pipeline Project will adversely affect other
         pipelines or their captive customers. The project is designed to connect the existing
         interstate grid to the proposed CP2 LNG Project. No pipeline currently provides
         transportation service to the CP2 LNG Project, and the project is not intended to replace
         service on other pipelines. No pipeline companies or their customers have protested CP
         Express’s application. We find that the CP Express Pipeline Project will not adversely
         affect existing customers or existing pipelines and their customers.

                 We are also satisfied that CP Express has taken appropriate steps to minimize
         adverse economic impacts on landowners and surrounding communities. CP Express
         states that the project’s location and design were selected to minimize impacts to
         landowners, and CP Express revised its pipeline route based on conversations with
         landowners during the pre-filing process to reduce those impacts to the extent

                73
                  Sierra Club March 11, 2022 Comments at 6. See also Niskanen Center January
         13, 2023 Comments at 5.
                74
                  Driftwood Pipeline LLC, 183 FERC ¶ 61,049, at P 24 (2023) (citing Corpus
         Christi Liquefaction Stage III, LLC, 169 FERC ¶ 61,135 (2019), order on reh’g,
         181 FERC ¶ 61,033 (2022)); Rio Grande LNG, LLC, 169 FERC ¶ 61,131 (2019), order
         on reh’g, 170 FERC ¶ 61,046 (2020); Plaquemines LNG, 168 FERC ¶ 61,204; Port
         Arthur LNG, LLC, 167 FERC ¶ 61,052 (2019); Calcasieu Pass LNG, 166 FERC
         ¶ 61,144).
                75
                     Driftwood Pipeline LLC, 183 FERC ¶ 61,049 at P 24.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429          Filed: 09/04/2024     Page 28 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 19 -

         practicable.76 Approximately 43% of the project (39.2 miles) will be collocated with
         existing pipelines, power lines, roadways, and canals. Construction of the project would
         affect 1,816.8 acres of land, 608.1 acres of which would be permanently retained for
         operation and maintenance of project facilities.77 Portions of the construction right-of-
         way that are not retained for operations and maintenance would be restored to
         preconstruction conditions.78

                 Niskanen Center asserts that impacted landowners whose property is crossed by or
         next to CP Express’s right-of-way would face the potential forced taking of their property
         via eminent domain, overall diminution in property value, and harms from construction
         activities and the permanent placement of a 48-inch gas pipeline on or near their land.79
         The EIS concludes that the CP Express pipeline is not expected to have more than
         negligible effects on property values, and the EIS includes protective conditions, adopted
         here, to mitigate construction impacts on landowner property.80 As of June 2022, CP
         Express had secured purchase/lease agreements for 94% of the project’s aboveground
         facilities and anticipates that it will be able to secure agreements for the remaining
         aboveground tracts.81 Additionally, whether CP Express obtains land rights through
         agreement or eminent domain, landowners will be compensated for the use of their
         land.82

                In sum, we find that CP Express has demonstrated a need for the pipeline project
         and, further, that the project will not have adverse impacts on existing shippers or other
         pipelines and their existing customers and that the project’s benefits will outweigh any
         adverse economic effects on landowners and surrounding communities. Therefore, we




                76
                     See final EIS at 3-37.
                77
                     Id. at 1-4.
                78
                     Id.
                79
                     Niskanen Center March 13, 2023 Comments at 5.
                80
                     Final EIS at 4-298.
                81
                     Id. at 4-299.
                82
                  See id. at 4-247 (explaining that, in the event the company acquires land rights
         through eminent domain, a court would determine the appropriate level of
         compensation).
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429             Filed: 09/04/2024      Page 29 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                   - 20 -

         conclude that the project is consistent with the criteria set forth in the Certificate Policy
         Statement and analyze the environmental impacts of the project below.83

                            2. Blanket Certificates

                 CP Express requests a Part 284, Subpart G blanket certificate in order to provide
         open-access transportation services. Under a Part 284 blanket certificate, CP Express
         would not need individual authorizations to provide transportation services to particular
         customers. CP Express filed a pro forma Part 284 tariff to provide open-access
         transportation services. Because a Part 284 blanket certificate is required for CP Express
         to participate in the Commission’s open-access regulatory regime, we will grant CP
         Express a Part 284 blanket certificate, subject to the conditions imposed herein.

                 CP Express also requests a Part 157, Subpart F blanket certificate. A Part 157
         blanket certificate gives an interstate pipeline NGA section 7 authority to automatically,
         or after prior notice, perform a restricted number of routine activities related to the
         construction, acquisition, abandonment, and replacement and operation of existing
         pipeline facilities, provided that the activities comply with constraints on costs and
         environmental impacts.84 Because the Commission has previously determined through a
         rulemaking that these blanket-certificate eligible activities are in the public convenience
         and necessity,85 it is the Commission’s practice to grant new natural gas companies a
         Part 157 blanket certificate if requested.86 Accordingly, we will grant CP Express a
         Part 157 blanket certificate, subject to the conditions imposed herein.




                83
                 See Certificate Policy Statement, 88 FERC at 61,745-46 (explaining that only
         when the project benefits outweigh the adverse effects on the economic interests will the
         Commission then complete the environmental analysis).
                84
                     See 18 C.F.R. § 157.203 (2023).
                85
                 Revisions to the Blanket Certificate Reguls. & Clarification Regarding Rates,
         Order No. 686, FERC Stats. & Regs. ¶ 31,231, at P 9 (2006) (cross-referenced at 117
         FERC ¶ 61,074), order on reh’g, Order No. 686-A, 119 FERC ¶ 61,303, order on reh’g,
         Order No. 686-B, 120 FERC ¶ 61,249 (2007).
                86
                   Cf. Rover Pipeline LLC, 161 FERC ¶ 61,244, at P 13 (2017) (denying a request
         for a blanket certificate where the company’s actions had eroded the Commission’s
         confidence it would comply with all the requirements of the blanket certificate program,
         including the environmental requirements).
Document Accession #: 20240627-3107              Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429            Filed: 09/04/2024      Page 30 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                   - 21 -

                            3. Rates

                               a.       Initial Rates

                CP Express proposes separate initial recourse reservation rates for firm
         transportation service for Phase I service and for Phase II service of $7.637 per Dth and
         $4.203 per Dth, respectively, under Rate Schedule FTS.87 CP Express states that once
         Phase II is placed in service, all facilities will be operated as a single, integrated system.88
         Accordingly, CP Express’s proposed rates for Phase II service include the combined
         costs and design capacity of all project facilities constructed in both Phase I and Phase II
         and will apply to all service on the system after Phase II is placed into service. CP
         Express also proposes recourse rates for interruptible transportation service under Rate
         Schedule ITS that are equal to the 100% load factor equivalent of the applicable Rate
         Schedule FTS rate.

                CP Express states that it calculated the system rates using a straight-fixed-variable
         rate design. CP Express estimates a total cost of service of $203,732,195 for the first
         year of Phase I service and $223,817,850 for the first year of Phase II service.89 CP
         Express states that its costs of service are based on a capital structure of 75% debt and
         25% equity, with an estimated debt cost of 6.0%, a rate of return on equity (ROE) of
         15.0%, and a depreciation rate of 5.0%.90

                 Upon the completion and in-service of Phase I, CP Express proposes an initial
         cost-based reservation charge of $7.637 per Dth and a usage charge of $0.004 per Dth
         under Rate Schedule FTS, an interruptible rate of $0.255 per Dth under Rate Schedule
         ITS and an overrun charge of $0.255 per Dth.91 CP Express calculated these rates based
         on its estimated first-year reservation cost of service of $200,642,025, variable costs of
         $3,090,170, and annual billing determinants of 2,189,272 Dth/day.


                87
                  Application at 33-34; October 17, 2022 Response to Data Request at Revised
         Ex. N (Revised Ex. N). CP Express revised Exhibits K, L, N, and O of its application in
         a response to a data request on October 17, 2022. Id.
                88
                   Construction during Phase II will consist entirely of the addition of 117,400 hp
         of gas-fired compression at the Moss Lake Compressor Station. See supra P 7.
                89
                     Revised Ex. N.
                90
                  Id. The 5% depreciation rate is derived from the 20-year term of CP Express’s
         transportation service agreement with CP2 LNG.
                91
                     Revised Ex. N.
Document Accession #: 20240627-3107                Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429           Filed: 09/04/2024    Page 31 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 22 -

                Upon completion and in-service of Phase II, CP Express proposes an initial cost-
         based reservation charge of $4.203 per Dth and a usage charge of $0.002 per Dth under
         Rate Schedule FTS, an interruptible rate of $0.141 per Dth under Rate Schedule ITS and
         an overrun charge of $0.141 per Dth.92 CP Express calculated these rates based on its
         estimated first-year reservation cost of service of $220,442,714, variable costs of
         $3,375,136, and annual billing determinants of 4,370,422 Dth/day.

                 We find that, once the Phase II facilities are placed in service, CP Express’s
         system will function as an integrated system and that CP Express’s proposed rate
         schedule appropriately establishes a single recourse rate for all Phase II service that
         reflects the costs and design capacities of both the Phase I and Phase II facilities.93 The
         transportation service on the capacity created by the Phase II facilities will be
         indistinguishable from the transportation service on the capacity created by Phase I
         facilities. The Phase II facilities will create an additional 2,200,000 Dth/day of capacity
         at a lower cost than the 2,200,000 Dth/day of capacity created by the Phase I facilities,
         resulting in lower rates for Phase II service than for Phase I.

                We have reviewed CP Express’s proposed cost of service and initial rates, as
         revised, and find that they are consistent with current Commission policy, subject to the
         modifications described below.

                                        i.       Variable Costs

                CP Express states that its operations and maintenance (O&M) expenses include
         $3,090,170 in variable costs for Phase I service and $3,375,136 in variable costs for
         Phase II service.94 From these variable costs, CP Express calculated a usage charge of
         $0.004 per Dth for Phase I service and $0.002 per Dth for Phase II service.

                The Commission’s longstanding cost classification method assigns O&M costs to
         particular accounts, depending on the type of cost incurred, as defined in the Uniform
         System of Accounts.95 Costs assigned to each account are required to be itemized
         between two sub-accounts: labor and non-labor. Once the costs in each account have
         been itemized, these costs are then classified as fixed or variable. Under the straight-


                92
                     Id.
                93
                   See, e.g., Plaquemines LNG, 168 FERC ¶ 61,204 at P 33; Gulfstream Nat. Gas
         Sys., L.L.C., 105 FERC ¶ 61,052 (2003).
                94
                     Revised Ex. N.
                95
                     18 C.F.R. pt. 201 (2023).
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429             Filed: 09/04/2024      Page 32 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                  - 23 -

         fixed-variable rate design, fixed costs should be collected through the reservation charge
         and variable costs should be collected through the usage charge.96

                 In its Revised Exhibit N, CP Express classified costs from Account Nos. 853
         (Compressor station labor and expenses), 857 (Measuring and regulating station
         expenses), 864 (Maintenance of compressor station equipment), and 865 (Maintenance of
         measuring and regulating station equipment) as variable and added them to its usage
         charge. CP Express did not provide a breakdown of its accounts by labor and non-labor
         expenses. Under the Commission’s traditional cost classification method, non-labor costs
         in Account Nos. 853, 864, 857, and 865 are classified as variable, and labor costs are
         classified as fixed.97 We direct CP Express to calculate its usage charge in accordance
         with Commission regulations and policy and reflect only non-labor costs included in
         Account Nos. 853, 864, 857, and 865 in its usage charge. Further, in its Revised Exhibit
         N, when CP Express calculated variable O&M expenses, CP Express did not remove the
         total variable O&M expenses from the fixed O&M expenses, thus double counting
         variable O&M expenses and increasing the total cost of service. As stated above, fixed
         costs should be collected through the reservation charge and variable costs should be
         collected through the usage charge. Therefore, we direct CP Express to recalculate its
         reservation charge in accordance with Commission policy.

                Furthermore, CP Express included Account No. 855 (Other fuel and power for
         compressor stations)98 costs in the fixed O&M expenses used to calculate its reservation
         charge. Because fuel use varies with throughput, these costs are properly classified as
         variable,99 and we direct CP Express to include Account No. 855 costs in its usage
         charge. When CP Express submits its tariff records before placing the project facilities
         into service, we direct CP Express to submit revised recourse rates consistent with the


                96
                   18 C.F.R. § 284.7(e) (reservation charge) & § 284.10 (straight-fixed-variable
         rate design methodology) (2022); Pipeline Serv. Obligations & Revisions to Reguls.
         Governing Self-Implementing Transp.; & Regul. Of Nat. Gas Pipelines after Partial
         Wellhead Decontrol, Order No. 636, FERC Stats. & Regs. ¶ 30,939 (1992) (cross-
         referenced at 59 FERC ¶ 61,030); Tenn. Gas Pipeline Co., L.L.C., 156 FERC ¶ 61,157, at
         P 29 (2016).
                97
                 Dominion Transmission Inc., 153 FERC ¶ 61,382, at P 33 (2015); Columbia
         Gulf Transmission, LLC, 152 FERC ¶ 61,214, at P 20 (2015).
                98
                  This account includes the cost of coal, oil, other fuel, or electricity used for the
         to operate compressor stations. 18 C.F.R. pt. 201 (2023), Account 855 Other fuel and
         power for compressor stations.
                99
                     Tenn. Gas Pipeline Co., L.L.C., 156 FERC ¶ 61,157 at P 25.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291          Document #2073429             Filed: 09/04/2024      Page 33 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 - 24 -

         discussion herein, along with work papers in spreadsheet format, including formulas and
         a breakdown between labor and non-labor costs by account.100

                                       ii.    Design Capacity

                 As revised, CP Express’s proposed reservation rates for Phase I and Phase II
         service are based on a design capacity of 2,189,272 Dth/day and 4,370,422 Dth/day,
         respectively.101 Commission policy is to design initial rates based upon the full design
         capacity of the project.102 This approach ensures that the pipeline, not the rate payer, is
         placed at risk for underutilization of the facilities if it does not contract for its full
         capacity.103 Therefore, CP Express is directed to recalculate its initial rates based upon
         its design capacity of 2,200,000 Dth/day for Phase I service and 4,400,000 Dth/day for
         Phase II service.104

                                       iii.   Return on Equity

                CP Express contends its proposed 15% ROE is reasonable because its equity ratio
         is only 25%, and the Commission has regularly approved a 14% ROE for greenfield
         projects with equity ratios up to 50%, due to the increasing risks, in recent years, of
         developing and constructing new pipeline infrastructure.105


                100
                  When CP Express files its tariff records it should confirm that these Account
         No. 855 costs are not recoverable through its fuel reimbursement percentage. See Tenn.
         Gas Pipeline Co., L.L.C., 156 FERC ¶ 61,157 at P 25 n.22. See infra section III.B.3.c.
                101
                      Revised Ex. N.
                102
                 See, e.g., Atl. Coast Pipeline, LLC, 161 FERC ¶ 61,042 at PP 106, 112;
         Cameron Interstate Pipeline, LLC, 147 FERC ¶ 61,230, at P 43 (2014).
                103
                   See, e.g., Dominion Transmission, Inc., 104 FERC ¶ 61,267, at P 57 (2003);
         Pac. Gas Transmission Co., 70 FERC ¶ 61,016, at 61,045, order on reh’g, 71 FERC
         ¶ 61,268 (1995).
                104
                   See Application at 3, 8, & 23. See also May 1, 2023 Response to Data Request
         at Attachment 2, reflecting revised fuel rates based upon a capacity of 2,200,000 Dth/day
         for Phase I service and 4,400,000 Dth/day for Phase II service.
                105
                   To support its claim that the risks of pipeline infrastructure development are
         increasing, CP Express cites recently proposed natural gas pipeline projects that have
         been abandoned as a result of opposition and regulatory challenges. Application at 34
         n.37.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429          Filed: 09/04/2024     Page 34 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 25 -

                 For greenfield pipelines with equity components equal to or less than 50%, the
         Commission has previously approved ROEs up to 14% for projects to reflect the higher
         risks faced by new market entrants relative to existing pipelines with an existing
         customer base.106 CP Express has not provided sufficient support for why the
         Commission should deviate from its policy of a 14% ROE for greenfield projects;
         therefore we reject its proposed 15% ROE.107 Because CP Express’s equity component is
         less than 50%, consistent with Commission policy we authorize the use of a 14% ROE
         for this project. Accordingly, we require CP Express to revise its proposed recourse rates
         using an adjusted overall rate of return reflecting a 14% ROE.

                                b.     Negotiated Rates and Non-Conforming Provisions

                 CP Express proposes to grant several contractual rights to CP2 LNG, the anchor
         shipper, that may materially deviate from the Rate Schedule FT Form of Service
         Agreement contained in CP Express’s proposed pro forma tariff. CP Express entered
         into a binding precedent agreement with CP Express for 100% of its firm transportation
         capacity for an initial term of 20 years subject to negotiated rates. CP Express states that
         the open season made the negotiated rates and certain other contractual rights available to
         any qualifying anchor shippers.108

                 CP Express states that CP2 LNG will have the following anchor shipper rights:
         (1) the one-time right to delay Phase II under certain conditions; (2) the right to extend
         the initial 20-year primary term of its Phase I or Phase II service by an additional term
         ranging from one to ten years, at its election, by providing notice to CP Express no later
         than two years prior to the end of the primary term of its service agreement; (3) at the
         time of that notice, if a term extension is elected, CP2 LNG may also choose to reduce its
         maximum transportation quantity for the extended term, provided, however, that the
         reduced quantity is no less than 225,000 Dth/day; (4) entitlements at primary points of
         receipt that, in aggregate, exceed its Maximum Daily Transportation Quantity (MDTQ),
                106
                   Roaring Fork Interstate Gas Transmission, LLC, 177 FERC ¶ 62,153, at P 30
         (2021). See also, e.g., Double E Pipeline, 173 FERC ¶ 61,074, at P 42 (2020); Nexus
         Gas Transmission, LLC, 160 FERC ¶ 61,022, at P 81 (2017); Fla. Se. Connection, 154
         FERC ¶ 61,080, at P 118 (2016); Corpus Christi Liquefaction Stage III, LLC, 169 FERC
         ¶ 61,135, at P 34 (2019).
                107
                   See, e.g., Driftwood Pipeline LLC, 183 FERC ¶ 61,049 at P 42 (rejecting
         request for a 14.5% ROE and approving a 14% ROE); ETC Tiger Pipeline, LLC,
         131 FERC ¶ 61,010, at P 26 (2010) (denying a request for a 15% ROE and approving a
         14% ROE); Sonora Pipeline, LLC, 120 FERC ¶ 61,032, at P 26 (2007) (rejecting a
         request for a 14.5% ROE and approving a 14% ROE).
                108
                      Application at 29.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429            Filed: 09/04/2024     Page 35 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 26 -

         provided that neither the primary firm entitlement at any single point of receipt nor its
         aggregate receipts on any day exceed its MDTQ, as well as the right to designate primary
         receipt point rights among available pipeline interconnections at any time prior to the
         execution of the service agreement; and (5) project-specific credit provisions to support
         the significant financial investment associated with development of the project that will
         remain in place for the duration of the firm service agreement.109

                As a threshold matter, for special terms and conditions of service to be
         permissible, they must be offered to all shippers who submit bids in an open season.110
         We are satisfied that CP Express met this requirement. In its binding open season,
         CP Express stated that “Anchor Shippers will be eligible to receive certain incentives
         with respect to a negotiated rate, receipt point rights, and term extensions, consistent with
         regulatory requirements. Shippers qualifying as Anchor Shippers for both phases of the
         project will also have certain rights regarding the timing of Phase II and related
         conditions precedent.”111

                 A material deviation in a service agreement is any provision that: (1) goes beyond
         filling in the blank spaces with the appropriate information allowed by the tariff; and,
         (2) affects the substantive rights of the parties.112 The Commission prohibits negotiated
         terms and conditions of service that result in a shipper receiving a different quality of
         service than that offered to other shippers under the pipeline’s generally applicable tariff
         or that affect the quality of service received by others.113 However, not all material
         deviations are impermissible. Provisions that materially deviate from the corresponding
         pro forma agreement fall into two general categories: (a) provisions the Commission
         must prohibit because they present a significant potential for undue discrimination among
         shippers, and (b) provisions the Commission can permit without a substantial risk of



                109
                    Id. at 30. CP Express states that these contractual rights are similar to the
         anchor shipper rights provided to anchor shippers on two other Venture Global pipelines.
         See Calcasieu Pass LNG, 166 FERC ¶ 61,144 at PP 34-38 (TransCameron Pipeline
         Project); Plaquemines LNG, 168 FERC ¶ 61,204 at PP 62-65 (Gator Express Pipeline
         Project).
                110
                  Atl. Coast Pipeline, LLC, 161 FERC ¶ 61,042 at PP 116-118; Columbia Gas
         Transmission, L.L.C., 153 FERC ¶ 61,008, at PP 7-21 (2015).
                111
                      October 17, 2022 Response to Data Request at 7.
                112
                      Columbia Gas Transmission Corp., 97 FERC ¶ 61,221, at 62,002 (2001).
                113
                      Monroe Gas Storage Co., LLC, 130 FERC ¶ 61,113, at P 28 (2010).
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429            Filed: 09/04/2024     Page 36 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 27 -

         undue discrimination.114 Further, the Commission has found that non-conforming
         provisions may be necessary to reflect the unique circumstances involved with the
         construction of new infrastructure and to provide the needed security to ensure the
         viability of a project.115

                We find that the non-conforming provisions in CP Express’s precedent agreement
         with CP2 LNG constitute material deviations from CP Express’s pro forma service
         agreement; however, we further find the non-conforming provisions are permissible
         because they do not present a risk of undue discrimination, do not adversely affect the
         operational conditions of providing service, and do not result in any customer receiving a
         different quality of service.116

                 CP Express’s pro forma tariff provides for CP Express to charge negotiated rates
         for its proposed services. CP Express proposes to provide service under negotiated rate
         transportation service agreements. CP Express must file either the negotiated rate
         agreements or tariff records setting forth the essential terms of the agreements in
         accordance with the Alternative Rate Policy Statement117 and the Commission’s
         negotiated rate policies.118 CP Express must file an executed copy of the non-conforming
         service agreement and identify and disclose all non-conforming provisions or agreements
         affecting the substantive rights of the parties under the tariff or service agreement. This
         required disclosure includes any such transportation provision or agreement detailed in a

                114
                   Columbia Gas Transmission Corp., 97 FERC at 62,003. See also Equitrans,
         L.P., 130 FERC ¶ 61,024, at P 5 (2010).
                115
                  See, e.g., Tenn. Gas Pipeline Co., L.L.C., 144 FERC ¶ 61,219 (2013);
         Midcontinent Express Pipeline LLC, 124 FERC ¶ 61,089 (2008).
                116
                   See, e.g., Gulf South Pipeline Co., L.P., 115 FERC ¶ 61,123 (2006); Gulf South
         Pipeline Co., L.P., 98 FERC ¶ 61,318, at P 4 (2002). See also Calcasieu Pass LNG,
         166 FERC ¶ 61,144 at PP 34-38; Plaquemines LNG, 168 FERC ¶ 61,204 at PP 62-65.
                117
                   Alt. to Traditional Cost-of-Service Ratemaking for Nat. Gas Pipelines; Regul.
         of Negotiated Transp. Servs. of Nat. Gas Pipelines, 74 FERC ¶ 61,076, clarification
         granted, 74 FERC ¶ 61,194, order on reh’g and clarification, 75 FERC ¶ 61,024, reh’g
         denied, 75 FERC ¶ 61,066, reh’g dismissed, 75 FERC ¶ 61,291 (1996), petition denied
         sub nom. Burlington Res. Oil & Gas Co. v. FERC, 172 F.3d 918 (D.C. Cir. 1998)
         (Alternative Rate Policy Statement).
                118
                   Nat. Gas Pipelines Negotiated Rate Policies & Practices; Modification of
         Negotiated Rate Pol’y, 104 FERC ¶ 61,134 (2003) (Negotiated Rate Policy Statement),
         order on reh’g and clarification, 114 FERC ¶ 61,042, reh’g dismissed and clarification
         denied, 114 FERC ¶ 61,304 (2006).
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429         Filed: 09/04/2024     Page 37 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 28 -

         precedent agreement that survives the execution of the service agreement. Consistent
         with section 154.112 of the Commission’s regulations, CP Express must also file a tariff
         record identifying the agreements as non-conforming agreements.119 In addition, the
         Commission emphasizes that the above determination relates only to those items
         described by CP Express in its application and not the entirety of the precedent
         agreement.120

                                c.     Fuel

                  CP Express proposes to recover the costs of fuel and lost and unaccounted for gas
         through in-kind reimbursement percentages of shipper receipts. CP Express states that
         the reimbursement percentages will be adjusted annually with a true-up mechanism set
         forth in section 13 of the General Terms and Conditions (GT&C) of its pro forma
         tariff.121 CP Express proposes an initial fuel reimbursement percentage of 0.29% for
         Phase I service and 0.42% for Phase II service122 and an initial lost and unaccounted for
         percentage of 0.25%.123 CP Express states that the initial fuel reimbursement percentage
         reflects the required fuel to operate the Moss Lake Compressor Station on a design day
         with an assumed 100% load factor.




                119
                      18 C.F.R. § 154.112 (2023).
                120
                   A Commission ruling on non-conforming provisions in a certificate proceeding
         does not waive any future review of such provisions when the executed copy of the non-
         conforming agreement(s) and a tariff record identifying the agreement(s) as non-
         conforming are filed with the Commission, consistent with section 154.112 of the
         Commission’s regulations. See, e.g., Tenn. Gas Pipeline Co., L.L.C., 150 FERC
         ¶ 61,160, at P 44, n.33 (2015).
                121
                      Application at 35-36.
                122
                   May 1, 2023 Data Response at attach. 2. CP Express provided a revised fuel
         derivation to correct the fuel reimbursement percentages provided in the October 17,
         2022 Data Response. The fuel consumption is projected to be 6,380 Dth/day for Phase I
         service and 18,707 Dth/day for Phase II service.
                123
                   Id.; October 17, 2022 Response to Data Request at 15. CP Express states that
         the 0.25% initial lost and unaccounted for percentage is consistent with the
         Commission’s approval of the percentage for the similarly situated TransCameron
         Pipeline. See Calcasieu Pass LNG, 166 FERC ¶ 61,144 at PP 29, 31.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429           Filed: 09/04/2024     Page 38 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 29 -

                We find that CP Express’s proposed initial fuel and lost and unaccounted for gas
         reimbursement percentages are reasonable, and that the proposed true-up mechanism is
         consistent with Commission regulation and policy.124

                                d.     Three-Year Filing Requirement

                Consistent with Commission precedent, CP Express is required to file a cost and
         revenue study no later than three months after its first three years of actual operation of
         the entire system (both Phase I and II) to justify its existing cost-based firm and
         interruptible recourse rates.125 In that filing, the projected units of service should be no
         lower than those upon which CP Express’s approved initial rates are based. The filing
         must include a cost and revenue study in the form specified in section 154.313 of the
         Commission’s regulations to update cost of service data.126 CP Express’s cost and
         revenue study should be filed through the eTariff portal using a Type of Filing Code 580.
         In addition, CP Express is advised to include as part of the eFiling description a reference
         to Docket Nos. CP22-21-000 and CP22-22-000 in the cost and revenue study.127

                 To the extent CP Express has not begun construction of the Phase II facilities
         within two years of the in-service date of Phase I, CP Express is directed to file a cost and
         revenue study three years after the in-service date of the Phase I facilities. After
         reviewing the data, the Commission will determine whether to exercise its authority
         under NGA section 5 to investigate whether the rates remain just and reasonable. In the
         alternative, in lieu of that filing, CP Express may make an NGA general section 4 rate
         filing to propose alternative rates to be effective no later than three years after the in-
         service date for its proposed facilities.

                                e.     Pro Forma Tariff

              CP Express filed its pro forma tariff as part of its application in Exhibit P.
         CP Express states that the CP Express Pipeline System will provide transportation



                124
                      18 C.F.R. § 154.403 (2023); ANR Pipeline Co., 108 FERC ¶ 61,050 (2004).
                125
                   Atl. Coast Pipeline, LLC, 161 FERC ¶ 61,042 at P 105; Fla. Southeast
         Connection, 154 FERC ¶ 61,080 at P 139; Bison Pipeline, LLC, 131 FERC ¶ 61,013, at
         P 29 (2010); Ruby Pipeline, L.L.C., 128 FERC ¶ 61,224, at P 57 (2009); MarkWest
         Pioneer, L.L.C., 125 FERC ¶ 61,165, at P 34 (2008).
                126
                      18 C.F.R. § 154.313 (2023).
                127
                      Elec. Tariff Filings, 130 FERC ¶ 61,047, at P 17 (2010).
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429           Filed: 09/04/2024     Page 39 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 30 -

         services on an unbundled, open access basis under nondiscriminatory terms and
         conditions.128

                                       i.     Negotiated Rate Authority

                 Commission policy requires that if a pipeline files a tariff record reflecting the
         terms of a negotiated rate agreement, the tariff record summary must fully describe the
         essential elements of the transaction, including the name of the shipper, the negotiated
         rate, the type of service, the receipt and delivery points applicable to the service, and the
         volume of gas to be transported. Also, where the price term of the negotiated rate
         agreement is a formula, the formula should be fully set forth in the tariff
         record. CP Express is directed to modify its tariff, GT&C section 4.14(a)(v), to be
         consistent with the Commission’s negotiated rate policy.129 In addition, CP Express must
         maintain separate and identifiable accounts for volumes transported, billing determinants,
         rate components, surcharges, and revenues associated with its negotiated rates in
         sufficient detail so that they can be identified in Statements G, I, and J in any future NGA
         section 4 or 5 rate case. CP Express is ordered to add this record keeping requirement to
         section 4.14(c) of its tariff.130

                                       ii.    System Map

                 CP Express’s pro forma tariff does not include maps of its system and therefore
         does not comply with the Commission’s regulations. CP Express is required to revise its
         tariff to provide uniform resource locators (URL) designating a location on the internet
         for publication of its system maps.131

                                       iii.   Crediting of Operational Flow Order Penalties

                In section GT&C 14.2(a) of CP Express’s pro forma tariff, CP Express proposes
         to credit penalties pursuant to Operational Flow Orders (OFO), net of transporter’s costs,
         to non-offending firm transportation customers. However, this section does not fully



                128
                      Application at 35.
                129
                    Negotiated Rate Policy Statement, 104 FERC ¶ 61,134, order on reh’g and
         clarification, 114 FERC ¶ 61,042, reh’g dismissed and clarification denied, 114 FERC
         ¶ 61,304.
                130
                      See, e.g., Gulf Crossing Pipeline Co., LLC, 123 FERC ¶ 61,100 (2008).
                131
                      18 C.F.R. § 154.106 (2023).
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429          Filed: 09/04/2024     Page 40 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 31 -

         comply with Order No. 637.132 While CP Express’s proposal states that it will credit
         OFO penalties only to non-offending firm shippers, we have generally held that a
         pipeline must credit revenues to all shippers. Since all shippers, including interruptible
         shippers, may be subject to penalties, all shippers should therefore receive a proportional
         share of any net penalty revenues.133 We therefore direct CP Express to revise section
         14.2(a) of its GT&C to provide crediting of OFO penalty revenues to all non-offending
         shippers, regardless of whether they are firm or interruptible. Moreover, CP Express
         proposes to credit revenues “net of Transporter’s costs.” CP Express will have the
         burden of supporting any such costs in a penalty revenue report.134 CP Express’s
         customers may challenge the costs and the methods of identifying these amounts when
         the report has been filed.

                                       iv.   Segmentation

                 CP Express states that it does not propose to offer segmentation rights on its
         system as it is not operationally feasible and not desired by its shipper. Therefore,
         CP Express requests exemption from section 284.7(d) of the Commission’s
         regulations.135 According to CP Express, the pipeline will operate as a uni-directional
         line, receiving gas from receipt-only interconnects with upstream pipelines and
         transporting it to the single delivery point at the CP2 LNG Project with no intermediate
         delivery points allowing for segmentation of the capacity.136

               We find that because CP Express has uni-directional, receipt-only interconnections
         with upstream pipelines and one delivery point, segmentation is not operationally feasible


                132
                   Regul. of Short-Term Nat. Gas Transp. Servs. & Regul. of Interstate Nat. Gas
         Transp. Servs., Order No. 637, FERC Stats. & Regs. ¶ 31,091 (cross-referenced at 90
         FERC ¶ 61,109), clarified, Order No. 637-A, FERC Stats. & Regs. ¶ 31,099 (cross-
         referenced at 91 FERC ¶ 61,169), reh’g denied, Order No. 637-B, 92 FERC ¶ 61,062
         (2000), aff’d in part and remanded in part sub nom. Interstate Nat. Gas Ass’n of Am. v.
         FERC, 285 F.3d 18 (D.C. Cir.), order on remand, 101 FERC ¶ 61,127 (2002), order on
         reh’g, 106 FERC ¶ 61,088 (2004), aff’d sub nom. Am. Gas Ass’n v. FERC, 428 F.3d 255
         (D.C. Cir. 2005).
                133
                   Destin Pipeline Co., L.L.C., 99 FERC ¶ 61,060, at 61,284 (2002); Nat. Gas
         Pipeline Co. of America, 101 FERC ¶ 61,200, at P 99 (2002).
                134
                      See Order No. 637-A, FERC Stats. & Regs. ¶ 31,099 at 35,742.
                135
                      Application at 36.
                136
                      Id.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429             Filed: 09/04/2024     Page 41 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 32 -

         on the system as currently configured.137 Therefore, we will grant CP Express a limited
         waiver from implementing segmentation on its system. The waiver is granted only until
         CP Express adds a point to its system making segmentation operationally feasible.
         Before such additional point is placed in service, CP Express must file new or revised
         tariff records in accordance with the Commission’s regulations to provide for
         segmentation.

                                     v.     NAESB

                 The Commission has adopted in its regulations various standards for conducting
         business practices and electronic communication with interstate pipelines as promulgated
         by the North American Energy Standards Board (NAESB). 138 The standards are intended
         to govern nominations, allocations, balancing measurement, invoicing, capacity release,
         and mechanisms for electronic communication between pipelines and those with whom
         they do business. CP Express requests an extension of time to implement NAESB
         Wholesale Gas Quadrant (WGQ) Version 3.2 Standards relating to various Electronic
         Data Interchange (EDI),139 Electronic Delivery Mechanism (EDM),140 and Internet
         Electronic Transport (IET)141 requirements until such time as CP Express is requested by
         a Part 284, open-access customer to provide such electronic data services. CP Express
         states that the Commission generally has granted an extension of time to comply with

                137
                 Calcasieu Pass LNG, 166 FERC ¶ 61,144 at PP 39-40; Plaquemines LNG,
         168 FERC ¶ 61,204 at PP 41-42; Sierrita Gas Pipeline, LLC, 147 FERC ¶ 61,192 at P 56.
                138
                  See Standards for Bus, Practices for Interstate Nat. Gas Pipelines, Order No.
         698, FERC Stats. & Regs. ¶ 31,251 (2007) (cross-referenced at 119 FERC ¶ 61,317),
         order granting clarification and denying reh’g, Order No. 698-A, 121 FERC ¶ 61,264
         (2007). Standards for Bus. Practices for Interstate Nat. Gas Pipelines, Order No. 587-S,
         111 FERC ¶ 61,203 (2005). Pursuant to the June 14, 2005 errata notice in Docket No.
         RM96-1-026, the title of the May 9, 2005 final rule was changed from Order No. 654 to
         Order No. 587-S.
                139
                   EDI standards require computer-to-computer electronic data interchange of
         information in files as mapped from the NAESB WGQ datasets and communicated
         between trading partners over the Internet using the NAESB Internet Electronic
         Transport.
                140
                   EDM standards relate to the use of the Internet for pertinent business practice
         and electronic communications.
                141
                  IET refers to electronic transaction messaging standards which, in concert with
         Quadrant-specific EDM (QEDM), enable NAESB parties to securely and reliably
         exchange transactions over the Internet.
Document Accession #: 20240627-3107               Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429             Filed: 09/04/2024      Page 42 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                  - 33 -

         these standards.142 For good cause shown, we grant CP Express an extension of time to
         comply with EDI, EDM, and IET NAESB Standards, as requested.143 The extension of
         time is limited to the NAESB WGQ Version 3.2 Standards144 promulgated by Order No.
         587-Z,145 and will be in effect until a Part 284 customer requests CP Express to offer the
         EDI, EDM, and IET transactions or data via its website.146 Further, CP Express must be
         fully compliant with the NAESB WGQ Version 3.2 Standards as it relates to proprietary
         location codes.147

                                       vi.    Determination

                CP Express proposes to offer firm and interruptible transportation services on an
         open-access basis under the terms and conditions set forth in the pro forma tariff attached
         as Exhibit P to the application. We find that CP Express’s proposed pro forma tariff
         generally complies with Part 284 of the Commission’s regulations,148 with the exceptions
         discussed above. We will require CP Express to file actual tariff records consistent with

                142
                      Application at 37 (citing TransCameron Pipeline, LLC, 174 FERC ¶ 61,186
         (2021)).
                143
                    NAESB WGQ Version 3.2 Standards 1.3.3, 1.3.9, 1.3.13, 1.3.20, 1.3.21,
         1.3.23, 1.3.48, 1.3.53, 1.3.55, 1.3.56, 1.3.58, 1.3.62, 1.4.2, 1.4.7, 2.3.5, 2.3.6, 2.3.13,
         2.3.32, 2.3.40, 2.4.2, 2.4.6, 2.4.7, 2.4.8, 3.3.23, 3.3.24, 3.4.1 through 3.4.4, 4.3.1 through
         4.3.3, 4.3.42 through 4.3.47, 4.3.49, 4.3.50, 4.3.52 through 4.3.55, 4.3.57, 4.3.58, 4.3.60,
         4.3.62, 4.3.66 through 4.3.69, 4.3.72, 4.3.75, 4.3.78 through 4.3.82, 4.3.84 through
         4.3.87, 4.3.107 through 4.3.110, 5.3.10 through 5.3.12, 5.3.70 through 5.3.72, 5.4.14
         through 5.4.17, 5.4.20 through 5.4.27, 10.3.1, 10.3.3 through 10.3.12, and 10.3.14
         through 10.3.29.
                144
                  See B-R Pipeline Co., 128 FERC ¶ 61,126, at P 6 (2009) (each time the
         Commission adopts new versions of the standards, a pipeline seeking to retain an existing
         waiver must request a waiver of the new standards).
                145
                  Standards for Business Pracs. of Interstate Nat. Gas Pipelines, Order
         No. 587-Z, 176 FERC ¶ 61,015 (2021).
                146
                    CP Express states that any changes to NAESB standards, as well as any other
         subsequent changes in the Commission’s generally applicable requirements for tariffs,
         that take effect prior to the in-service date of the CP Express Pipeline Project will be
         incorporated into the tariff when CP Express files to make its tariff effective.
                147
                      See Equitrans L.P., 153 FERC ¶ 61,320, at PP 9-13 (2015).
                148
                      18 C.F.R. pt. 284 (2023).
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429            Filed: 09/04/2024     Page 43 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 34 -

         the directives in this order at least 30 days and no more than 60 days prior to the
         commencement of service. In addition, CP Express must file a redline-strikeout version
         of the revised tariff records to identify the changes made to comply with this order.

                C.       Environmental Analysis

               To satisfy the requirements of the National Environmental Policy Act of 1969
         (NEPA),149 Commission staff evaluated the potential environmental impacts of the
         proposed project in an EIS. The U.S. Army Corps of Engineers (Army Corps); U.S.
         Department of Energy; U.S. Coast Guard; Department of Transportation’s Pipeline and
         Hazardous Materials Safety Administration (PHMSA); and National Oceanic and
         Atmospheric Administration’s National Marine Fisheries Service (NMFS) participated in
         development of the EIS as cooperating agencies, as defined by NEPA.150

                 On February 17, 2021, Commission staff began its environmental review of the
         CP2 LNG and CP Express Projects by granting the applicants’ request to use the pre-
         filing process, assigning Docket No. PF21-1-000.151 The Commission’s pre-filing
         process is designed to encourage early involvement by citizens, governmental entities,
         non-governmental organizations, and other interested parties in the development of
         proposed natural gas transmission projects, prior to the filing of a formal application. As
         part of the pre-filing review, staff participated in three virtual open house public meetings
         held by the applicants on April 6, 7, and 8, 2021, to explain the Commission’s
         environmental review process to interested stakeholders.

                As part of the pre-filing process, on April 27, 2021, the Commission issued a
         Notice of Scoping Period Requesting Comments on Environmental Issues for the Planned
         CP2 LNG and CP Express Project and Notice of Public Scoping Sessions. The notice
         was published in the Federal Register on May 4, 2021, and opened a scoping period, with
         comments due on May 27, 2021.152 The notice was mailed to about 2,700 entities,
         including federal, state, and local officials; agency representatives; conservation
         organizations; Native American Tribes; local libraries and newspapers; non-

                149
                   42 U.S.C. §§ 4321 et seq. See also 18 C.F.R. pt. 380 (2023) (Commission’s
         regulations implementing NEPA).
                150
                    40 C.F.R. § 1501.8 (2023). Cooperating agencies have jurisdiction by law or
         special expertise with respect to resources potentially affected by a proposal and
         participate in the NEPA analysis.
                151
                   Approval of Pre-filing Request, Docket No. PF21-1-000 (issued Feb. 17, 2021);
         see also 18 C.F.R. § 157.21(b) (2023).
                152
                      86 Fed. Reg. 23,711 (May 4, 2021).
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291          Document #2073429           Filed: 09/04/2024     Page 44 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                             - 35 -

         governmental organizations; and property owners in the vicinity of the proposed project
         (Commission staff’s environmental mailing list). Commission staff held three virtual
         public scoping sessions via telephone on May 11, 12, and 13, 2021, to provide
         government agencies and the general public the opportunity to comment about issues to
         be addressed in the environmental analysis. The pre-filing process ended on December 2,
         2021, when CP2 LNG and CP Express filed their applications for the CP2 LNG and CP
         Express Projects.

                On February 9, 2022, the Commission issued a Notice of Intent to Prepare an
         Environmental Impact Statement for the Proposed CP2 LNG and CP Express Project,
         Request for Comments on Environmental Issues, and Schedule for Environmental
         Review. The notice was published in the Federal Register153 and established a comment
         period that ended on March 11, 2022. The notice was also mailed to project stakeholders
         on the Commission staff’s environmental mailing list, including individuals who
         provided comments during the pre-filing process or asked to be on the mailing list.

                In response to the notices, the Commission received 56 comments and 1,719
         individual form letters from landowners; federal, state, and local agencies; Native
         American Tribes; companies and non-governmental organizations; and other interested
         individuals. Primary issues raised by the commenters related to potential project impacts
         on climate change, water quality and wetlands, wildlife, aquatic resources, threatened and
         endangered species, recreational activities, local infrastructure, environmental justice
         communities, and air quality.

                Pursuant to NEPA requirements, Commission staff prepared a draft EIS for the
         projects, which was issued on January 19, 2023, and addressed all substantive
         environmental comments received prior to its issuance. Notice of the draft EIS was
         published in the Federal Register on January 26, 2023,154 establishing a 45-day public
         comment period that ended on March 13, 2023. Copies of the notice were mailed to
         Commission staff’s environmental mailing list.

                 In response to the draft EIS, the Commission received written comments from
         three federal agencies, two state agencies, eleven companies and non-governmental
         organizations, and nine individuals. The Commission also received a copy of one form
         letter associated with an online petition which had 83 signatures at the time of filing.
         Commission staff held two public comment sessions in the project area on March 1 and
         2, 2023, in Calcasieu and Cameron Parishes, Louisiana, respectively, to solicit and
         receive comments on the draft EIS. A total of 36 individuals provided oral comments.
         Primary issues raised by the commenters relate to potential project impacts on wetlands,

               153
                     87 Fed Reg. 8580 (Feb. 15, 2022).
               154
                     88 Fed. Reg. 4995 (January 26, 2023).
Document Accession #: 20240627-3107               Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429                 Filed: 09/04/2024   Page 45 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                  - 36 -

         wildlife, aquatic resources, threatened and endangered species, air quality, LNG terminal
         safety, flooding and tropical storm systems, and greenhouse gases and climate change.

                Commission staff issued the final EIS for the projects on July 28, 2023. The
         Notice of Availability of the final EIS was published in the Federal Register on August 4,
         2023,155 and the notice was mailed to Commission staff’s environmental mailing list.
         The final EIS addresses: geology; soils; water resources; wetlands; vegetation; wildlife;
         aquatic resources; threatened and endangered species; land use; recreation; visual
         resources; socioeconomics; environmental justice;156 cultural resources; air quality; noise;
         safety; cumulative impacts; and alternatives. It also addresses all substantive
         environmental comments received on the draft EIS.

                 The final EIS concludes that construction and operation of the projects would
         result in some adverse environmental impacts, but that with the mitigation measures
         recommended in the final EIS, most of these impacts would be reduced to less than
         significant levels.157 The final EIS concludes that impacts on visual resources, including
         cumulative visual impacts and visual impacts affecting environmental justice
         communities in the region, would be significant.158 With regard to climate change
         impacts, the final EIS does not characterize the project’s GHG emissions as significant or
         insignificant, but we provide information about these emissions below, based on the
         information on file in the proceeding and as disclosed in the final EIS.159

                The Commission received comments on the final EIS from the U.S.
         Environmental Protection Agency (EPA), NMFS, Louisiana Department of Wildlife and
         Fisheries (Louisiana DWF),160 the Natural Resources Defense Council (NRDC), the


                155
                      88 Fed. Reg. 51,802 (Aug. 4, 2023).
                156
                  Under NEPA, the Commission considers impacts to all potentially affected
         communities. Consistent with Executive Order 12,898 and Executive Order 14,008, the
         Commission separately identifies and addresses “disproportionately high and adverse
         human health or environmental effects” on environmental justice communities. Exec.
         Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 11, 1994); Exec. Order No. 14,008, 86 Fed.
         Reg. 7619 (Jan. 27, 2021). See infra section III.C.7.
                157
                      Final EIS at 5-1.
                158
                      Id.
                159
                      Final EIS at 4-549; see infra section III.C.8.
                160
                    We note that most of Louisiana DWF’s comments on the final EIS were
         identical to its comments on the draft EIS, which were addressed in Appendix N of the
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429           Filed: 09/04/2024      Page 46 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 - 37 -

         Environmental Integrity Project, Sierra Club, For a Better Bayou, Institute for Energy
         Economics and Financial Analysis, and landowners, stakeholders, and members of the
         public.161 Based on the comments received on the final EIS, the following issues are
         discussed further below: essential fish habitat (EFH); wildlife (including special status
         species and nesting birds); water quality certification; vulnerability to hurricanes and high
         winds speeds, shoreline erosion, and sea level rise; environmental justice; commercial
         fisheries and shrimping; climate change; air quality; alternatives; and cumulative impacts.

                            1.   Essential Fish Habitat

                The final EIS evaluated the potential impacts of three alternative pipeline routes
         on EFH and concluded that the alternatives do not provide a significant environmental
         advantage over the preferred pipeline route, which avoids impacting existing oyster
         habitat, artificial finfish reefs, and oyster cultch plants162 within Calcasieu Lake, as well
         as marsh restoration projects south of the lake.163 NMFS comments that it disagrees with
         this determination and notes that the alternative route through Calcasieu Lake would
         avoid a significant portion of estuarine emergent wetlands, resulting in fewer direct
         impacts to EFH.164 NMFS, however, concurs with the final EIS’s conclusion that
         implementation of the applicants’ preliminary compensatory mitigation plan and
         beneficial use of dredged materials plan would offset most of the EFH impacts.165
         Therefore, NMFS states that the EFH consultation requirements of the Magnuson-




         final EIS. Only substantive comments not previously addressed in the final EIS are
         addressed in this order.
                161
                  See, e.g., Pam Elders October 17, 2023 Comments; Adley and Judy Dyson
         October 19, 2023 Comments; Karen Uhlenhuth October 19, 2023 Comments; Rebecca
         Liberman October 20, 2023 Comments; Jarrod Baniqued Comments; Kalama Reuter
         November 22, 2023 Comments; Donna Gaab November 22, 2023 Comments; Wendy
         Ring November 27, 2023 Comments; Thomas Kitson November 29, 2023 Comments;
         Alexis Dekle Comments; Betty Winkler November 30, 2023 Comments.
                162
                   Oyster cultching involves the placement of various kinds of material into the
         water to provide points of attachment for oyster larvae.
                163
                      Final EIS at 3-64.
                164
                      NMFS September 29, 2023 Comments at 1.
                165
                      Id.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429           Filed: 09/04/2024   Page 47 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 38 -

         Stevens Fishery Conservation and Management Act have been fulfilled for the
         projects.166

                             2. Sensitive Species

                                a.     Endangered Species Act Consultation

                On December 1, 2023, the U.S. Fish and Wildlife Service’s Louisiana Ecological
         Services Office (FWS) issued a Biological Opinion for the portions of the projects in
         Louisiana.167 Thus, consultation under Section 7 of the Endangered Species Act is now
         complete and as such staff’s environmental recommendation 19 that was included in the
         final EIS, is not included as an environmental condition of this order.168

                                b.     Rice’s Whale

                Sierra Club comments that the final EIS does not fully analyze the potential direct,
         indirect, and cumulative impacts the project would have on the Rice’s whale.169 Sierra
         Club further states that the final EIS inappropriately relied on CP2 LNG’s commitment to
         provide vessel operators with materials outlining voluntary measures to reduce their
         impacts on marine mammals as its basis for finding the CP2 LNG Project is not likely to
         adversely affect the Rice’s whale.170

               As discussed in the final EIS, the Rice’s whale has been documented off the coast
         of Louisiana in the Gulf of Mexico.171 Barges and other vessels carrying construction
         equipment, as well as LNG carriers, would travel through this area to the CP2 LNG
         terminal during construction and operation, respectively, and could potentially strike a




                166
                      Id.
                167
                      FWS January 17, 2024 Biological Opinion.
                168
                     NMFS concurred with Commission staff’s conclusions for federally designated
         threatened or endangered species under their jurisdiction. NMFS May 12, 2023 Letter
         (filed in the docket in CP2 LNG and CP2 Express May 31, 2023 supplemental filing at
         327). This letter was inadvertently excluded from the final EIS.
                169
                      Sierra Club March 5, 2024 Comments at 1-2.
                170
                      Id.
                171
                      Final EIS at 4-224.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429           Filed: 09/04/2024     Page 48 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 39 -

         Rice’s whale.172 The final EIS further discusses that the Rice’s whale may be impacted
         by marine pollution related to project operation.173

                The final EIS states that the potential for collisions between project-related vessels
         and the Rice’s whale is low because these vessels will use well-established shipping
         lanes, noting NMFS’s determination that the potential for collisions between vessels
         associated with the neighboring Calcasieu Pass LNG terminal and sperm whales, the
         most abundant whale species in the Gulf of Mexico, is highly unlikely.174 The final EIS
         notes that the risk of collision is minimized because CP2 LNG would provide the Vessel
         Strike Avoidance Measures to LNG carrier captains and would advocate compliance with
         the measures identified in the document.175

                As noted in Sierra Club’s comments, the estimated population of the Rice’s whale
         in the Gulf of Mexico is less than 50 individuals.176 We add here that the likelihood of a
         project-related vessel colliding with a Rice’s whale is low because operation of the CP2
         LNG Project would only marginally increase ship traffic in the Calcasieu Ship Channel
         and would result in an even smaller relative increase in ship traffic in the Gulf of
         Mexico.177

                Further, the final EIS discusses the potential impact from marine pollution from
         marine traffic associated with the project.178 To address the potential marine pollution
         impacts associated with offshore spills of fuel, lubricants, or other hazardous materials,
         the Coast Guard requires LNG carriers to develop and implement a Shipboard Oil
         Pollution Emergency Plan, which includes measures to be taken if an oil pollution




                172
                      Id.
                173
                      Id.
                174
                      Id.
                175
                      Id.
                176
                      Sierra Club March 5, 2024 Comments at 1.
                177
                   CP2 LNG estimates that between 200 and 400 LNG carriers would visit the
         terminal annually, which would represent only a minor increase in the level of ship traffic
         in the Calcasieu Ship Channel. Final EIS at 4-185.
                178
                      Final EIS at 4-224.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429           Filed: 09/04/2024      Page 49 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                     - 40 -

         incident occurs or if a ship is at risk of one.179 Implementation of these measures would
         minimize the risk of negative effects from marine pollution on the Rice’s whale.180

                 The final EIS concludes that the construction and operation of the project may
         affect but is not likely to adversely affect the Rice’s whale.181 Based on its knowledge,
         expertise, and the information provided by Commission staff and related materials,
         NMFS concurred with the final EIS’s conclusion that the project is not likely to adversely
         affect any listed species under its jurisdiction, including the Rice’s whale.182

                Additionally, the final EIS discusses the potential cumulative impacts on the
         Rice’s whale from the increased LNG carrier traffic from the CP2 LNG terminal, and
         marine traffic associated with other existing and proposed LNG projects and oil and gas
         development in the Gulf of Mexico.183 The final EIS concludes that although the project
         would contribute to a minor cumulative increase in vessel traffic which could incur a risk
         to whales in the Gulf of Mexico, the magnitude of the increase would not be
         significant.184 In addition, the cumulative impacts of the increased LNG carrier traffic
         associated with the CP2 LNG Project when considered with other projects would be
         permanent, but would not be significant.185 We agree.

                Finally, Sierra Club asserts that the Commission must initiate formal consultation
         with NMFS to consider NMFS’s proposal to designate the Gulf’s central and western-
         shelf break as critical habitat for the Rice’s whale and the scientific evidence included in
         NMFS’s proposal.186 We disagree.187 Should NMFS designate critical habitat for the

                179
                      Id.
                180
                      Id.
                181
                      Id.
                182
                  NMFS May 12, 2023 Letter (filed to the docket in CP2 LNG and CP2 Express
         May 31, 2023 Supplemental Filing at 327).
                183
                      Final EIS at 4-535.
                184
                      Id.
                185
                      Id. at 4-534.
                186
                      Sierra Club March 5, 2024 Comments at 7-8, 11-13.
                187
                    A proposal to designate critical habitat for a listed species does not trigger
         reinitiation of consultation under the ESA. See 40 C.F.R. § 402.16 (2023).
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429          Filed: 09/04/2024    Page 50 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 41 -

         Rice’s whale, Commission staff will coordinate any necessary consultation with NMFS at
         that time.188

                                 c.     Mississippi Diamond-backed Terrapin

                 Louisiana DWF comments that the Mississippi Diamond-backed Terrapin
         (Malaclemys terrapin pileata) may occur in the project area and is considered vulnerable
         in Louisiana.189 Louisiana DWF states that this species inhabits brackish water habitats,
         especially sandy coastal marshes and dunes, and that nest searches should be conducted if
         any project activities that involve mobilization or demobilization would occur in the
         sandy edges of marshes and dunes inhabited by the terrapin.190 In accordance with
         Louisiana’s regulations,191 the final EIS analyzes project impacts on state-designated
         threatened and endangered species.192 The Mississippi Diamond-backed Terrapin is
         listed as S3 (vulnerable; at moderate risk of extirpation in Louisiana), but not currently
         identified as a state-designated threatened or endangered species.

                The final EIS concludes that the construction and operation of the project facilities
         would not have a significant impact on wildlife resources.193 To minimize project
         impacts, CP2 LNG and CP Express would adhere to the project-specific Upland Erosion
         Control, Revegetation, and Maintenance Plan (Plan), Wetland and Waterbody
         Construction and Mitigation Procedures (Procedures), and Spill Prevention, Control, and
         Countermeasure Plan (SPCC Plan). The applicants’ proposed mitigation measures, such
         as the use of erosion control devices where feasible, limiting the amount and duration of
         open trenches during construction, and restoring temporary workspace areas to as near
         pre-construction conditions as practicable, would minimize potential impacts on habitat
         and wildlife species. Further, CP Express would use a horizontal directional drill to cross
         beneath several rivers, which would eliminate impacts on the bed and banks of
         waterbodies potentially inhabited by the Mississippi Diamond-backed Terrapin. CP
         Express would also limit the extent and duration of disturbance to the remaining


                188
                    NMFS has proposed, but not finalized, a critical habitat designation for
         the Rice's Whale. 88 Fed. Reg. 47,453 (July 24, 2023).
                189
                      Louisiana DWF August 29, 2023 Comments at 2.
                190
                      Id.
                191
                      Louisiana Administrative Code Title 76, section I-317.
                192
                      Final EIS at 4-229.
                193
                      Id. at 4-152 to 4-162.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429           Filed: 09/04/2024      Page 51 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 - 42 -

         waterbody crossings, which would minimize impact on any potential terrapins. With
         these measures, we conclude that the project is not likely to adversely impact the species.

                                d.     Bird Nesting Colonies

                Louisiana DWF states that its Wildlife Diversity Program database “indicates the
         presence of bird nesting colonies within the project area,” noting that entry into or
         disturbance of active breeding colonies and work within a certain radius of an active
         nesting colony is prohibited.194 Louisiana DWF further provides guidance on measures
         to be implemented during construction to mitigate potential impacts on bird nesting
         colonies.195

                The final EIS states that there is potentially suitable habitat for waterbird nesting
         rookeries within 1 mile of the CP Express Pipeline Project, but no nests or rookeries were
         observed during field surveys of the construction workspace and its vicinity.196 CP2
         LNG and CP Express will conduct preconstruction nest surveys for both projects
         approximately four weeks prior to the migratory bird nesting window, which begins
         annually on March 1, and the nest surveys would be considered valid for 14 days.

                 If nesting waterbirds are observed, Louisiana DWF guidelines state that all
         activities occurring within 1,000 feet of nesting wading birds (e.g., herons, egrets, ibis),
         should take place between September 1 and February 15, outside of the wading bird
         nesting season. For colonies containing nesting gulls (Laridae spp.), terns, and/or black
         skimmers (Rynchops niger), construction activities within 650 feet (or 2,000 feet for
         brown pelicans [Pelecanus occidentalis]) should take place between September 16 and
         April 1, outside of the nesting season for these species. CP2 LNG and CP Express have
         committed to these spatial and time-of-year restrictions. If construction within these
         spatial boundaries cannot be met, CP2 LNG and CP Express have committed to consult
         with the Louisiana DWF two weeks prior to the commencement of construction within
         those time-of-year restrictions.

                             3. Water Quality Certification

                The final EIS’s recommended condition 15 would require the applicants to file
         water quality certifications issued for the projects by the Railroad Commission of Texas
         (Railroad Commission) and the Louisiana Department of Environmental Quality
         (Louisiana DEQ) within 5 days of receipt. On August 31, 2023, and September 5, 2023,

                194
                      Louisiana DWF August 29, 2023 Comments at 2-3.
                195
                      Id.
                196
                      Final EIS at 4-171.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429           Filed: 09/04/2024     Page 52 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 43 -

         the applicants filed the receipts of water quality certifications from Louisiana DEQ197 and
         the Railroad Commission, respectively.198 Further, as required by 40 CFR § 121.12,
         Commission staff notified EPA on November 21, 2023, that the water quality
         certifications for the projects were received.199 We have revised the final EIS’s
         recommended condition 15, included as environmental condition 15 in the appendix to
         this order, accordingly.200

                 Environmental Integrity Project filed comments alleging deficiencies in
         Louisiana’s and Texas’s water quality certification processes and regulations, including
         copies of letters raising the same concerns filed with Louisiana DEQ and the Railroad
         Commission.201 The Clean Water Act (CWA) establishes the states as the primary
         authority for water quality certifications, and the Commission must defer to the final
         decision of the state.202 The Commission’s role is limited to confirming that the state has
         “facially satisfied the express requirements of section 401.”203 Here, in accordance with
         the CWA, Texas and Louisiana issued public notice of the applicants’ water quality
         certification requests.204 Nothing more is required.



                197
                      CP2 LNG and CP Express August 31, 2023 Comments at 1-3.
                198
                      CP2 LNG and CP Express September 5, 2023 Comments at 1-4.
                199
                  Commission Staff November 21, 2023 Memorandum in Docket Nos. CP22-21-
         000 and CP22-22-000) (providing email communication with EPA).
                200
                    We also revised environmental condition 15 to reflect EPA’s final Clean Water
         Act Section 401 Water Quality Certification Improvement Rule, effective November 27,
         2023, which limited the federal action agency’s review of water quality certifications to
         verification of compliance with the requirements of Clean Water Act section 401.
         88 Fed. Reg. 66,558 (Sept. 27, 2023).
                201
                      Environmental Integrity Project September 28, 2023 Comments.
                202
                      City of Tacoma, Washington v. FERC, 460 F.3d 53, 67 (D.C. Cir. 2006).
                203
                    Id. at 68. Further, the Commission is not required to “inquire into every nuance
         of the state law proceeding, especially to the extent doing so would place FERC in the
         position of applying state law standards.” Id.
                204
                   Army Corps August 24, 2023 Public Notice,
         https://www.swg.usace.army.mil/Media/Public-Notices/Article/3504385/swg-2021-
         00499-venture-global-cp2-lng-llc-various-wetlands-and-waterbodies-in-l/. The
         Galveston District of the Army Corps issues public notice regarding water quality
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429           Filed: 09/04/2024     Page 53 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 44 -

                             4. Hurricanes, Flooding, Relative Sea Level Rise, and Shoreline
                                Erosion

                Wendy Ring notes concerns that the CP2 LNG Project would be vulnerable to
         hurricanes and located in an area with rapid rates of shoreline erosion and sea level rise,
         further noting that flooding and high winds may increase the risk of damage and leaks
         from the LNG terminal.205

                The final EIS discusses the resilience of the LNG terminal facilities with respect to
         hurricane winds and hurricane-induced flooding.206 The terminal would be designed for
         sustained wind speeds of 150 miles per hour (mph).207 The final EIS concludes that the
         use of a 150-mph sustained wind speed is adequate for the LNG storage tanks and other
         LNG facilities where both the wind and tornado load design procedures are followed as
         recommended during final design and construction.208 We agree.

                In addition, as recommended by staff in the final EIS, this order requires CP2
         LNG to design the floodwall to a 500-year mean recurrence interval with consideration of
         wind-driven wave effects, local subsidence, site settlement, shoreline recession, erosion
         and scour effect, and sea level rise based on National Oceanic and Atmospheric
         Administration projections, and, given the uncertainties, that the floodwall be
         periodically monitored and maintained to no less than a minimum elevation of 500-year
         mean recurrence interval flood event.209 The final EIS concludes that the storm surge
         floodwalls would provide adequate protection for the CP2 LNG terminal. We agree.

                 The final EIS also discusses the resilience of the LNG terminal to extreme weather
         due to climate change.210 Based on CP2 LNG’s proposed design, which meets or exceeds
         both PHMSA’s minimum requirements and Commission staff recommendations for LNG
         facilities, as well as codes and standards for other essential infrastructure, the final EIS


         certifications under an agreement with the Railroad Commission and Louisiana DEQ. Id.
         at 4.
                205
                      Wendy Ring November 27, 2023 Comments at 1.
                206
                      Final EIS at 4-447 to 4-453.
                207
                      Id. at 4-447. See also Appendix, Environmental Condition 32.
                208
                      Id. at 4-448. See also Appendix, Environmental Condition 32.
                209
                      Appendix, Environmental Conditions 39 & 40.
                210
                      Final EIS at 4-451 to 4-453.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429           Filed: 09/04/2024    Page 54 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 45 -

         concludes that the project would be designed and maintained to withstand potential
         changes from climate change and any changes due to climate change would not present a
         significant impact to the safety of the LNG facilities.211 We agree.

                             5. Recreational and Commercial Fishing

                Adley and Judy Dyson and Fisherman Involved in Sustaining our Heritage (FISH)
         raise concerns regarding the potential impacts of the LNG terminal on the shrimping and
         fishing industries in and around the project area.212 The commenters state that the project
         threatens the viability of the fishing and shrimping industries as well as the historic
         culture that has arisen from those industries in the project area.213 Additionally, For a
         Better Bayou states that the LNG project threatens flora and fauna populations in the
         project area, that aquatic species such as shrimp would be killed or displaced, and that the
         project would limit the use of the few public fishing docks in the project area.214

                 As discussed in the final EIS, construction of the LNG terminal could result in the
         mortality of less mobile species that are unable to escape the immediate construction
         area.215 Some wildlife would likely be permanently displaced as a result of habitat
         conversion to non-vegetated and/or impervious cover or maintained vegetation.216
         Artificial lighting at the terminal could also affect aquatic species in the Calcasieu Ship
         Channel.217 In addition, construction-related noise could affect animal behavior,
         foraging, or breeding patterns, and cause wildlife and fishes to move away from the noise
         or relocate in order to avoid the disturbance.218




                211
                      Id. at 4-452 to 4-453.
                212
                 Adley and Judy Dyson October 19, 2023 Comments at 1-2; FISH April 18,
         2024 Motion to Intervene.
                213
                  Adley and Judy Dyson October 19, 2023 Comments at 1-2; FISH April 18,
         2024 Motion to Intervene at 1-2.
                214
                      For a Better Bayou October 16, 2023 Motion to Intervene at 2.
                215
                      Final EIS at 4-157.
                216
                      Id.
                217
                      Id.
                218
                      Id.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429         Filed: 09/04/2024     Page 55 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 46 -

                As stated in the final EIS, CP2 LNG would adhere to the project-specific Plan and
         Procedures, which are specifically designed to avoid or minimize impacts on wildlife
         species and/or their habitats.219 Additionally, CP2 LNG would implement a training and
         awareness program for construction personnel to inform workers about resident wildlife
         and endangerment factors and to emphasize the responsibilities of the workers in
         preventing vehicular or vessel impacts (e.g., by adhering to speed limits and ensuring
         proper lighting).220 While these construction impacts would occur for an extended
         duration (e.g., 15 months for pile driving activities),221 many of these impacts are already
         experienced within the project area (e.g., lighting, vehicle traffic, in-water noise, etc.),
         and common wildlife species that are not excluded by the fencing and are habituated to
         anthropogenic activities would likely return to the project area following construction.222
         Additionally, while there would be permanent impacts associated with the removal of
         habitat and the area immediately surrounding the LNG terminal would be impacted by
         operational noise, lighting, and movement of operational personnel and vehicles, the final
         EIS concludes that construction and operation of the proposed LNG terminal would not
         have significant impacts on wildlife species due to the existence of similar habitats
         adjacent to the project area and CP2 LNG’s proposed restoration and mitigation for
         project impacts on wetland habitat.223 We agree.

                Contrary to the dissent’s assertion, the final EIS adequately analyzed the impacts
         from project construction and operation on the commercial fishing industry in the project
         area. The final EIS explains that the primary commercial fisheries in the project area are
         shrimp and blue crab, and that Cameron and Calcasieu Parishes support a modest
         commercial fishing industry with approximately 55 vessels operating out of the town of
         Cameron.224 The final EIS analyzes the potential for increased disruptions to recreational
         and commercial fisherman at alternative site locations,225 potential socioeconomic
         impacts on commercial fisheries and shrimping,226 impacts to commercial fisheries and

                219
                      Id. at 4-158.
                220
                      Id.
                221
                      Id. at 4-316.
                222
                      Id. at 4-158.
                223
                      Id.
                224
                      Id. at 4-267.
                225
                      Id. at 3-56 to 3-59.
                226
                      Id. at 4-266 to 4-271.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429          Filed: 09/04/2024     Page 56 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 47 -

         fisherman in environmental justice communities,227 and cumulative temporary and
         permanent impacts on commercial fishing.228

                As explained in the final EIS, recreational and commercial fishing could be
         impacted by construction activities associated with the LNG terminal. Project
         construction is anticipated to occur during peak fishing and recreational seasons;
         however, due to the overall size of the waterway and access to and maneuverability
         within the Calcasieu Ship Channel, fishing and recreational activities would not be
         significantly affected by the proposed use of barges.229 Temporary impacts on
         recreational and commercial users in the Calcasieu Ship Channel, who would likely
         include individuals from environmental justice communities, may occur in construction
         areas.230 Permanent impacts on recreational and commercial fisheries in the ship channel
         may occur due to the loss of available fishing areas from operation of the LNG terminal’s
         marine facilities and LNG carrier traffic.

                 Potential impacts on commercial fisheries from project operation include:
         disturbances in vessel traffic corridors which fishing and shrimping vessels may need to
         traverse; difficulty accessing fishing locations as a result of large vessels associated with
         the project; and impacts to the number of fish, shrimp, or crab a commercial vessel may
         be able to catch.231 As described in the final EIS, based on consultations between
         Commission staff and Louisiana DWF, impacts on shrimping vessels would be greatest
         near the terminal south of the Firing Line where shrimping occurs year-round and vessel
         traffic and dredging associated with the LNG terminal would occur.232 Although the final
         EIS finds that fish, crab, and shrimp species common to the bay could be present in the
         project area, the area in which project activities would occur does not have any unique
         features or habitat characteristics that would draw recreational or commercial users to this
         particular location versus other locations within the Calcasieu Ship Channel.233



                227
                      Id. at 4-321 and 4-328.
                228
                      Id. at 4-541 and 4-544 to 4-545.
                229
                      Id. at 4-321.
                230
                      Id.
                231
                      Id.
                232
                      Id. at 4-321.
                233
                      Id.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429          Filed: 09/04/2024   Page 57 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 48 -

                Additionally, CP2 LNG committed to continuing to develop its Engagement Plan
         for Local Commercial Shrimp Fishery, and Venture Global created the Calcasieu Pass
         Community Advisory Group to ensure residents of Cameron Parish can communicate
         issues and concerns directly to Venture Global.234 CP2 LNG will provide updates on its
         engagement effort and on the Calcasieu Pass Community Advisory Group meetings
         within CP2 LNG’s monthly construction reports.235 The final EIS concludes that
         construction and operation impacts on recreational and commercial fishing would be
         localized and less than significant.236 We agree.

                            6. Air Quality

                EPA suggests that Commission staff provide reports, such as emissions
         calculations, as appendices to their NEPA documents to increase transparency of the
         NEPA process.237 As stated in the final EIS, FERC docket accession numbers and
         appendices or attachment locations for the construction and operational emissions
         estimates are referenced throughout the final EIS and all referenced documents are
         available for public access.238

                EPA recommends that the Commission analyze the project’s potential
         construction Hazardous Air Pollutants (HAP) emission impacts based on relevant
         inhalation health-based risk for the pollutants.239 EPA notes that exposure may
         potentially be higher during the four-year construction period of the LNG terminal than
         during project operations due to the high emission intensity from mobile source
         construction equipment.240 Additionally, to minimize the likelihood of an exceedance of
         the National Ambient Air Quality Standards (NAAQS), EPA recommends that the

               234
                     Id. at 1-13.
               235
                     Id.
               236
                   The final EIS describes impacts to commercial fishing as “moderate, but not
         significant,” final EIS at 4-270, and that the project would “contribute negligibly to
         overall temporary and minor cumulative impacts on commercial fisheries,” id. at 4-541.
         We clarify here that the CP2 LNG Project would have less than significant impacts on
         commercial fishing.
               237
                     EPA September 1, 2023 Comments at 2.
               238
                     See final EIS at 4-346 to 4-376, n.128.
               239
                     EPA September 1, 2023 Comments at 2.
               240
                     Id.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429          Filed: 09/04/2024     Page 58 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                             - 49 -

         Commission require CP2 LNG to develop measures to implement when air monitoring
         data indicates that ambient pollutant concentrations are approaching an NAAQS
         threshold (e.g., 75% of a NAAQS threshold), and additional construction air quality
         mitigation measures, such as requiring higher tier construction equipment or zero exhaust
         emissions equipment.241

                 As described in the final EIS, the location and magnitude of the projects’
         construction emissions’ effect on air quality will vary across the four-year construction
         period.242 There are numerous assumptions that have to be made to develop a dispersion
         model for an active and dynamic construction site with varying equipment, levels of use,
         and construction phases. Accordingly, it is unlikely that a dispersion model would yield
         results reliable enough to serve as a basis for a human health risk assessment.

                As stated in the final EIS, Commission staff determined that emissions during
         project construction would result in localized impacts on air quality.243 CP2 LNG and CP
         Express have committed to a number of measures to reduce the air quality impacts from
         construction, including using construction equipment and vehicles that comply with EPA
         mobile and non-road emission regulations, minimizing engine idling, and maintaining
         construction-related equipment in accordance with the manufacturer’s
         recommendations.244 CP2 LNG and CP Express have also committed to take measures to
         mitigate fugitive dust, such as applying water to the roadways and reducing vehicle
         speeds.

                Further, in coordination with Louisiana DEQ, CP2 LNG will develop and submit
         for Commission staff approval an Ambient Air Quality Mitigation and Monitoring Plan
         (Air Monitoring Plan) to measure and monitor ambient concentrations of inhalable
         particulate matter and nitrogen oxides (NOx), and CP2 LNG will include protocols to
         manage any potential NAAQS exceedances during construction and commissioning of
         the CP2 LNG terminal.245 Staff will consider EPA’s suggested mitigation measures, as
         well as requiring CP2 LNG to take measures where pollutant concentrations are
         approaching a NAAQS exceedance, during its review of the plan. Under the Air
         Monitoring Plan, CP2 LNG will report any periods of elevated concentrations, as well as:

               241
                     Id.
               242
                     Final EIS at 1-14.
               243
                     Id. at 4-346 to 4-354.
               244
                     Id. at 3-355 to 3-356.
               245
                 Id. at 1-14. CP2 LNG must submit the Air Quality Plan as part of the
         Implementation Plan required by environmental condition 6 in the appendix to this order.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429             Filed: 09/04/2024     Page 59 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 50 -

         (1) a description of the specific activities occurring at the time of the exceedance and any
         other information, such as weather conditions, that may have contributed to the
         exceedance; (2) a description of what minimization or mitigation measures CP2 LNG
         implemented to reduce ambient air pollutant levels; and, (3) documentation of a reduction
         in ambient pollutant concentration levels to at or below the NAAQS. This information
         will be used to develop mitigation measures to minimize the potential for NAAQS
         exceedances. We conclude that such measures would minimize construction emissions
         and the likelihood for an exceedance of the NAAQS.

                          7. Environmental Justice

                 In conducting NEPA reviews of proposed natural gas projects, the Commission
         follows the instruction of Executive Order 12898, which directs federal agencies to
         identify and address “disproportionately high and adverse human health or environmental
         effects” of their actions on minority and low-income populations (i.e., environmental
         justice communities).246 Executive Order 14008 also directs agencies to develop
         “programs, policies, and activities to address the disproportionately high and adverse
         human health, environmental, climate-related and other cumulative impacts on
         disadvantaged communities, as well as the accompanying economic challenges of such
         impacts.”247 Environmental justice is “the fair treatment and meaningful involvement of
         all people regardless of race, color, national origin, or income with respect to the
         development, implementation, and enforcement of environmental laws, regulations, and
         policies.”248

                246
                   Exec. Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 16, 1994). While the
         Commission is not one of the specified agencies in Executive Order 12898, the
         Commission nonetheless addresses environmental justice in its analysis, in accordance
         with our governing regulations and guidance. See 18 C.F.R. § 380.12(g) (2023)
         (requiring applicants for projects involving significant aboveground facilities to submit
         information about the socioeconomic impact area of a project for the Commission’s
         consideration during NEPA review); FERC, Guidance Manual for Environmental Report
         Preparation at 4-76 to 4-80 (Feb. 2017), https://www.ferc.gov/sites/default/files/2020-
         04/guidance-manual-volume-1.pdf.
                247
                    Exec. Order No. 14,008, 86 Fed. Reg. 7619 (Jan. 27, 2021). The term
         “environmental justice community” includes disadvantaged communities that have been
         historically marginalized and overburdened by pollution. Id. at 7629. The term also
         includes, but may not be limited to minority populations, low-income populations, or
         indigenous peoples. See EPA, EJ 2020 Glossary (Jul. 31, 2023),
         https://www.epa.gov/environmentaljustice/ej-2020-glossary.
                248
                   EPA, Learn About Environmental Justice,
         https://www.epa.gov/environmentaljustice/learn-about-environmental-justice (Aug. 16,
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291          Document #2073429          Filed: 09/04/2024    Page 60 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                            - 51 -

                Consistent with the Council on Environmental Quality (CEQ)249 and EPA250
         guidance, the Commission’s methodology for assessing environmental justice impacts
         considers: (1) whether environmental justice communities (e.g., minority or low-income
         populations)251 exist in the project area; (2) whether impacts on environmental justice
         communities are disproportionately high and adverse; and (3) possible mitigation
         measures. As recommended in Promising Practices, the Commission uses the 50% and
         the meaningfully greater analysis methods to identify minority populations.252
         Specifically, a minority population is present where either: (1) the aggregate minority
         population of the block groups in the affected area exceeds 50% or (2) the aggregate




         2023). Fair treatment means that no group of people should bear a disproportionate share
         of the negative environmental consequences resulting from industrial, governmental, and
         commercial operations or policies. Id. Meaningful involvement of potentially affected
         environmental justice community residents means: (1) people have an appropriate
         opportunity to participate in decisions about a proposed activity that may affect their
         environment and/or health; (2) the public’s contributions can influence the regulatory
         agency’s decision; (3) community concerns will be considered in the decision-making
         process; and (4) decision makers will seek out and facilitate the involvement of those
         potentially affected. Id.
               249
                    CEQ, Environmental Justice: Guidance Under the National Environmental
         Policy Act, at 4 (Dec. 1997) (CEQ’s Environmental Justice Guidance),
         https://www.energy.gov/sites/default/files/nepapub/nepa_documents/RedDont/G-CEQ-
         EJGuidance.pdf. CEQ offers recommendations on how federal agencies can provide
         opportunities for effective community participation in the NEPA process, including
         identifying potential effects and mitigation measures in consultation with affected
         communities and improving the accessibility of public meetings, crucial documents, and
         notices. There were opportunities for public involvement during the Commission’s
         prefiling and environmental review processes. Final EIS at 1-5.
               250
                  See generally EPA, Promising Practices for EJ Methodologies in NEPA
         Reviews (Mar. 2016) (Promising Practices), https://www.epa.gov/sites/default/files/2016-
         08/documents/nepa_promising_practices_document_2016.pdf.
               251
                   See generally Exec. Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 16, 1994).
         Minority populations are those groups that include: American Indian or Alaskan Native;
         Asian or Pacific Islander; Black, not of Hispanic origin; or Hispanic.
               252
                     See Promising Practices at 21-25.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429          Filed: 09/04/2024     Page 61 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 52 -

         minority population in the block group affected is 10% higher than the aggregate
         minority population percentage in the county/parish.253

                 CEQ’s Environmental Justice Guidance also directs low-income populations to be
         identified based on the annual statistical poverty thresholds from the U.S. Census Bureau.
         Using Promising Practices’ low-income threshold criteria method, low-income
         populations are identified as block groups where the percent of a low-income population
         in the identified block group is equal to or greater than that of the county/parish.

                 To identify potential environmental justice communities, and as discussed in the
         final EIS, Commission staff used 2020 U.S. Census American Community Survey data254
         for the race, ethnicity, and poverty data at the state, county/parish, and block group
         level.255 Additionally, in accordance with Promising Practices, staff used EJScreen,
         EPA’s environmental justice mapping and screening tool, as an initial step to gather
         information regarding minority and low-income populations; potential environmental
         quality issues; environmental and demographic indicators; and other important factors.256

                Once staff collected the block group level data, as discussed in further detail
         below, staff conducted an impacts analysis for the identified environmental justice
         communities and evaluated health or environmental hazards, the natural physical
         environment, and associated social, economic, and cultural factors to determine whether
         impacts were disproportionately high and adverse on environmental justice communities
         and also whether those impacts were significant.257 Commission staff assessed whether


                253
                   Here, Commission staff selected Calcasieu and Cameron Parishes in Louisiana
         and Jasper and Newton Counties in Texas as the comparable reference communities to
         ensure that affected environmental justice communities are properly identified. A
         reference community may vary according to the characteristics of the particular project
         and the surrounding communities. Final EIS at 4-304.
                254
                    U.S. Census Bureau, American Community Survey 2020 ACS 5-Year
         Estimates Detailed Tables, File# B17017, Poverty Status in the Past 12 Months by
         Household Type by Age of Householder, https://data.census.gov/cedsci/table?q=B17017;
         File #B03002 Hispanic or Latino Origin By Race,
         https://data.census.gov/cedsci/table?q=b03002.
                255
                   See final EIS at table 4.10.10-1; figs. 4.10.10-1, 4.10.10-2, 4.10.10-3, &
         4.10.10-4.
                256
                      See id. at 4-300.
                257
                   See Promising Practices at 33 (stating that “an agency may determine that
         impacts are disproportionately high and adverse, but not significant within the meaning
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429             Filed: 09/04/2024     Page 62 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 53 -

         impacts on an environmental justice communities were disproportionately high and
         adverse based on whether those impacts were predominantly borne by that community,
         consistent with EPA’s recommendations in Promising Practices.258

                Commission staff identified 17 environmental justice community block groups259
         (out of 31 total block groups) that are within 15 miles260 of the LNG terminal, within 1
         mile of the pipeline project’s aboveground facilities, and/or crossed by the CP Express
         Pipeline or Enable Gulf Run Lateral.261 For the LNG terminal, 6 block groups out of 8
         within the geographic scope are considered environmental justice block groups. For the
         CP Express Pipeline and Enable Gulf Run Lateral, 6 block groups out of 15 within the
         geographic scope are considered environmental justice block groups. For the contractor
         yards, 6 block groups out of 11 within the geographic scope are considered
         environmental justice block groups. The Moss Lake Compressor Station is within 1 mile
         of only 1 block group, which is not considered an environmental justice community. For

         of NEPA” and in other circumstances “an agency may determine that an impact is both
         disproportionately high and adverse and significant within the meaning of NEPA”).
                258
                    Id. at 44-46 (explaining that there are various approaches to determining
         whether an action will cause a disproportionately high and adverse impact, and that one
         recommended approach is to consider whether an impact would be “predominantly borne
         by minority populations or low-income populations”). We recognize that EPA and CEQ
         are in the process of updating their guidance regarding environmental justice and we will
         review and incorporate that anticipated guidance in our future analysis, as appropriate.
                259
                    Several census block groups are crossed or within the radius of multiple project
         facility components. This represents only unique census block groups affected by the
         projects.
                260
                    Final EIS at 4-324. Based on the air quality impact analysis results for CP2
         LNG, operation of the project would result at various locations in 1-hour nitrogen dioxide
         (NO2) impacts that exceed the relevant significant impact level (SIL) out to about 15
         miles from the Terminal Facilities. A review of the modeling results filed on June 3,
         2024, (Accession no. 20240603-5211) indicated that the updated annual PM2.5 SIL would
         not result in impacts above the SIL extending beyond the distance already analyzed for
         NO2. Therefore, the Area of Impact for environmental justice review would not change.
                261
                   Final EIS at 4-304. For these projects, we determined that a 15-mile radius
         around the proposed LNG terminal and a 1-mile radius around the pipeline’s
         aboveground facilities were the appropriate units of geographic analysis for assessing
         project impacts on the environmental justice communities. A 15-mile and 1-mile radius
         around the respective facilities represent the farthest extent of impacts on environmental
         justice communities.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429         Filed: 09/04/2024      Page 63 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 54 -

         the meter stations, 3 block groups out of 8 within the geographic scope are considered
         environmental justice block groups. For the 3 park-and-ride locations, all 4 of the block
         groups within the geographic scope are considered environmental justice block groups.

                 The final EIS determined that potential impacts on the identified environmental
         justice communities may include flooding, impacts to surface water resources, wetlands
         impacts, visual impacts, socioeconomic impacts, recreational and commercial fishing
         impacts, traffic impacts, and air and noise impacts from construction and operation.262
         Environmental justice concerns are not present for other resource areas such as geology,
         soils, wildlife, land use, or cultural resources due to the minimal overall impact the
         projects would have on these resources and/or the absence of any suggested connection
         between such resources and environmental justice communities.263

                                 a.     CP2 LNG Project

                                        i.     Flooding

                 The LNG terminal is not anticipated to induce flooding, as all aboveground
         facilities and roads would be constructed in accordance with federal, state, and local
         regulations, including parish floodplain requirements.264 Additionally, the project is not
         anticipated to significantly displace flood storage capacity. As described in the final EIS,
         the terminal site and CPX Meter Station, the only two aboveground facilities within
         environmental justice block groups and within the floodplain, would be within the
         proposed floodwall.265 Interior drainage ditches and detention ponds would be installed
         within the floodwall to manage stormwater, and stormwater discharges from the terminal
         site would be conveyed to the west, avoiding the nearby residences situated to the
         northeast and east.266 The final EIS finds that potential flooding impacts from the project
         on environmental justice communities would be less than significant.267 We agree.




                262
                      Id. at 4-317 to 4-327.
                263
                      Id. at 4-318.
                264
                      Id.
                265
                      Id.
                266
                      Id. at 4-124.
                267
                      Id. at 4-318.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429         Filed: 09/04/2024     Page 64 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 55 -

                                        ii.   Surface Water

                 Regarding surface water, the final EIS finds that construction and operation of the
         LNG terminal would permanently impact two unnamed waterbodies (two drainage
         ditches) within the project area and would temporarily (during construction) and
         permanently (during operation) impact portions of the adjacent Calcasieu Ship
         Channel.268 As stated in the final EIS, these impacts would result from dredging
         activities, site construction, marine traffic, stormwater runoff, water use, and hydrostatic
         testing, and could occur from accidental spills or other releases of hazardous
         substances.269 Environmental justice communities in proximity to the project,
         particularly the community located in proximity to the LNG terminal (Census Tract
         9702.02, Block Group 2 [CT 9702.02 - BG 2]), would be affected by dredging and
         resuspension of sediments. CP2 LNG would adhere to all permit conditions and best
         management practices included in the project-specific Procedures to minimize waterbody
         impacts and promote the stability of the excavated shoreline during and after construction
         of the LNG berthing area.270 Further, CP2 LNG would minimize impacts on water
         quality by using a hydraulic suction dredge, where turbidity would be focused close to
         the river bottom and would equate to a storm event within a short distance of the
         cutterhead.271 The final EIS concludes impacts on environmental justice communities
         related to surface water impacts would not be significant.272 The final EIS further
         concludes environmental justice communities in the study area would experience
         cumulative impacts on surface water but that these impacts would be less than
         significant.273 We agree.

                As stated in the final EIS, construction and operation of the LNG terminal, as well
         as marine traffic to and from the LNG terminal, have the potential to adversely impact
         water quality in the event of an accidental release of hazardous substances such as fuel,
         lubricants, coolants, or other material.274 CP2 LNG would implement the measures
         outlined in the project-specific Plan and Procedures to minimize the likelihood of a spill

                268
                      Id.
                269
                      Id.
                270
                      Id.
                271
                      Id.
                272
                      Id.
                273
                      Id. at 4-544.
                274
                      Id. at 4-318.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429        Filed: 09/04/2024     Page 65 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 56 -

         and would implement its SPCC Plan in the event of a spill. If an accidental release were
         to occur, environmental justice communities along the ship channel, particularly the
         community in CT 9702.02 - BG 2, as well as individuals from these communities that use
         the channel, would be affected.275 LNG carriers are required by the U.S. Coast Guard to
         develop and implement a Shipboard Oil Pollution Emergency Plan, which includes
         measures to be taken when an oil pollution incident occurs, or a ship is at risk of one.276
         With these mitigation measures, the final EIS concludes that environmental justice
         communities would not be significantly impacted by an accidental release.277 We agree.

                                        iii.   Wetlands

                 The final EIS finds that project impacts associated with the LNG terminal on
         wetlands would be short-term and temporary during construction, and permanent during
         operation.278 Wetland impacts would occur within several identified environmental
         justice communities; therefore, the loss of wetland habitat and the subsequent decrease in
         wetland benefits could affect those environmental justice communities within and near
         the project. Potential wetland benefits include flood storage capacity, water filtration,
         and habitat for fish and wildlife. CP2 LNG will be required to obtain the applicable
         Army Corps and Louisiana Department of Natural Resources (Louisiana DNR)/Office of
         Coastal Management (OCM) permits for permanent loss of wetland habitat and
         implement any mitigation measures required by the Army Corps and Louisiana
         DNR/OCM for that loss. CP2 LNG will implement project-specific plans, as applicable,
         including its project-specific Procedures and SPCC Plan to minimize and/or avoid
         impacts on wetlands during project construction. The final EIS concludes that through
         implementation of the mitigation measures, impacts from the project on wetlands would
         not have a significant impact on environmental justice communities.279 The final EIS
         also concludes that environmental justice communities in the study area would
         experience cumulative impacts on wetlands but that these impacts would not be
         significant.280 We agree.



                275
                      Id. at 4-319.
                276
                      Id. at 4-318 to 4-319.
                277
                      Id. at 4-319.
                278
                      Id.
                279
                      Id.
                280
                      Id. at 4-544.
Document Accession #: 20240627-3107                Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429               Filed: 09/04/2024   Page 66 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 - 57 -

                                           iv.   Visual Resources

                 The final EIS concludes that the completed LNG terminal, which is within
         environmental justice community CT 9702.02 - BG 2, would result in permanent visual
         impacts associated with the existence and operation of the facilities.281 The tops of the
         LNG storage tanks and flare stack will create a vertical visual contrast across a relatively
         flat existing landscape for the nearby residences 330 feet north and 360 feet east of the
         project fence line.282 These same structures and the proposed floodwall surrounding the
         LNG terminal would be visible to users of the Calcasieu Ship Channel, visitors to nearby
         beaches, employees and operators of industrial facilities along Davis Road, motorists
         along the Creole Nature Trail (State Highway 27), and other areas surrounding the project
         site.283 While the perimeter berm and floodwall would help partially obscure the
         industrial facilities on the LNG terminal site from offsite views, including partial
         obstruction of the proposed tanks and flare stack, the nearby residences (and associated
         environmental justice populations) have a direct view of the LNG terminal.284 In
         response to Commission staff’s recommendation in the draft EIS, CP2 LNG committed
         to install vegetative screening by planting native live oak trees and native groundsel
         bushes on the northeastern and eastern sides of the terminal site.285 While the vegetative
         screening would minimize the impact to the extent practicable, the final EIS concludes,
         and we agree, that the LNG terminal will permanently change the viewshed and have a
         significant adverse effect on residents and passerby of the environmental justice
         communities near the project.286

                 The final EIS also analyzed the cumulative visual impacts along the Calcasieu
         Ship Channel (including impacts from the Commonwealth LNG Terminal, Calcasieu
         Pass LNG Terminal, and the CP2 LNG Terminal) and determined that the project would
         adversely contribute to visual impacts on users of the Calcasieu Ship Channel; users of
         the Jetty Pier Facility, Lighthouse Bend Park, and nearby beaches; residents in the town
         of Cameron; and motorists along the Creole Nature Trail.287 Visual impacts from

                281
                      Id. at 4-319.
                282
                      See id. at app. J.
                283
                      Id. at 4-319.
                284
                      Id.
                285
                      See id. at 4-319, 4-252 to 4-253, and app. J.
                286
                      See id. at 4-319.
                287
                      Id. at 4-546.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429         Filed: 09/04/2024    Page 67 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                             - 58 -

         construction would include clearing of vegetation, grading, the presence of large
         construction equipment, lighting, and increased vehicle and vessel traffic. While the
         extent of impacts would vary depending on the proximity to the sites, environmental
         justice communities may experience significant visual changes from the construction and
         operation of additional sites, flares, lighting, and storage tanks for several miles. The
         final EIS concludes, and we agree, that the CP2 LNG terminal and other nearby LNG
         terminals will contribute to significant cumulative visual impacts on environmental
         justice communities in the project area.288

                                       v.     Socioeconomics

                 Regarding socioeconomics, as stated in the final EIS, the temporary influx of
         workers/contractors into the area during construction and operation of the LNG terminal
         could increase the demand for community services, such as traffic, housing, police
         enforcement, and medical care.289 The final EIS concludes, however, that sufficient
         housing units would be available and impacts on community services would not be
         significant.290 Based on the foregoing, the final EIS concludes that the project’s
         socioeconomic impacts on environmental justice communities would be less than
         significant.291 As stated in the final EIS, several other projects have been proposed or
         approved that could have overlapping construction schedules with the proposed project,
         including the Driftwood LNG Project, Line 200 and Line 300 Project, Hackberry Storage
         Project, Cameron LNG Expansion Project, Lake Charles Liquefaction Project, Magnolia
         LNG, Delfin LNG, and Commonwealth LNG Project.292 Combined, these additional
         projects could require a peak of more than 20,000 workers, a 10% increase in the current
         population.293 The temporary flux of workers/contractors into the area from all of these
         projects would increase the demand for housing. Should other major industrial projects
         listed in table 4.14.1-1 of the final EIS be constructed at the same time as the LNG
         terminal, sufficient housing would still be available.294 This cumulative increased
         demand for housing could drive costs up, increase property taxes, and adversely impact

               288
                     See id.
               289
                     Id. at 4-320.
               290
                     Id. at 4-266, 4-276 to 4-280.
               291
                     Id. at 4-320.
               292
                     Id. at 4-546.
               293
                     Id.
               294
                     Id. at 4-546 to 4-547.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429         Filed: 09/04/2024     Page 68 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 59 -

         low-income individuals.295 An increase in costs of material goods may also occur due to
         increased demand for these goods. The final EIS concludes that environmental justice
         communities in the study area would experience cumulative impacts on socioeconomic
         resources but that these impacts would be less than significant.296 We agree with staff’s
         conclusions.

                                        vi.   Recreational and Commercial Fishing

                Recreational and commercial fishing could be impacted by construction of the
         CP2 LNG terminal. As stated in the final EIS, construction activities are anticipated to
         occur during peak fishing and recreational seasons; however, due to the overall size of
         the waterway and access to and maneuverability within the Calcasieu Ship Channel,
         fishing and recreational activities would not be significantly affected by the proposed use
         of barges.297 Temporary impacts on recreational and commercial users in the Calcasieu
         Ship Channel, who would likely include individuals from environmental justice
         communities, may occur in construction areas.298
                 Permanent impacts on recreational and commercial fisheries in the ship channel,
         as well as on individuals from environmental justice communities, may occur due to the
         loss of available fishing areas from operation of the terminal’s marine facilities and LNG
         carrier traffic.299 Based on consultations between Commission staff and Louisiana DWF,
         impacts on shrimping vessels would be greatest near the terminal south of the Firing Line
         where shrimping occurs year-round and vessel traffic and dredging associated with the
         CP2 LNG terminal would occur.300 Although the final EIS finds that fish, crab, and
         shrimp species common to the bay could be present, the area in which project activities
         will occur does not have any unique features or habitat characteristics that will draw
         recreational or commercial users to this particular location versus other locations within
         the Calcasieu Ship Channel.301


                295
                      Id. at 4-547.
                296
                      Id.
                297
                      Id. at 4-321.
                298
                      Id.
                299
                      Id.
                300
                      Id.
                301
                      Final EIS at 4-321.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429          Filed: 09/04/2024     Page 69 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 60 -

                 Venture Global created the Calcasieu Pass Community Advisory Group to ensure
         that residents from all parts of Cameron Parish are represented and can communicate
         promptly and directly with Venture Global to express any concerns they have or to
         communicate adverse impacts that they or their neighbors have seen related to Calcasieu
         Pass.302 Additionally, CP2 LNG has committed to continuing the development of its
         Engagement Plan for Local Commercial Shrimp Fishery and would provide updates on
         its engagement effort and on the Calcasieu Pass Community Advisory Group meetings
         within CP2 LNG’s monthly construction reports.303 The final EIS concludes that
         environmental justice communities in the study area would experience cumulative
         impacts on recreational and commercial fishing resources; however, these impacts would
         be less than significant.304 We agree.
                                        vii.   Road and Marine Traffic

                 The final EIS finds that area residents, including environmental justice
         communities near the LNG terminal, may be affected by traffic delays during
         construction of the LNG terminal.305 Construction of the CP2 LNG terminal would
         temporarily increase use of area roads by heavy construction equipment and associated
         trucks and vehicles. CP2 LNG would implement its Terminal Facilities Traffic
         Management Plan, which includes mitigation measures such as the use of park and ride
         locations, busing, staggered shift start and stop times during expected times of peak site
         personnel, and utilization of flagger police vehicles or traffic signals.306 Once
         construction is complete, CP2 LNG estimates that impacts on road traffic would be
         primarily limited to the 250 permanent LNG terminal employees, and periodic deliveries
         to the site. CP2 LNG predicts the level of service (LOS)307 of the roadways within the

                302
                      Id. at 1-13.
                303
                      Id.
                304
                      Final EIS at 4-545.
                305
                      Id. at 4-321.
                306
                      Id. at 4-322.
                307
                   The term level of service (LOS) is used to describe the operating conditions of
         a roadway based on factors such as speed, travel time, delay, and safety. LOS A denotes
         the best conditions (i.e., free flow), while LOS F denotes the worst conditions (i.e., forced
         or breakdown flow with frequent slowing required and more demand than capacity). CP2
         used the LOS concept outlined in the Transportation Research Board’s Highway
         Capacity Manual, 6th Edition. See CP2 LNG March 7, 2023 Supplemental Information
         on Workforce and Traffic.
Document Accession #: 20240627-3107               Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429          Filed: 09/04/2024   Page 70 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 61 -

         project area would remain at an LOS D308 or better throughout construction and would
         remain at an LOS C or better during operation.309 With the proposed traffic mitigation
         measures as described above and in the final EIS, the final EIS concludes that traffic
         impacts from the project on environmental justice communities would be less than
         significant.310 The final EIS further concludes that environmental justice communities in
         the study area would experience cumulative impacts associated with traffic but that these
         impacts would also be less than significant.311 We agree.

                As stated in the final EIS, barge deliveries would occur at the LNG terminal site
         throughout the project’s construction period, with an estimated 32 barges a week at the
         peak of Phase I construction.312 During operations, up to 8 LNG carriers would call at
         the terminal’s marine facilities per week.313 Because of the existing traffic patterns and
         capacity of the Calcasieu Ship Channel, the final EIS concludes that the LNG carrier calls
         and barge deliveries associated with the project would not result in significant impacts on
         marine traffic.314 In addition, the final EIS concludes that recreational boaters and
         fishers, which likely include individuals from environmental justice communities, would
         not experience significant changes in marine traffic.315 We agree.

                                        viii.   Air Quality

                We received a comment on the final EIS expressing concern with project air
         quality impacts on environmental justice communities.316 As explained in the final EIS,




                308
                    LOS D denotes the approach of unstable flow, with speeds decreased and
         traffic volume slightly increased.
                309
                      Final EIS at 4-321 to 4-322.
                310
                      Id. at 4-322.
                311
                      Id. at 4-321 to 4-323.
                312
                      Id. at 4-323.
                313
                      Id. at 4-294.
                314
                      Id. at 4-323.
                315
                      Id.
                316
                      Kalama Reuter November 22, 2023 Comments at 1.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429          Filed: 09/04/2024     Page 71 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 - 62 -

         construction and operation of the LNG terminal would result in impacts on air quality.317
         CP2 LNG would implement measures to mitigate exhaust emissions during construction
         by using construction equipment and vehicles that comply with EPA’s mobile and non-
         road emission regulations, and using commercial gasoline and diesel fuel products that
         meet specifications of applicable federal and state air pollution control regulations.
         Further, CP2 LNG would mitigate fugitive dust by applying water to the roadways and
         reducing vehicle speeds. The final EIS concludes that construction-related impacts of the
         LNG terminal on local air quality would not be significant.318

                The final EIS states that CP2 LNG conducted detailed air quality impact
         assessments for emissions of criteria pollutants (subject to Prevention of Significant
         Deterioration [PSD] review) from the operation of the LNG terminal to show compliance
         with the relevant National Ambient Air Quality Standards (NAAQS). 319 Based on the air
         quality impact analysis results for CP2 LNG, operation of the project would result in
         1-hour nitrogen dioxide (NO2) impacts at various locations out to about 15 miles from the
         LNG terminal that exceed the relevant Significant Impact Level (SIL).320 However, a
         further refined assessment of the cumulative analysis results showed that predicted CP2
         LNG impacts would not cause or contribute to an exceedance of the NAAQS for 1-hour
         NO2.321

                Although the LNG terminal would be in compliance with the NAAQS and the
         NAAQS are designated to protect sensitive populations, the final EIS acknowledges that
         NAAQS attainment alone may not ensure there is no localized harm to such populations
         due to project emissions of volatile organic compounds, hazardous air pollutants (HAP),
         as well as the presence of non-project related pollution sources, local health risk factors,
         disease prevalence, and access (or lack thereof) to adequate health care.322 According to
         EJScreen, the environmental justice community in which the LNG terminal is located



                317
                      Final EIS at 4-323.
                318
                      Id. 4-323 to 4-324.
                319
                      Id. at 4-324.
                320
                  For major source permitting under the Clean Air Act, the SIL is the point below
         which the impact of increased emissions from a new or modified major source on
         ambient air quality does not cause or contribute to a violation of the NAAQS.
                321
                      Id. at 4-324, app. K.
                322
                      Id. at 4-324.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429          Filed: 09/04/2024    Page 72 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                  - 63 -

         (CT 9702.02 - BG 2) is within the 64th percentile for cancer prevalence among adults.323
         Thus, Commission staff followed EPA’s Human Health Risk Assessment Protocol324 in
         overseeing a Human Health Risk Assessment325 (Risk Assessment) for maximum HAP
         emissions from the LNG terminal (stationary and mobile marine sources) based on the
         highest model-predicted 1-hour and annual average ground-level concentrations of a total
         of 16 HAPs.326 The Risk Assessment estimated chronic (long-term) cancer risk and non-
         cancer hazard, as well as acute (short-term) non-cancer hazard via inhalation of HAP
         compounds potentially emitted from stationary and mobile marine sources at the LNG
         terminal.327 The Risk Assessment evaluated inhalation exposure of hypothetical adult
         and child residents for which Reasonable Maximum Exposure was assumed.328

                 The results of the Risk Assessment showed that the estimated adult and child
         resident cancer risk for each HAP is at least an order of magnitude (i.e., 10-fold) below
         EPA’s risk management objective of 1-in-1 million for individual HAPs. Moreover, the
         total cancer risks summed across all HAPs are well below (by almost 100-fold) EPA’s
         target of 1-in-100,000 for a single facility. In other words, the CP2 LNG Terminal would
         represent up to a 0.0000002% (or 1.75E-07) increase in cancer risk as a conservative
         estimate for communities that live near to the terminal.329 The EPA’s risk management
         objective of 1-in-100,000 for a single facility is ten times more stringent than the highest
         cancer risk that EPA deems acceptable, to account for potential exposure to background

                323
                      Id.
                324
                    EPA, Human Health Risk Assessment Protocol for Hazardous Waste
         Combustion Facilities, EPA530-D-05-006 (2005). The Human Health Risk Assessment
         Protocol incorporates risk assessment guidance and methods from the EPA, as well as the
         experience EPA has gained through conducting and reviewing combustion risk
         assessments, to provide a comprehensive method of assessing human health risk from
         combustion emissions. It provides a standardized methodology for conducting
         combustion risk assessments and, therefore, was chosen as the most appropriate guidance
         to follow.
                325
                  Lucy Fraiser Toxicology Consulting LLC, CP2 LNG Terminal and Mobile
         Sources Human Health Risk Assessment. June 30, 2023. See Appendix O of the Final
         EIS.
                326
                      Final EIS at 4-324, 4-374 to 4-376. See also Appendix O of the Final EIS.
                327
                      Id.
                328
                      Id. at 4-324.
                329
                      See Table 6 of Appendix O in the Final EIS.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429         Filed: 09/04/2024     Page 73 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                             - 64 -

         levels of air contaminants. Therefore, this facility risk management objective addresses
         the potential for cumulative risk (i.e., risk associated with multiple HAPs and other
         sources in the area).

                 The Hazard Quotient analysis from the Human Health Risk Assessment indicated
         that no chronic Hazard Quotient for any HAP is greater than the non-cancer risk
         management objective of 1 for individual HAPs. In addition, all aggregated chronic
         Hazard Index values (derived by summing Hazard Quotient values for all HAPs with
         similar chronic effects) are well below 1 (by almost 100-fold). Similarly, all acute
         Hazard Quotient and aggregated acute Hazard Index values are well below the acute risk
         management objective of 1 (by almost 100-fold).330 The results of the HHRA indicated
         the estimated cancer and non-cancer risks for the environmental justice community
         located within the same block group as the CP2 LNG terminal (CT 9702.02 - BG 2)
         would be below EPA’s risk management objectives during operation of the CP2 LNG
         terminal.331

               Commission staff concluded in the final EIS that the construction and operational
         emissions from the LNG terminal would not have significant adverse air quality impacts
         on environmental justice communities in the project area.332 We agree.

                                       ix.    Noise

                As stated in the final EIS, noise levels above ambient conditions, attributable to
         construction activities at the LNG terminal, would vary over time and would depend
         upon the nature of the construction activity, the number and type of equipment operating,
         and the distance between sources and receptors.333 The closest noise sensitive area
         (NSA) within an environmental justice community (CT 9702.02 - BG 2) is about 330 feet
         northeast of the LNG terminal site (from the floodwall, where pile driving would occur
         during construction) and consists of a recreational vehicle park and residence.334 Peak
         construction noise (due to pile driving and civil works) would occur during the first
         18 months of construction and would increase noise levels over ambient conditions by
         9 to 10 decibels at the closest NSAs. Project construction would last up to 4 years,
         however, construction of the floodwall near the affected NSAs would occur as early as

               330
                     Final EIS at 4-325.
               331
                     Id. at 4-325.
               332
                     Id. at 4-323 to 4-325.
               333
                     Id. at 4-325.
               334
                     Id.
Document Accession #: 20240627-3107              Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429          Filed: 09/04/2024     Page 74 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 65 -

         possible during project construction and would be expected to reduce the noise levels at
         the NSAs by 5 to 10 dBA, depending on the location of construction activities.335
         Although project construction could occur 24 hours per day, pile driving would be
         limited to daytime hours (i.e., 7 a.m. to 7 p.m.). As recommended in the final EIS,336
         environmental condition 25 in the appendix to this order requires that CP2 LNG monitor
         noise levels during construction of the LNG terminal between 7 p.m. to 7 a.m. to ensure
         noise levels during these hours are less than our criterion of 48.6 decibels on the A-
         weighted scale (dBA) at any nearby NSA.

                 Operational noise associated with the LNG terminal would be persistent and
         would increase noise levels over ambient by about 5.7 decibels at the closest NSA.337 As
         recommended in the final EIS,338 environmental conditions 26 and 27 in the appendix to
         this order require CP2 LNG to meet sound level requirements of 55 dBA day-night sound
         level (Ldn) at any nearby NSAs. With implementation of these measures, the final EIS
         concludes that the project would not result in significant noise impacts on local residents
         and the surrounding communities, including environmental justice populations.339 The
         final EIS further concludes that environmental justice communities in the study area
         would experience cumulative impacts related to noise but that these impacts would be
         less than significant.340 We agree.

                                        x.     Safety

                Commission staff evaluated the potential impacts which could result from
         potential incidents identified for analysis, such as equipment failures or natural disasters,
         along the LNG marine vessel transit route and at the LNG terminal, including potential
         impacts to people with access and functional needs as defined in National Fire Protection
         Association (NFPA) 1600, Standard on Continuity, Emergency, and Crisis
         Management341 and NFPA 1616, Standard on Mass Evacuation, Sheltering, and Re-Entry

                335
                      Id. at 4-326.
                336
                      Id. at 4-388.
                337
                      Id. at 4-326.
                338
                      Id. at 4-388 to 4-389.
                339
                      Id. at 4-327.
                340
                      Id. at 4-554 to 4-556.
                341
                   Freely and publicly accessible to view in English and Spanish at NFPA,
         https://www.nfpa.org/codes-and-standards/allcodes-and-standards/list-of-codes-
         andstandards/detail?code=1600, accessed January 2024.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429           Filed: 09/04/2024     Page 75 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 66 -

         Programs.342 The worst-case distances from these potential incidents would potentially
         impact three block groups, two of which are considered environmental justice
         communities. The block groups located with environmental justice communities that
         exceed the thresholds for minority and low income would include CT 9702.02 - BG 2
         (based on the low-income threshold); and CT 9701.02 - BG 1 (based on the minority
         threshold).343

                Commission staff determined that potential impacts on environmental justice
         communities may include safety concerns, however, staff determined that the risk of
         accidental or intentional events would be less than significant with implementation of the
         proposed safety and security measures recommended in the EIS. The proposed measures
         rise above minimum federal requirements and will enhance the safety and security of the
         project. We agree and adopt all of staff’s safety recommendations herein as
         environmental conditions. We encourage CP2 LNG to engage with the two potentially
         impacted environmental justice communities as it develops an Emergency Response Plan
         (ERP) in accordance with environmental condition 45.

                                b.     CP Express Pipeline Project

                                       i.    Flooding

                 The CP Express Pipeline Project is not anticipated to induce flooding. As
         described in the final EIS, CP Express calculated that 52.5 acre-feet of floodplain storage
         capacity will be lost due to construction and operation of aboveground facilities
         associated with the CP Express Pipeline.344 Based on an estimated total floodplain
         storage volume of 136,000 acre-feet, this would represent an approximate 0.04 percent
         loss of total floodplain storage volume, which would be a minor loss. Additionally, the
         only aboveground facility within an environmental justice block group that is also within
         a floodplain is the CPX Meter Station, which would be within the proposed floodwall of




                342
                   Freely and publicly accessible to view in English only at NFPA,
         https://www.nfpa.org/codes-and-standards/all-codesand-standards/list-of-codes-
         andstandards/detail?code=1616, accessed January2024.
                343
                      Final EIS at 4-474.
                344
                    Id. at 4-98. Acre-feet of floodplain storage capacity lost for the Terminal Site
         Gas Gate Station (i.e., CPX Meter Station), Pig Receiver, and MLV 7 is not included in
         this calculation as these facilities would be constructed entirely within the CP2 LNG
         Terminal Site.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429         Filed: 09/04/2024     Page 76 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 67 -

         the LNG terminal. 345 Therefore, because project facilities would be elevated above base
         flood elevation ranges identified by the Federal Emergency Management Agency, and
         given CP Express’s implementation of other measures detailed in its Floodplain
         Mitigation Plan, the final EIS finds that potential flooding impacts from the CP Express
         Pipeline Project on environmental justice communities would be less than significant.346
         We agree.

                                       ii.    Surface Water

                 Construction of the CP Express Pipeline may result in potential impacts to surface
         waters due to clearing and grading activities; construction-related discharges (e.g.,
         stormwater and hydrostatic test water); the use of horizontal directional drilling (HDD),
         open-cut, and push method for pipeline installation; dredging and dredge material
         placement; and potential spills or leaks of hazardous liquids from the refueling of
         construction vehicles or storage of fuel, oil, and other fluids. In order to minimize the
         risk of a release impacting sensitive resources, CP Express would implement the project-
         specific plans, as applicable, including its project-specific Procedures, its HDD
         Monitoring and Contingency Plan, and its SPCC Plan to minimize and/or avoid impacts
         on water resources during construction. These plans would minimize the risk of impacts
         on surface waterbodies. With the mitigation measures, the final EIS concludes that
         environmental justice communities would not be significantly impacted by construction
         of the pipeline.347 We agree.

                                       iii.   Wetlands

                 The final EIS finds that the impacts on wetlands from the CP Express Pipeline
         would primarily be short-term and temporary during construction.348 Permanent impacts
         to wetlands would consist of the permanent conversion of some forested wetlands for
         permanent pipeline easements and the loss of some wetlands for the aboveground
         facilities.349 Wetland impacts would occur within several identified environmental justice
         communities; therefore, the loss of wetland habitat and the subsequent decrease in



               345
                     Id. at 4-318.
               346
                     Id.
               347
                     Id. at 4-318 to 4-319.
               348
                     Id. at 4-319.
               349
                     Id. at 4-139 to 4-140.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429          Filed: 09/04/2024    Page 77 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 68 -

         wetland benefits, could affect those environmental justice communities within and near
         the pipeline.350

                 The majority of wetlands impacted by construction would be restored to pre-
         construction conditions, resulting in only short-term impacts. CP Express is coordinating
         with the Louisiana DNR/OCM and the Army Corps to develop a Compensatory
         Mitigation Plan in accordance with the Mitigation Rule and CWA Section 404(b)(1)
         Guidelines to replace the loss of aquatic resource functions for permanent conversion and
         loss of wetlands.351 Further, CP Express would implement project-specific plans, as
         applicable, including its project-specific Procedures, its HDD Monitoring and
         Contingency Plan, and its SPCC Plan to minimize and/or avoid impacts on wetlands
         during pipeline construction. The final EIS concludes that through implementation of the
         mitigation measures, impacts from the project on wetlands would not have a significant
         impact on environmental justice communities.352 The final EIS also concludes that
         environmental justice communities in the study area would experience cumulative
         impacts on wetlands but that these impacts would be less than significant.353 We agree.

                                       iv.   Visual Resources

                Temporary visual impacts would occur during construction of the pipeline and
         aboveground facilities. These impacts would consist of vehicle and equipment
         movement, vegetation clearing and grading, trench and foundation excavation, pipe
         storage, and spoil piles.354 Permanent visual impacts may occur along the pipeline route
         from removal of forested vegetation and periodic vegetation clearing within the
         permanent right-of-way to allow for visual pipeline inspection.355 After construction, CP
         Express would restore disturbed areas associated with the pipeline rights-of-way to near
         pre-construction conditions to the extent practicable, with the exception of the permanent




               350
                     Id. at 4-319.
               351
                     Id. at 4-137.
               352
                     Id. at 4-319.
               353
                     Id. at 4-544.
               354
                     Id. at 4-319.
               355
                     Id.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429         Filed: 09/04/2024     Page 78 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                             - 69 -

         right-of-way that would be kept in a low, maintained herbaceous state through regular
         mowing and woody vegetation removal.356

                 The proposed Florida Gas Transmission Meter Station is 0.6 mile northeast of an
         identified environmental justice block group (CT 35 - BG 1).357 The nearest sensitive
         receptor within CT 35 - BG 1 is a residence approximately 1 mile southwest of the meter
         station. The Florida Gas Transmission Meter Station would not be visible from the
         residence due to the presence of a wooded parcel of land west of the meter station.358
         The proposed Enable Interconnect Meter Station is within an identified environmental
         justice block group (CT 36.02 - BG 1).359 The nearest residence is approximately 0.6
         mile east of the meter station. The Enable Interconnect Meter Station would be
         constructed west of existing industrial facilities and a wooded lot; therefore, the meter
         station would not be visible to the nearest residence.360 The proposed CPX Meter Station
         is also within an identified environmental justice block group (CT 9702.02 - BG 2);
         however, it would be within the proposed floodwall associated with the LNG terminal
         and, therefore, would not be visible.361 The remaining meter stations and the Moss Lake
         Compressor Station are not in or within one mile of an environmental justice community.
         The final EIS concludes, and we agree, that visual impacts from construction and
         operation of the CP Express Pipeline are anticipated to have a permanent and minor
         effect on environmental justice communities.362

                                       v.     Socioeconomics

                Regarding socioeconomics, as stated in the final EIS, the temporary influx of
         workers/contractors into the area along the pipeline route could increase the demand for
         community services, such as traffic, housing, police enforcement, and medical care.363
         The final EIS concludes, however, that sufficient housing units would be available and

               356
                     Id. at 4-319 to 4-320.
               357
                     Id. at 4-320.
               358
                     Id.
               359
                     Id.
               360
                     Id.
               361
                     Id.
               362
                     See id.
               363
                     Id.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429         Filed: 09/04/2024     Page 79 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 70 -

         impacts on community services would not be significant.364 Based on the foregoing, the
         final EIS concludes that socioeconomic impacts on environmental justice communities
         would be less than significant.365

                 As stated in the final EIS, several other projects have been proposed or approved
         that could have overlapping construction schedules with CP Express Pipeline Project,
         including Driftwood LNG Project, Line 200 and Line 300 Project, Hackberry Storage
         Project, Cameron LNG Expansion Project, Lake Charles Liquefaction Project, Magnolia
         LNG, Delfin LNG, and Commonwealth LNG Project.366 Combined, these projects could
         require a peak of more than 20,000 workers, a 10% increase in the current population.367
         The temporary flux of workers/contractors into the area from all of these projects would
         increase the demand for housing. Should other major industrial projects listed in table
         4.14.1-1 of the final EIS be constructed at the same time as the CP Express Pipeline,
         sufficient housing would still be available.368 This cumulative increased demand for
         housing could drive costs up, increase property taxes, and adversely impact low-income
         individuals.369 An increase in costs of material goods may also occur due to increased
         demand for these goods. The final EIS concludes that environmental justice communities
         in the study area would experience cumulative impacts on socioeconomic resources, but
         these impacts would be less than significant.370 We agree with staff’s conclusions.

                                       vi.    Road Traffic

                The final EIS finds that area residents may be affected by traffic delays during
         construction of the CP Express Pipeline Project.371 Construction of the pipeline project
         would temporarily increase use of area roads by heavy construction equipment and
         associated trucks and vehicles. Increased use of these roads would result in a higher


               364
                     Id. at 4-266, 4-276 to 4-280.
               365
                     Id. at 4-320.
               366
                     Id. at 4-546.
               367
                     Id.
               368
                     Id. at 4-546 to 4-547.
               369
                     Id. at 4-547.
               370
                     Id.
               371
                     Id. at 4-322.
Document Accession #: 20240627-3107              Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429         Filed: 09/04/2024     Page 80 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 71 -

         volume of traffic, increased commute times, and greater risk of vehicle accidents.372
         During construction, public roads utilized in the immediate vicinity of the pipeline would
         be monitored by CP Express and maintained as necessary. CP Express would implement
         its Traffic, Noxious Weed, and Fugitive Dust Control Plan to minimize impacts from
         pipeline construction on local traffic and transportation systems.373 During operation of
         the pipeline, impacts on road traffic would be primarily limited to the ten employees
         based at the proposed Moss Lake Compressor Station (which is not within an
         environmental justice block group), and periodic deliveries to aboveground facilities.
         Therefore, the final EIS concludes that the road traffic impacts from the CP Express
         Pipeline on environmental justice communities are expected to be less than significant.374
         We agree.

                                        vii.   Air Quality

                Emissions during construction of the CP Express Pipeline Project would generally
         be associated with the use of on-road and off-road mobile equipment. CP Express’s
         construction equipment exhaust emissions would be minimized by using construction
         equipment and vehicles that are maintained in accordance with manufacturers’
         maintenance schedules; comply with EPA vehicle and non-road engine emissions
         regulations; and use commercial fuels (e.g., diesel) that meet specifications of applicable
         federal and state air pollution control regulations.375 Fugitive dust generation would be
         minimized, in part, by applying water in active construction areas (e.g., unpaved roads,
         material storage piles) and imposing speed limits for on-site vehicles in accordance with
         CP2 LNG and CP Express’s Traffic, Noxious Weed, and Fugitive Dust Control Plan.376
         The final EIS concludes that impacts from pipeline construction on local air quality
         would not be significant.377

                The operation of the proposed Moss Lake Compressor Station would not cause or
         contribute to any cumulative significant impact level (SIL) exceedances for NAAQS, and



                372
                      Id.
                373
                      Id.
                374
                      Id.
                375
                      Id. at 4-323.
                376
                      Id.
                377
                      Id. at 4-323 to 4-324.
Document Accession #: 20240627-3107              Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429          Filed: 09/04/2024   Page 81 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                             - 72 -

         it is not within 1 mile of an environmental justice community.378 Therefore, Commission
         staff concluded in the final EIS that the operational emissions from the pipeline would
         not have significant adverse air quality impacts on environmental justice communities.379
         We agree.

                                       viii.   Noise

                As stated in the final EIS, noise levels above ambient conditions, attributable to
         pipeline construction activities, would vary over time and would depend upon the nature
         of the construction activity, the number and type of equipment operating, and the distance
         between sources and receptors.380 Construction noise at any given location, including
         locations within environmental justice block groups, would be temporary due to the
         assembly-line method of pipeline installation.381 However, noise associated with
         unmitigated HDD activities for pipeline construction would increase noise levels above
         ambient conditions at sensitive receptor sites in proximity to two HDD entry/exit
         locations (Marshall Street HDD Entry/Exit and Terminal Site Entry/Exit) in an identified
         environmental justice block group (CT 9702.02 - BG 2).382 The closest NSAs to the
         Marshall Street HDD are residences 990 feet southeast and 380 feet southeast of its
         entry/exit locations, respectively, and the closest NSAs to the Terminal Site HDD are
         residences 890 feet northeast and 430 feet southeast of its entry/exit location,
         respectively.383 CP Express will restrict HDD activities to daytime hours (i.e., 7 a.m. to
         7 p.m.) with the exception of pipe pullback and hydrostatic testing, which would occur
         continuously during daytime and nighttime hours until the activity is complete; however,
         depending on site conditions, pullback and testing activities are generally completed
         within a day or two.384 Except for HDD locations, construction activities associated with
         the CP Express Pipeline Project would generally be limited to daytime hours; therefore,
         most construction noise would have no nighttime impacts on residents or other sensitive



               378
                     Id. at n. 101, 4-324.
               379
                     Id. at 4-323 to 4-325.
               380
                     Id. at 4-325.
               381
                     Id. at 4-326.
               382
                     Id.
               383
                     Id.
               384
                     Id.
Document Accession #: 20240627-3107              Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429          Filed: 09/04/2024    Page 82 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 73 -

         receptors near the pipeline. Due to the temporary nature of construction, including HDD,
         no associated long-term impacts are anticipated for environmental justice populations.385

                 Operation of the CP Express Pipeline would include an increase in noise levels at
         the proposed Florida Gas Transmission Meter Station, Enable Interconnect Meter Station,
         and CPX Meter Station; however, there are no NSAs within identified environmental
         justice block groups within 0.5 mile of the meter stations. The final EIS concludes the
         pipeline project would not result in significant noise impacts on local residents and the
         surrounding communities, including environmental justice communities.386 We agree.

                                c.     Environmental Justice Conclusion

                In conclusion, 17 block groups out of 31 block groups within the geographic scope
         of the projects are considered environmental justice communities.387

                Temporary and permanent adverse impacts on environmental justice communities
         from construction and operation of the CP2 LNG Project include impacts associated with
         water resources, wetlands, socioeconomics, traffic, air quality, noise, and visual
         resources. The construction and operation of the LNG terminal would have a
         disproportionately high and adverse impact on environmental justice communities
         because the impacts would be predominantly borne by those communities. Visual
         impacts on environmental justice communities near the terminal would be significant. In
         addition, the project would contribute to significant cumulative visual impacts on
         environmental justice communities.388 The remainder of the temporary and permanent
         adverse impacts on water resources, wetlands, socioeconomics, traffic, air quality, and
         noise in environmental justice communities from construction and operation of the LNG
         terminal would be less than significant.389

                Temporary adverse impacts on environmental justice communities from
         construction of the CP Express Pipeline Project include impacts associated with water
         resources, wetlands, socioeconomics, traffic, air quality, and construction noise.
         Permanent adverse impacts on visual resources in environmental justice communities
         would occur as a result of pipeline operation, including removal of forested vegetation

               385
                     Id.
               386
                     Id. at 4-326 to 4-327.
               387
                     Id. at table 4.10.10-1.
               388
                     Id. at 4-328 to 4-329, 4-546, app. J.
               389
                     Id. at 4-329.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429           Filed: 09/04/2024     Page 83 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 74 -

         and periodic vegetation clearing within the permanent right-of-way. The construction
         and operation of the pipeline (including meter stations, contractor yards, and park and
         ride locations) would have a disproportionately high and adverse impact on
         environmental justice communities because the impacts would be predominantly borne
         by those communities, but the impacts would be less than significant.390

                            8. Greenhouse Gas Emissions and Climate Change

                 NEPA requires agencies to include in NEPA documents reasonably foreseeable
         environmental effects of the proposed agency action.391 CEQ defines effects or impacts
         as “changes to the human environment from the proposed action or alternatives that are
         reasonably foreseeable,” which include those effects that “occur at the same time and
         place” and those that “are later in time or farther removed in distance, but are still
         reasonably foreseeable.”392 An impact is reasonably foreseeable if it is “sufficiently
         likely to occur such that a person of ordinary prudence would take it into account in
         reaching a decision.”393

                For the CP2 LNG and CP Express Pipeline Projects, we find that the construction
         emissions, including commissioning, and direct operational emissions are reasonably
         foreseeable. The final EIS estimates that construction of the projects would result in
         3,034,891 tons of carbon dioxide equivalent (CO2e) emissions (equivalent to
         2,753,207 metric tons of CO2e) over the duration of construction and commissioning.394
         GHG emissions from the operation of the projects would result in an annual increase of


               390
                     Id. at 4-328.
               391
                   See FISCAL RESPONSIBILITY ACT OF 2023, PL 118-5, 137 Stat 10, at
         § 321 (June 3, 2023).
               392
                     40 C.F.R. § 1508.1(g) (2023).
               393
                    Id. § 1508.1(aa). See generally Dep’t of Transp. v. Pub. Citizen, 541 U.S. 752,
         767 (2004) (explaining that “NEPA requires ‘a reasonably close causal relationship’
         between the environmental effect and the alleged cause” and that “[t]he Court analogized
         this requirement to the ‘familiar doctrine of proximate cause from tort law”) (citation
         omitted); Food & Water Watch v. FERC, 28 F.4th 277, 288 (D.C. Cir. 2022)
         (“Foreseeability depends on information about the ‘destination and end use of the gas in
         question.’”) (citation omitted); Sierra Club v. FERC, 867 F.3d 1357, 1371 (D.C. Cir.
         2017) (Sabal Trail) (“FERC should have estimated the amount of power-plant carbon
         emissions that the pipelines will make possible.”).
               394
                     See final EIS at 4-353, 4-358, 4-365, and tbls. 4.12.1-9, 4.12.1-10, & 4.12.1-17.
Document Accession #: 20240627-3107              Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429           Filed: 09/04/2024    Page 84 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                             - 75 -

         CO2e emissions of about 9,380,776 tons per year (tpy) (equivalent to 8,510,099 metric
         tpy).395

                EPA argues that the Commission should disclose and evaluate the GHG emissions
         associated with upstream production and downstream use of the gas exported by the CP2
         LNG Project due to the Commission’s authorization role under NGA section 3 and to the
         reasonably close causal relationship between the projects and upstream and downstream
         emissions.396 EPA states that it is irrelevant whether downstream GHG emissions occur
         within or outside of the United States to assess their climate impacts given that GHG
         emissions have impacts that are global in scale, and that whether the project gas is used
         nationally or internationally does not impact the location of upstream GHG emissions.397

                As we have repeatedly held,398 under D.C. Circuit precedent, the Commission
         need not consider the effects of upstream production or downstream transportation,
         consumption, or combustion of exported gas because the DOE’s “independent decision to
         allow exports . . . breaks the NEPA causal chain and absolves the Commission of
         responsibility to include [these considerations] in its NEPA analysis.”399

                 The final EIS estimates that the social cost of GHGs from the projects is either
         $2,171,634,661 (assuming a discount rate of 5%), $8,163,209,390 (assuming a discount
         rate of 3%), $12,317,496,889 (assuming a discount rate of 2.5%) or $24,759,892,905
         (using the 95th percentile of the social cost of GHGs with a discount rate of 3%).400 The
         final EIS states that “construction and operation of the Project[s] would increase the

               395
                     See id. at 4-368 and tbl. 4.12.1-19.
               396
                     EPA September 1, 2023 Comments at 3; see also final EIS at 4-559.
               397
                     EPA September 1, 2023 Comments at 3.
               398
                  See Commonwealth LNG, 181 FERC ¶ 61,143 at P 77; Columbia Gulf
         Transmission, LLC, 178 FERC ¶ 61,198, at P 46, order on reh’g, 180 FERC ¶ 61,206, at
         P 78 (2022).
               399
                   827 F.3d 36 (D.C. Cir. 2016) (Freeport); see also Sierra Club v. FERC,
         827 F.3d 59, 68-69 (D.C. Cir. 2016); EarthReports, Inc. v. FERC, 828 F.3d 949, 956
         (D.C. Cir 2016) (same); Sierra Club v. FERC, 867 F.3d 1357, 1372 (D.C. Cir.
         2017) (explaining Freeport).
               400
                   The Interagency Working Group draft guidance identifies costs in 2020
         dollars. Interagency Working Group on Social Cost of Greenhouse Gases, United States
         Government, Technical Support Document: Social Cost of Carbon, Methane, and Nitrous
         Oxide Interim Estimates under Executive Order 13990, at 5 (Table ES-1) (Feb. 2021).
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429           Filed: 09/04/2024    Page 85 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 - 76 -

         atmospheric concentration of GHGs, in combination with past, current, and future
         emissions from all other sources globally and contribute incrementally to future climate
         change impacts.”401 We clarify that, assuming that the transported gas is not displacing
         equal-or higher-emitting sources, we recognize that the projects’ contributions to GHG
         emissions globally contribute incrementally to future climate change
         impacts,402 including impacts in the region.403

               EPA recommends that the Commission detail the discount rates and methodology
         behind the social cost of GHG estimates in the Commission’s order or other NEPA
         documents.404 For the calculations, the final EIS assumed discount rates of 5%, 3%, and
         2.5%, and assumed that the project will begin service in 2026 and that the operational
         emissions would be at a constant rate throughout the life of a 20-year contract.405

                Additionally, EPA asserts that the social cost of GHG estimates in the final EIS
         underrepresent global impacts from GHG emissions because they do not include damages
         related to upstream or downstream emissions.406 As explained above, the upstream and
         downstream emissions are appropriately excluded from our NEPA analysis.407

                 As we have done in prior orders, we place the project’s GHG emissions in context
         by comparing them to the total GHG emissions of the United States as a whole and at the
         state level. At a national level, 5,586.0 million metric tons (MMT) of CO2e were emitted
         in 2021 (inclusive of CO2e sources and sinks).408 The construction and commissioning
         emissions from the CP Express Pipeline Project and the CP2 LNG Project could

               401
                     Final EIS at 4-559.
               402
                     Id.
               403
                     Id. at 4-457 to 4-558 (discussing observations from the Fourth Assessment
         Report).
               404
                     EPA September 1, 2023 Comment at 3.
               405
                     Final EIS at 4-560 to 4-561.
               406
                     EPA September 1, 2023 Comment at 3.
               407
                     See supra P 167.
               408
                   Final EIS at 4-559; EPA, Inventory of U.S. Greenhouse Gas Emissions and
         Sinks: 1990-2021 at tbl. 2-1 (April 2022),
         https://www.epa.gov/system/files/documents/2023-04/US-GHG-Inventory-2023-Main-
         Text.pdf.
Document Accession #: 20240627-3107               Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429            Filed: 09/04/2024   Page 86 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 77 -

         potentially increase CO2e emissions based on the national 2021 levels by 0.002 to 0.02%
         in any one year;409 in subsequent years, operation of the projects could potentially
         increase emissions nationally by 0.17%.410

                At the state level, we compare the project’s GHG emissions to the total CO2
         emissions for the State of Louisiana alone.411 For Louisiana, 183.3 MMT of CO2 were
         emitted in 2020.412 The total construction and commissioning emissions from the
         projects would temporarily increase CO2e emissions in Louisiana, based on the state
         2020 level, by 0.05 to 0.57% in any one year of construction/commissioning; in
         subsequent years, the operation of both projects could potentially increase annual GHG
         emissions in Louisiana by 5.13%.413

                When states have GHG emissions reduction targets, a project’s GHG emissions
         are compared to those state goals to provide additional context.414 The state of Louisiana
         established executive targets in 2020 to reduce net GHG emissions 26% to 28% by 2025
         and 40% to 50% by 2030, compared to 2005 levels. The targets also aim for net-zero
         GHG emissions by 2050. Statewide GHG emissions were 215 MMT CO2e in 2005;
         therefore, the goals are to have emission levels in Louisiana at about 157 MMT CO2e in
         2025 (based on a 27% reduction) and between 108 and 129 MMT CO2e in 2030. Based




               409
                  Construction and commissioning are estimated to take a total of 48 months, but
         may occur over 5 calendar years. Final EIS at 2-18,4-349, and 4-358.
               410
                  This estimate was incorrectly stated in the Final EIS and has been corrected
         here. Final EIS at 4-559.
               411
                   In Texas, the pipeline and two meter stations would have only minor
         construction-related emissions and operational fugitive emissions. Given that the vast
         majority of project-related emissions would occur in Louisiana, we compare both
         projects’ GHG emissions to State of Louisiana emissions.
               412
                     Final EIS at 4-560.
               413
                     Mathematical Id. at 4-560.
               414
                 See, e.g., Tex. E. Transmission, LP, 180 FERC ¶ 61,186, at P 28 (2022);
         Golden Pass Pipeline, LLC, 180 FERC ¶ 61,058, at P 21 (2022).
Document Accession #: 20240627-3107          Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429         Filed: 09/04/2024     Page 87 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                             - 78 -

         on operational emissions (9.38 MMT CO2e)415, the projects would contribute
         approximately 7.98% of the CO2e emissions level goal (midpoint of range) in 2030.416

                EPA recommends that the Commission avoid expressing project-level emissions
         as a percentage of national or state emissions or reduction targets as it “trivializes
         substantial project-scale GHG emissions and is also misleading given the nature of the
         climate policy challenge to reduce GHG emissions from a multitude of sources.”417 We
         disagree. The D.C. Circuit has repeatedly upheld the Commission’s analysis of a
         project’s estimated GHG emissions by comparison to national and state inventories.418

                EPA recommends that the Commission provide updated estimates of global
         warming potentials (GWP) for GHGs using the latest scientific information from the
         Intergovernmental Panel on Climate Change 6th Assessment Report.419 As stated in the
         final EIS, Commission staff chose to use GWPs that EPA itself established for reporting
         of GHG emissions and air permitting requirements, allowing for a consistent comparison
         with these regulatory requirements.420

                EPA also recommends that the Commission condition its approval of the projects
         on CP2 LNG and CP Express’s commitment to adopt all practicable GHG mitigation
         measures.421 EPA further recommends that any mitigation or best management practices
         be included as conditions of the authorization order, in a Memorandum of Understanding




               415
                     Final EIS at 4-368.
               416
                  Because the projects are not projected to begin operations until 2026, we only
         compare to Louisiana’s 2030 goal.
               417
                     EPA September 1, 2023 Comment at 3.
               418
                  Ala. Mun. Distributors Grp. v. FERC, 100 F.4th 207, 214 (D.C. Cir. 2024)
         (Evangeline Pass); Alaska LNG, 67 F.4th at 1183-84.
               419
                     EPA September 1, 2023 Comments at 2.
               420
                   Commission staff chose EPA-developed GWPs outlined in 40 C.F.R. pt. 98,
         subpt. A, tbl.A-1 (2023), rather than other published GWPs. Final EIS at 4-335; see also
         Gas Transmission Northwest LLC, 181 FERC ¶ 61,234, at P 39 (2022) (finding staff
         appropriately selected EPA’s GWP for methane in its environmental analysis).
               421
                     EPA September 1, 2023 Comments at 2-3.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291              Document #2073429       Filed: 09/04/2024     Page 88 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 79 -

         with CP2 LNG and CP Express, or in a state or local permit to ensure the measures are
         real and verifiable.422

                As described in the final EIS, CP2 LNG and CP Express have committed to
         various methods, measures, and best management practices, which Commission staff
         determined would help to reduce GHG emissions.423 Additionally, CP2 LNG plans to
         capture, compress, and sequester approximately 500,000 tons of CO2 from feed gas
         entering the CP2 LNG Project through its CCS facilities.424 We are satisfied that these
         measures sufficiently address EPA’s recommendation.

                 Some commenters oppose the projects, citing concern regarding the projects’
         contribution to climate change and the importance of domestic and global GHG
         emissions reductions targets.425 The Commission has disclosed the GHG emissions
         associated with construction and operation of the projects.426 Additionally, as stated
         above, we recognize that the projects’ contributions to GHG emissions globally
         contribute incrementally to future climate change impacts, assuming that the transported
         gas is not displacing equal-or higher-emitting sources.427

                 We clarify that, for informational purposes, Commission staff disclosed an
         estimate of the social cost of GHGs.428 While we have recognized in some past orders
         that the social cost of GHGs may have utility in certain contexts such as rulemakings,429
         we have also found that calculating the social cost of GHGs does not enable the
         Commission to determine credibly whether the reasonably foreseeable GHG emissions

                422
                      Id. at 3.
                423
                      Final EIS at 4-365 to 4-367.
                424
                      See supra P 9.
                425
                  See, e.g., Pam Elders October 17, 2023 Comments; Karen Uhlenhuth October
         19, 2023 Comments; Rebecca Liberman October 20, 2023 Comments.
                426
                   See supra P 165; see also final EIS at 4-353, 4-358, 4-365, 4-368, and tbls.
         4.12.1-9, 4.12.1-10, 4.12.1-17, and 4.12.1-19.
                427
                      See supra P 168.
                428
                     Final EIS at 4-560 to 4-561. “Commission staff have not identified a
         methodology to attribute discrete, quantifiable, physical effects on the environment
         resulting from the Project’s incremental contribution to GHGs.” Id. at 4-559.
                429
                      Fla. Se. Connection, LLC, 164 FERC ¶ 61,099, at PP 35-37 (2018).
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291          Document #2073429             Filed: 09/04/2024      Page 89 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                    - 80 -

         associated with a project are significant or not significant in terms of their impact on
         global climate change.430 Currently, however, there are no criteria to identify what
         monetized values are significant for NEPA purposes, and we are currently unable to
         identify any such appropriate criteria.431 Nor are we aware of any other currently
         scientifically accepted method that would enable the Commission to determine the
         significance of reasonably foreseeable GHG emissions.432 The D.C. Circuit has
         repeatedly upheld the Commission’s decisions not to use the social cost of carbon,
         including to assess significance.433 In fact, the D.C. Circuit recently affirmed the

                430
                     See Mountain Valley Pipeline, LLC, 161 FERC ¶ 61,043 at P 296, (2017), aff’d
         sub nom., Appalachian Voices v. FERC, 2019 WL 847199 (D.C. Cir. 2019); Del.
         Riverkeeper Network v. FERC, 45 F.th 104, 111 (D.C. Cir. 2022). The social cost of
         GHGs tool merely converts GHG emissions estimates into a range of dollar-denominated
         figures; it does not, in itself, provide a mechanism or standard for judging “significance.”
                431
                    Tenn. Gas Pipeline Co., L.L.C., 181 FERC ¶ 61,051, at P 37 (2022); see
         also Mountain Valley Pipeline, LLC, 161 FERC ¶ 61,043 at P 296, order on reh’g,
         163 FERC ¶ 61,197, at PP 275-297 (2018), aff’d, Appalachian Voices v. FERC,
         No. 17-1271, 2019 WL 847199, at *2) (“[The Commission] gave several reasons why it
         believed petitioners’ preferred metric, the Social Cost of Carbon tool, is not an
         appropriate measure of project-level climate change impacts and their significance under
         NEPA or the Natural Gas Act. That is all that is required for NEPA
         purposes.”); EarthReports v. FERC, 828 F.3d 949, 956 (D.C. Cir. 2016) (accepting the
         Commission’s explanation why the social cost of carbon tool would not be appropriate or
         informative for project-specific review, including because “there are no established
         criteria identifying the monetized values that are to be considered significant for NEPA
         purposes”); Tenn. Gas Pipeline Co., L.L.C., 180 FERC ¶ 61,205, at P 75 (2022); see, e.g.,
         LA Storage, LLC, 182 FERC ¶ 61,026, at P 14 (2023); Columbia Gulf Transmission,
         LLC, 180 FERC ¶ 61,206 at P 91 (2022).
                432
                     See, e.g., LA Storage, LLC, 182 FERC ¶ 61,026, at P 14 (“there are currently no
         criteria to identify what monetized values are significant for NEPA purposes, and we are
         currently unable to identify any such appropriate criteria.”).
                433
                   See, e.g., Food & Water Watch v. FERC, Nos. 22-1214, 22-1315, 2024 WL
         2983833, at *6-7 (D.C. Cir. June 14, 2024) (Tenn. East 300) (noting that “NEPA
         regulations [do not] require an agency to clarify every environmental impact as
         significant or insignificant,” and upholding the Commission’s decision not to assess
         “significance” despite having done so in the past); Alaska LNG, 67 F.4th at 1184
         (explaining that “the Commission compared the Project’s direct emissions with existing
         Alaskan and nationwide emissions,” “declined to apply the social cost of carbon for the
         same reasons it had given in a previous order”; describing those reasons as (1) “the lack
         of consensus about how to apply the social cost of carbon on a long time horizon,” (2)
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429           Filed: 09/04/2024      Page 90 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 81 -

         Commission’s decision to not analyze the social cost of carbon in its NEPA analysis,434
         rejected the suggestion that it was required to do so, found that the petitioner’s arguments
         “fare no better when framed as NGA challenges,” and then, in the very same paragraph,
         sustained the Commission’s public interest determination as “reasonable and lawful.”435

                 We note that there currently are no accepted tools or methods for the Commission
         to use to determine significance; therefore, the Commission is not herein characterizing
         these emissions as significant or insignificant.436 Accordingly, we have taken the
         required “hard look” and have satisfied our obligations under NEPA.



         that “the social cost of carbon places a dollar value on carbon emissions but does not
         measure environmental impacts as such,” and (3) “FERC has no established criteria for
         translating these dollar values into an assessment of environmental impacts”; and
         recognizing that the Commission’s “approach was reasonable and mirrors analysis . . .
         previously upheld” and that the Commission “had no obligation in this case to consider
         the social cost of carbon”) (citations omitted); EarthReports v. FERC, 848 F.3d 949, 956
         (D.C. Cir. 2016) (upholding the Commission’s decision not to use the social cost of
         carbon tool due to a lack of standardized criteria or methodologies, among other things);
         Del. Riverkeeper Network v. FERC, 45 F.4th 104 (D.C. Cir. 2022) (also upholding the
         Commission’s decision not to use the social cost of carbon); Appalachian Voices v.
         FERC, 2019 WL 847199 (same).
                434
                    Tenn East 300, 2024 WL 2983833, at *6 (“FERC need not attempt to monetize
         those emissions through a Social Cost of Carbon model which FERC views as unreliable
         for analyzing individual projects.”); Evangeline Pass, 100 F.4th 207, 214-15 (D.C. Cir.
         2024) (upholding the Commission's decision not to rely on the social cost of carbon tool
         where, as in the instant proceeding, Commission staff estimated the social cost of carbon,
         publicly disclosed those estimates, and shared them in the NEPA document); Alaska
         LNG, 67 F.4th at 1184 (“Rather than use the social cost of carbon, the Commission
         compared the Project’s direct emissions with existing Alaskan and nationwide emissions.
         It declined to apply the social cost of carbon for the same reasons it had given in a
         previous order. . . FERC’s approach was reasonable and mirrors analysis we have
         previously upheld.”).
                435
                      Alaska LNG, 67 F.4th at 1184.
                436
                  The February 18, 2022 Interim GHG Policy Statement, Consideration of
         Greenhouse Gas Emissions in Nat. Gas Infrastructure Project Revs., 178 FERC ¶ 61,108
         (2022), which proposed to establish a NEPA significance threshold of 100,000 tons per
         year of CO2e as a matter of policy, has been suspended, and opened to further public
         comment. Order on Draft Policy Statements, 178 FERC ¶ 61,197 at P 2.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429         Filed: 09/04/2024     Page 91 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 82 -

                             9. Alternatives

                 In the final EIS, Commission staff determined that electric-driven turbines at the
         LNG terminal and electric motor-driven compression at the Moss Lake Compressor
         Station would not provide a significant environmental advantage over or equivalent
         reliability to the proposed gas-powered turbines and compression, in part due to the
         unpredictable reliability of electric power transmission during severe weather events,
         including hurricanes.437 EPA acknowledges these reliability issues, but recommends the
         Commission consider these alternative energy sources over the life of the projects, during
         which the availability of renewable energy may increase.438

                As stated in the final EIS, electric power transmission can be unreliable in the
         project area due to the susceptibility of overhead electric transmission lines to damage,
         and power outages lasting days or weeks are not uncommon in southern Louisiana after
         major weather events.439 Renewable energy provided through the electrical grid would
         be subject to the same reliability concerns. We agree.

                             10. Cumulative Impacts

                                 a.     Mobile Source Emissions

                Sierra Club comments that the final EIS fails to consider cumulative air quality
         impacts from mobile source emissions, particularly from marine vessels.440 It notes that
         the final EIS for the CP2 LNG and CP Express Projects, as well as EISs for other
         Commission-jurisdictional projects considered in the cumulative impacts analysis,441
         estimates large volumes of mobile source emissions during both project construction and
         operation.442 Sierra Club asserts that including mobile source emissions in the

                437
                      Id. at 3-85 to 3-86.
                438
                      EPA September 1, 2023 Comments at 1-2.
                439
                      Final EIS at 3-86.
                440
                      Sierra Club October 16, 2023 Comments at 1.
                441
                   Commission-jurisdictional LNG projects considered in the cumulative effects
         analysis are: the Calcasieu Pass LNG Project; Driftwood LNG Project; Lake Charles
         Liquefaction Project; Cameron LNG Project; Cameron LNG Expansion Project;
         Commonwealth LNG Project; Delfin LNG Project; and, Magnolia LNG Project. Final
         EIS at 4-518 to 4-520.
                442
                      Sierra Club October 16, 2023 Comments at 2-3.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429         Filed: 09/04/2024     Page 92 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 83 -

         cumulative impacts analysis may result in a predicted NAAQS exceedance, thereby
         undermining the final EIS’s conclusion that there would be no significant individual or
         cumulative air quality impacts from the projects because, even where project emissions
         would exceed the Significant Impact Level (SIL) for a given pollutant, the ambient
         pollution levels would remain below the relevant NAAQS threshold.443 It further states
         that given the magnitude of cumulative mobile source emissions, this possibility cannot
         be dismissed as speculative.444

                The Commission’s analysis of cumulative air quality impacts satisfied our
         responsibility under NEPA. The cumulative air dispersion modeling in the final EIS was
         conducted in accordance with EPA’s 40 CFR Part 51, Appendix W.445 CP2 LNG
         conducted a cumulative impact analysis for the terminal facilities for each pollutant that
         exceeded the SIL. The terminal facilities sources, including marine vessels (LNG
         carriers and tugboats), were modeled along with additional offsite sources obtained from
         the Louisiana DEQ Emissions Reporting and Inventory Center. The Area of Impact
         (AOI) for each pollutant and averaging period was established as the distance from the
         terminal facilities to the farthest receptor that showed a model-predicted impact greater
         than the SIL in the Significance Analysis. The offsite source inventory for the
         cumulative analysis included all sources within the AOI plus 15 kilometers and all major
         sources within the AOI plus 20 kilometers.446

                The cumulative air dispersion modeling for the CP2 LNG and CP Express Projects
         included both stationary sources and mobile sources (LNG vessels and tugs) associated
         with the operation of the CP2 LNG terminal,447 as well as the stationary and mobile
         sources associated with the Calcasieu Pass LNG terminal.448 The emissions inventory
         provided by the Louisiana DEQ does not include mobile emissions associated with the
         other LNG terminals, and thus, those emissions were not included in the cumulative




               443
                     Id. at 4-5.
               444
                     Id. at 5.
               445
                     Final EIS at 4-369 to 4-373.
               446
                     Id. at 4-299.
               447
                     Id. at 4-296 to 4-301.
               448
                  See Appendix E of CP2 LNG’s August 1, 2022 Supplemental Response to
         Environmental Information Request No 3, which lists the Louisiana DEQ offsite sources.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429          Filed: 09/04/2024     Page 93 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 84 -

         impacts modeling.449 Per 40 CFR part 51, Appendix W – Guideline on Air Quality
         Models, this is consistent with the Prevention of Significant Deterioration requirements
         of the Clean Air Act.450

                 Further, the final EIS describes a cause-and-contribute analysis that determined
         that the projects would not cause or contribute to the anticipated exceedances of the 1-
         hour NAAQS for nitrogen dioxide (NO2) or the 24-hour NAAQS for particulate matter
         (PM2.5) predicted by the modeling.451 This analysis indicates that existing, permitted off-
         site sources, such as existing marine vessels operating in the nearby Calcasieu Ship
         Channel, are the primary drivers of NAAQS exceedances in the project area because,
         where the modeling predicted an exceedance of a NAAQS threshold, that exceedance
         would occur even in the absence of the projects’ emissions.452 Based on this modeling,
         the final EIS concludes that the CP2 LNG terminal would not cause or contribute to a
         potential NAAQS exceedance.453 We agree.

                 The addition of nearby mobile source emissions, including those from the nearest
         facilities, such as Commonwealth LNG terminal, would not change the conclusion that
         the CP2 LNG and CP Express Projects do not cause or contribute to potential NAAQS
         exceedances.454 As detailed in Appendix K of the final EIS, the highest project
         contribution to any potential NAAQS exceedance location for the 1-hour NO2 standard is

                449
                    See id.; see also Louisiana DEQ, Air Emissions Inventory,
         https://deq.louisiana.gov/index.cfm?md=pagebuilder&tmp=home&pid=EmissionsInvent
         ory (last updated Mar. 2, 2023).
                450
                    Where there is no simultaneous exceedance of the NAAQS and the significant
         impact level by the project sources, the modeling analysis is deemed to demonstrate that
         the proposed source would not cause or contribute to the potential NAAQS exceedance.
         40 C.F.R. part 51, app. W (Guideline on Air Quality Models), § 8.1.2 a (2023) states:
         “For a NAAQS or [Prevention of Significant Deterioration] increments assessment, the
         modeling domain or project's impact area shall include all locations where the emissions
         of a pollutant from the new or modifying source(s) may cause a significant ambient
         impact.” Further, per Section 9.2.3 c.: “The receptors that indicate the location of
         significant ambient impacts should be used to define the modeling domain for use in the
         cumulative impact analysis.”
                451
                      Final EIS at 4-553.
                452
                      Id.
                453
                      Id. at 4-552 to 4-553.
                454
                      Id. at 4-552 to 4-553.
Document Accession #: 20240627-3107                  Filed Date: 06/27/2024
       USCA Case #24-1291              Document #2073429            Filed: 09/04/2024   Page 94 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 85 -

         3.7 micrograms per cubic meter, which is about half of the SIL for the 1-hour NO2
         standard.455

                Based on the cumulative air quality dispersion modeling and cause-and-contribute
         analysis summarized in the final EIS, as well as the extent of the project’s contribution to
         the potential exceedances of the NAAQS analyzed in the final EIS, our conclusion
         remains the same—the CP2 LNG terminal does not cause or contribute to potential
         NAAQS exceedances.456

                In addition, Sierra Club states that the information used to support the air quality
         modeling, as well as Louisiana DEQ’s emission inventory data, were not provided in the
         final EIS. Sierra Club questions why this information is not available to the public.457
         We note that the dispersion modeling assumptions are stated generally throughout the
         body text of the EIS, and footnotes in the EIS refer to CP2 LNG and CP Express’s
         detailed modeling reports (including the modeling files and Louisiana DEQ offsite
         emissions inventory) in CP2 LNG’s application as well.458

                                 b.      Particulate Matter

               On March 6, 2024, EPA revised the National Ambient Air Quality Standards
         (NAAQS) for particulate matter with an aerodynamic diameter less than 2.5 micrometers
         (PM2.5), lowering the primary annual standard from 12.0 micrograms per cubic meter
         (µg/m3) to 9.0 µg/m3.459 The revised NAAQS became effective on May 6, 2024.

               As described in the final EIS, CP2 LNG’s modeling estimated that the maximum
         impacts from the LNG terminal would be 9.4 µg/m3 for the annual PM2.5 NAAQS.460 To
         confirm that the operations of the LNG terminal would not result in PM2.5 air quality
         impacts greater than the revised annual PM2.5 NAAQS in the surrounding communities,




                455
                      Id. at app. K.
                456
                      See id. at 4-552 to 4-553.
                457
                      Sierra Club October 16, 2023 Comments at 5.
                458
                   Final EIS at 4-296 to 4-303 and n. 138. See also Appendix E of CP2 LNG’s
         August 1, 2022 Supplemental Response to Environmental Information Request No 3.
                459
                      89 Fed. Reg. 16,202 (Mar. 6, 2024).
                460
                      Final EIS at tbl. 4.12.1-22.
Document Accession #: 20240627-3107          Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429            Filed: 09/04/2024    Page 95 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                             - 86 -

         Commission staff issued Environmental Information Requests (EIRs) to the applicant on
         March 26, 2024, and May 29, 2024, requesting revised air quality analysis.461

                 On April 4 and June 3, 2024, CP2 LNG submitted revised air quality impacts
         analysis to demonstrate compliance with the revised annual PM2.5 NAAQS in the project
         area. Specifically, CP2 LNG updated its air dispersion modeling to use the PM2.5 design
         value derived from ambient air data collected at an air quality monitoring station in
         Vinton, Louisiana.462 CP2 LNG states that the ambient air conditions at the Vinton,
         Louisiana station are more representative of the project area than the ambient air
         conditions at the West Orange, Texas monitoring station used in its initial modeling. CP2
         LNG states that it originally used the design value from the West Orange station because,
         at that time, the data from the Vinton station was considered incomplete due to a 2021
         hurricane; however, in early 2024, CP2 LNG states that EPA concluded that the Vinton
         station’s data from 2020 to 2022 is valid and acceptable for use.463 With the Vinton
         station PM2.5 value, air dispersion modeling estimates that the total cumulative
         concentration of annual PM2.5 will be 8.2 ug/m3 once the LNG facilities are in operation,
         in compliance with the EPA’s revised standard.464

                 We disagree with the dissent’s assertion that the revised PM2.5 annual NAAQS
         triggered the Commission’s duty to prepare a supplemental EIS.465 An agency need not
         supplement an EIS every time new information comes to light after an EIS is finalized,
         for to do so “would render agency decision making intractable, always awaiting updated
         information only to find the new information outdated by the time a decision is made.”466
         Rather, a supplemental EIS is required where “there are significant new circumstances or
         information relevant to environmental concerns and bearing on the proposed action or its




               461
                   CP2 LNG submitted revised air quality analysis in response to Commission
         staff’s March 26, 2024 EIR on April 4, 2024.
               462
                     CP2 LNG April 4, 2024 Response to Environmental Information Request.
               463
                     Id.
               464
                     Id.
               465
                   Dissent at PP 12-16 (stating that a supplemental EIS is required “where there
         ‘might’ be ‘any’ significant environmental impacts”).
               466
                  Marsh v. Or. Nat. Res. Council, 490 U.S. 360, 373-74 (1989); see also Mayo v.
         Reynolds, 875 F.3d 11, 16 (D.C. Cir. 2017).
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429          Filed: 09/04/2024     Page 96 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 87 -

         impacts.”467 The D.C. Circuit has explained that a supplemental EIS “must only be
         prepared where new information provides a seriously different picture of the
         environmental landscape.”468

                 Commission staff requested additional air quality analysis from the applicant to
         determine whether the LNG terminal would have a significant impact on air quality.
         Staff reviewed and replicated the cumulative air quality model filed on June 3, 2024, and
         determined that the increase in emissions from the CP1 LNG facility as well as the
         change in the annual PM2.5 SIL did not result in additional locations where cumulative
         impacts would exceed the NAAQS. Furthermore, staff confirmed that, consistent with
         the determination in the final EIS, the impacts attributable to the CP2 facility would not
         cause or contribute to an exceedance of any the NAAQS. The cumulative area of impact
         is not affected by the change in the annual PM2.5 SIL as the cumulative air quality AOI is
         based upon the much larger area where the 1-hour NO2 SIL is exceeded. Thus, the
         increase in area where the annual PM2.5 SIL is exceeded is much smaller than the 1-hour
         NO2 AOI. For the reasons explained herein, we are satisfied that the applicant’s revised
         modeling demonstrates compliance with the revised annual PM2.5 NAAQS in the project
         area and that the project will not significantly impact air quality.469

                The dissent further states that the analysis “inexplicably excluded mobile
         emissions from the Driftwood LNG, Lake Charles Liquefaction, Commonwealth LNG,
         and Magnolia LNG projects.”470 We note that EPA’s modeling guidance under Appendix
         W471 does not require modeling of mobile sources under clean air permitting PSD or Title
         V requirements.472 CP1 LNG and CP2 LNG are owned/controlled by the same company,
         so to ensure we took a “hard look” at the totality of the emission impacts under NEPA,



               467
                   40 C.F.R. § 1502.9(d)(1)(ii) (emphasis added); see also Tenn. Gas Pipeline
         Co., L.L.C., 187 FERC ¶ 61,136, at P 50 (2004) (“…the decision to prepare a
         supplemental EIS is left to agency discretion under a ‘rule of reason.’”).
               468
                  Stand Up for Cal.! v. Dep’t of the Interior, 994 F.3d 616, 629 (D.C. Cir.
         2021) (emphasis in original) (quoting Friends of Capital Crescent Trail v. FTA, 877 F.3d
         1051, 1060 (D.C. Cir. 2017) (internal quotation marks omitted)).
               469
                     See supra P 192; see infra PP 196-197.
               470
                     Dissent at P 15.
               471
                     See supra P 184.
               472
                     See supra P 185.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291          Document #2073429              Filed: 09/04/2024      Page 97 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                  - 88 -

         we conservatively included the mobile emissions from both CP1 LNG and CP2 LNG in
         the cumulative air quality model.

                              c.      CP1 LNG Terminal Emissions

                In comments filed April 24, 2024, Sierra Club argued that CP2 LNG’s cumulative
         air impact modeling was flawed because it did not include anticipated increases in
         operational emissions from the neighboring CP1 LNG terminal as described in CP1
         LNG’s application to modify its Title V/PSD Permit filed with LDEQ on March 17,
         2023. CP2 LNG responded on May 15, 2024, that its modeling did include CP1 LNG’s
         increased emissions and provided its application materials for the CP1 LNG permit
         modification. After reviewing the revised analysis, Commission staff determined that the
         modeling reflected the increase in CP1 LNG’s operational emissions, but did not include
         the associated LNG ship and support vessel emissions. Commission staff issued an EIR
         on May 29, 2024, requiring that CP2 LNG include CP1 LNG’s marine emissions in its air
         quality analysis.

                CP2 LNG filed an updated air quality analysis that included the marine emissions
         associated with the CP1 LNG terminal on June 3, 2024. The updated air quality
         modeling indicates that the increase in CP1 LNG emissions results in increases in overall
         cumulative impacts from NO2 and PM2.5. However, the updated air quality analysis
         demonstrates that operation of the CP2 LNG terminal would not result in air quality
         impacts that would cause or contribute to an exceedance of any NAAQS in the
         surrounding communities.

                           11. Environmental Impacts Conclusion

                We have reviewed the information and analysis contained in the final EIS, as well
         as other information in the record, regarding the potential environmental effects of the
         projects. We accept the environmental recommendations in the final EIS, as modified
         herein, and we are including them as conditions in the appendix to this order. Based on
         our consideration of this information, as supplemented or clarified herein,473 we agree
         with the conclusions presented in the final EIS and find that the projects, if implemented
         as described in the applications and in compliance with the environmental conditions to
         this order, are environmentally acceptable actions.




                473
                   Although the analysis in the EIS provides substantial evidence for our
         conclusions in this order, it is the order itself that serves as our record of decision. The
         order supersedes any inconsistent discussion in the EIS.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429             Filed: 09/04/2024     Page 98 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 - 89 -

                Conclusion

                For the reasons discussed above, we find that the CP2 LNG Project is not
         inconsistent with the public interest, and we will grant CP2 LNG’s application for
         authorization under section 3 of the NGA to site, construct, and operate the project.

                The CP Express Pipeline Project will enable CP Express to transport domestically
         sourced natural gas to the CP2 LNG terminal for export. We find that CP Express has
         demonstrated a need for the project, that the project will not have adverse economic
         impacts on existing shippers or other pipelines and their existing customers, and that the
         project will have minimal impacts on the interests of landowners and surrounding
         communities. Additionally, as noted above, the project is an environmentally acceptable
         action. Based on the discussion above, we conclude under section 7 of the NGA that the
         public convenience and necessity requires approval of the CP Express Pipeline Project,
         subject to the conditions in this order.

                Compliance with the environmental conditions appended to our orders is integral
         to ensuring that the environmental impacts of approved projects are consistent with those
         anticipated by our environmental analyses. Thus, Commission staff carefully reviews all
         information submitted. Only when satisfied that the applicant has complied with all
         applicable conditions will a notice to proceed with the activity to which the conditions are
         relevant be issued. We also note that the Commission has the authority to take whatever
         steps are necessary to ensure the protection of life, health, property, and environmental
         resources during construction and operation of the project, including authority to impose
         any additional measures deemed necessary to ensure continued compliance with the
         intent of the conditions of the order, as well as the avoidance or mitigation of unforeseen
         adverse environmental impacts resulting from project construction and operation.

                 Any state or local permits issued with respect to the jurisdictional facilities
         authorized herein must be consistent with the conditions of this certificate. The
         Commission encourages cooperation between interstate pipelines and local authorities.
         However, this does not mean that state and local agencies, through application of state or
         local laws, may prohibit or unreasonably delay the construction or operation of facilities
         approved by this Commission.474




                474
                   See 15 U.S.C. § 717r(d) (state or federal agency’s failure to act on a permit
         considered to be inconsistent with Federal law); see also Schneidewind v. ANR Pipeline
         Co., 485 U.S. 293, 310 (1988) (state regulation that interferes with FERC’s regulatory
         authority over the transportation of natural gas is preempted) and Dominion
         Transmission, Inc. v. Summers, 723 F.3d 238, 245 (D.C. Cir. 2013) (noting that state and
         local regulation is preempted by the NGA to the extent it conflicts with federal
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429             Filed: 09/04/2024     Page 99 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 90 -

               The Commission on its own motion received and made a part of the record in this
         proceeding all evidence, including the application, and exhibits thereto, and all
         comments.

         The Commission orders:

                (A) In Docket No. CP22-21-000, CP2 LNG is authorized under section 3 of the
         NGA to site, construct, and operate the CP2 LNG Project, as described and conditioned
         herein, and as more fully described in CP2 LNG’s application and subsequent filings by
         the applicant, including any commitments made therein.

                (B)    The authorizations in Ordering Paragraph (A) are conditioned on:

                       (1)    CP2 LNG’s facilities being fully constructed and made available for
                              service within seven years of the date of this order; and

                       (2)    CP2 LNG’s compliance with the environmental conditions contained
                              in the appendix to this order.

                (C) In Docket No. CP22-22-000, a certificate of public convenience and
         necessity under section 7(c) of the NGA is issued to CP Express authorizing it to
         construct and operate the CP Express Pipeline Project, as described and conditioned
         herein, and as more fully described in CP Express’s application and subsequent filings by
         the applicant, including any commitments made therein.

                (D)    The certificate authorized in Ordering Paragraph (C) is conditioned on:

                       (1)    CP Express’s facilities being constructed and made available for
                              service within seven years of the date of this order pursuant to
                              section 157.20(b) of the Commission’s regulations;

                       (2)    CP Express’s compliance with all applicable Commission
                              regulations under the NGA, particularly the general terms and
                              conditions set forth in Parts 154, 157, and 284, and paragraphs (a),
                              (c), (e), and (f) of section 157.20 of the Commission’s regulations;
                              and

                       (3)    CP Express’s compliance with the environmental conditions contain
                              in the appendix of this order.



         regulation, or would delay the construction and operation of facilities approved by the
         Commission).
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429              Filed: 09/04/2024     Page 100 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 - 91 -

                (E)    A blanket transportation certificate is issued to CP Express under Subpart G
         of Part 284 of the Commission’s regulations.

                (F)    A blanket construction certificate is issued to CP Express under Subpart F
         of Part 157 of the Commission’s regulations.

                (G) CP Express shall file a written statement affirming that it has executed firm
         contracts for the capacity levels and terms of service represented in the signed precedent
         agreements, prior to commencing construction.

                (H) CP2 LNG and CP Express shall notify the Commission’s environmental
         staff by telephone or e-mail of any environmental noncompliance identified by other
         federal, state, or local agencies on the same day that such agency notifies CP2 LNG or
         CP Express. CP2 LNG and CP Express shall file written confirmation of such
         notification with the Secretary of the Commission within 24 hours.

               (I)   CP Express’s initial recourse rates, fuel and lost and unaccounted for gas
         reimbursement percentages, and pro forma tariff are approved, as conditioned and
         modified above.

                (J)     CP Express is required to file actual tariff records reflecting revised initial
         rates and tariff language that comply with the requirements contained in the body of this
         order prior to the commencement of interstate service consistent with Part 154 of the
         Commission’s regulations. CP Express may file the revised initial rates for Phase II
         service in this filing or in a separate filing prior to the commencement of Phase II service.

                (K) The untimely motion to intervene filed by Fisherman Involved in
         Sustaining our Heritage on April 18, 2024, is denied.

                 (L)     Within three months after its first three years of actual operation of its
         entire system including Phase II service, as discussed herein, CP Express must make a
         filing to justify its existing cost-based firm and interruptible recourse rates. CP Express’s
         cost and revenue study should be filed through the eTariff portal using a Type of Filing
         Code 580. In addition, CP Express is advised to include as part of the eFiling
         description, a reference to Docket Nos. CP22-21-000 and CP22-22-000 in the cost and
         revenue study. To the extent CP Express has not begun construction of the Phase II
         facilities within two years of the in-service date of Phase I, CP Express is directed to file
         a cost and revenue study three years after the in-service date of the Phase I facilities.
Document Accession #: 20240627-3107        Filed Date: 06/27/2024
       USCA Case #24-1291      Document #2073429           Filed: 09/04/2024   Page 101 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                        - 92 -

         By the Commission. Commissioner Clements is dissenting with a separate statement
                            attached.
                            Commissioner Rosner is not participating.

         (SEAL)



                                                   Debbie-Anne Reese,
                                                    Acting Secretary.
Document Accession #: 20240627-3107          Filed Date: 06/27/2024
       USCA Case #24-1291       Document #2073429             Filed: 09/04/2024        Page 102 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 93 -

                                                Appendix

                                      Environmental Conditions

                     As recommended in the final environmental impact statement (EIS) and
               otherwise amended herein, this authorization includes the following conditions.



         1.    Venture Global CP2 LNG, LLC (CP2 LNG) and Venture Global CP Express, LLC
               (CP Express) shall follow the construction procedures and mitigation measures
               described in its application and supplements, including responses to staff data
               requests and as identified in the EIS, unless modified by the Order. CP2 LNG and
               CP Express must:

               a.    request any modification to these procedures, measures, or conditions in a
                     filing with the Secretary of the Commission (Secretary);

               b.    justify each modification relative to site-specific conditions;

               c.    explain how that modification provides an equal or greater level of
                     environmental protection than the original measure; and

               d.    receive approval in writing from the Director of the Office of Energy
                     Projects (OEP), or the Director’s designee, before using that
                     modification.

         2.    The Director of OEP, or the Director’s designee, has delegated authority to
               address any requests for approvals or authorizations necessary to carry out the
               conditions of the Order, and take whatever steps are necessary to ensure the
               protection of life, health, property, and the environment during construction and
               operation of the CP2 LNG and CP Express Project (project). This authority shall
               allow:

               a.    the modification of conditions of the Order;

               b.    stop-work authority and authority to cease operation; and

               c.    the imposition of any additional measures deemed necessary to ensure
                     continued compliance with the intent of the conditions of the Order as well
                     as the avoidance or mitigation of unforeseen adverse environmental impacts
                     resulting from project construction and operation.

         3.    Prior to any construction, CP2 LNG and CP Express shall file an affirmative
               statement with the Secretary, certified by senior company officials, that all
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291        Document #2073429             Filed: 09/04/2024      Page 103 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 94 -

               company personnel, environmental inspectors (EI), and contractor personnel will
               be informed of the EI’s authority and have been or will be trained on the
               implementation of the environmental mitigation measures appropriate to their jobs
               before becoming involved with construction and restoration activities.

         4.    The authorized facility locations shall be as shown in the EIS, as supplemented by
               filed plot plans, alignment sheets, and facility diagrams. As soon as they are
               available, and before the start of construction, CP2 LNG and CP Express shall
               file with the Secretary any revised detailed plans, diagrams, and alignment sheets
               at a scale not smaller than 1:6,000 with station positions for all facilities approved
               by the Order. All requests for modifications of environmental conditions of the
               Order or site-specific clearances must be written and must specify locations
               designated on these plans, diagrams, and alignment sheets.

               CP Express’ exercise of eminent domain authority granted under Natural Gas Act
               (NGA) section 7(h) in any condemnation proceedings related to the Order must be
               consistent with the authorized Pipeline System facilities and locations. CP
               Express’ right of eminent domain granted under NGA section 7(h) does not
               authorize it to increase the size of its natural gas pipeline to accommodate future
               needs or to acquire a right-of-way for a pipeline to transport a commodity other
               than natural gas.

         5.    CP2 LNG and CP Express shall file with the Secretary detailed alignment
               maps/sheets and aerial photographs at a scale not smaller than 1:6,000 identifying
               all route realignments or facility relocations, staging areas, pipe storage yards, new
               access roads, and other areas that would be used or disturbed that have not been
               previously identified in filings with the Secretary. Approval for each of these
               areas must be explicitly requested in writing. For each area, the request must
               include a description of the existing land use or cover type, documentation of
               landowner approval, whether any cultural resources or federally listed threatened
               or endangered species would be affected, and whether any other environmentally
               sensitive areas are within or abutting the area. All areas shall be clearly identified
               on the maps, or aerial photographs. Use of each area must be approved in writing
               by the Director of OEP, or the Director’s designee, before construction in or
               near that area.

               This requirement does not apply to extra workspace allowed by the Federal
               Energy Regulatory Commission’s (FERC or Commission) Upland Erosion
               Control, Revegetation, and Maintenance Plan and/or minor field realignments per
               landowner needs and requirements which do not affect other landowners or
               sensitive environmental areas such as wetlands.

               Examples of alterations requiring approval include all route alignments and
               facility location changes resulting from:
Document Accession #: 20240627-3107         Filed Date: 06/27/2024
       USCA Case #24-1291      Document #2073429            Filed: 09/04/2024    Page 104 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                             - 95 -

               a.    implementation of cultural resources mitigation measures;

               b.    implementation of endangered, threatened, or special concern mitigation
                     measures;

               c.    recommendations by state regulatory authorities; and

               d.    agreements with individual landowners that affect other landowners or
                     could affect sensitive environmental areas.

         6.    At least 60 days before construction begins, CP2 LNG and CP Express shall file
               an Implementation Plan with the Secretary for review and written approval by the
               Director of OEP, or the Director’s designee. CP2 LNG and CP Express must file
               revisions to the plan as schedules change. The plan shall identify:

               a.    how CP2 LNG and CP Express will implement the construction procedures
                     and mitigation measures described in its application and supplements
                     (including responses to staff data requests), identified in the EIS, and
                     required by the Order;

               b.    how CP2 LNG and CP Express will incorporate these requirements into the
                     contract bid documents, construction contracts (especially penalty clauses
                     and specifications), and construction drawings so that the mitigation
                     required at each site is clear to onsite construction and inspection
                     personnel;

               c.    the number of EIs assigned, and how the company will ensure that
                     sufficient personnel are available to implement the environmental
                     mitigation;

               d.    company personnel, including EIs and contractors, who will receive copies
                     of the appropriate material;

               e.    the location and dates of the environmental compliance training and
                     instructions CP2 LNG and CP Express will give to all personnel involved
                     with construction and restoration (initial and refresher training as the
                     project progresses and personnel change); (with the opportunity for OEP
                     staff to participate in the training sessions(s));

               f.    the company personnel (if known) and specific portion of CP2 LNG and
                     CP Express’ organization having responsibility for compliance;

               g.    the procedures (including use of contract penalties) CP2 LNG and CP
                     Express will follow if noncompliance occurs; and
Document Accession #: 20240627-3107                Filed Date: 06/27/2024
       USCA Case #24-1291             Document #2073429             Filed: 09/04/2024      Page 105 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                   - 96 -

               h.          for each discrete facility, a Gantt or PERT chart (or similar project
                           scheduling diagram), and dates for:

                      i.          the completion of all required surveys and reports;

                     ii.          the environmental compliance training of onsite personnel;

                    iii.          the start of construction; and

                    iv.           the start and completion of restoration.

         7.    CP2 LNG shall employ at least one EI and CP Express shall employ at least one
               EI per construction spread. The EI(s) shall be:

               a.          responsible for monitoring and ensuring compliance with all mitigation
                           measures required by the Order and other grants, permits, certificates, or
                           other authorizing documents;

               b.          responsible for evaluating the construction contractor's implementation of
                           the environmental mitigation measures required in the contract (see
                           condition 6 above) and any other authorizing document;

               c.          empowered to order correction of acts that violate the environmental
                           conditions of the Order, and any other authorizing document;

               d.          a full-time position, separate from all other activity inspectors;

               e.          responsible for documenting compliance with the environmental conditions
                           of the Order, as well as any environmental conditions/permit requirements
                           imposed by other federal, state, or local agencies; and

               f.          responsible for maintaining status reports.

         8.    Beginning with the filing of its Implementation Plan, CP2 LNG shall file updated
               status reports with the Secretary on a monthly basis and CP Express shall file
               updated status reports with the Secretary on a biweekly basis until all construction
               and restoration activities are complete. Problems of a significant magnitude shall
               be reported to the FERC within 24 hours. On request, these status reports will
               also be provided to other federal and state agencies with permitting
               responsibilities. Status reports shall include:

               a.          an update on CP2 LNG and CP Express’ efforts to obtain the necessary
                           federal authorizations;

               b.          project schedule, including current construction status of the project and
                           work planned for the following reporting period;
Document Accession #: 20240627-3107         Filed Date: 06/27/2024
       USCA Case #24-1291       Document #2073429            Filed: 09/04/2024      Page 106 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 97 -

               c.    a listing of all problems encountered, contractor
                     nonconformance/deficiency logs, and each instance of noncompliance
                     observed by the EI during the reporting period (both for the conditions
                     imposed by the Commission and any environmental conditions/permit
                     requirements imposed by other federal, state, or local agencies);

               d.    a description of the corrective and remedial actions implemented in
                     response to all instances of noncompliance, nonconformance, or deficiency;

               e.    the effectiveness of all corrective and remedial actions implemented;

               f.    a description of any landowner/resident complaints which may relate to
                     compliance with the requirements of the order, and the measures taken to
                     satisfy their concerns; and

               g.    copies of any correspondence received by CP2 LNG and CP Express from
                     other federal, state, or local permitting agencies concerning instances of
                     noncompliance, and CP2 LNG and CP Express response.

         9.    CP2 LNG and CP Express shall develop and implement an environmental
               complaint resolution procedure, and file such procedure with the Secretary, for
               review and approval by the Director of OEP, or the Director’s designee. The
               procedure shall provide landowners with clear and simple directions for
               identifying and resolving their environmental mitigation problems/concerns during
               construction of the project and restoration of the right-of-way. Prior to
               construction, CP2 LNG and CP Express shall mail the complaint procedures to
               each landowner whose property will be crossed by the project.

               a.    In its letter to affected landowners, CP2 LNG and CP Express shall:

                     (1)    provide a local contact that the landowners should call first with
                            their concerns; the letter should indicate how soon a landowner
                            should expect a response;

                     (2)    instruct the landowners that if they are not satisfied with the
                            response, they should call CP2 LNG and CP Express Hotline; the
                            letter should indicate how soon to expect a response; and

                     (3)    instruct the landowners that if they are still not satisfied with the
                            response from CP2 LNG and CP Express Hotline, they should
                            contact the Commission’s Landowner Helpline at 877-337-2237 or
                            at LandownerHelp@ferc.gov.

               b.    In addition, CP2 LNG and CP Express shall include in its status report a
                     copy of a table that contains the following information for each
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291        Document #2073429              Filed: 09/04/2024    Page 107 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 98 -

                      problem/concern:

                      (1)    the identity of the caller and date of the call;

                      (2)    the location by milepost and identification number from the
                             authorized alignment sheet(s) of the affected property;

                      (3)    a description of the problem/concern; and

                      (4)    an explanation of how and when the problem was resolved, will be
                             resolved, or why it has not been resolved.

         10.   CP2 LNG and CP Express must receive written authorization from the Director of
               OEP, or the Director’s designee, before commencing construction of any project
               facilities. To obtain such authorization, CP2 LNG and CP Express must file with
               the Secretary documentation that it has received all applicable authorizations
               required under federal law (or evidence of waiver thereof).

         11.   CP2 LNG must receive written authorization from the Director of OEP, or the
               Director’s designee, prior to introducing hazardous fluids into the Terminal
               Facilities. Instrumentation and controls, hazard detection, hazard control, and
               security components/systems necessary for the safe introduction of such fluids
               shall be installed and functional.

         12.   CP2 LNG must receive written authorization from the Director of OEP, or the
               Director’s designee, before placing into service the Terminal Facilities. Such
               authorization will only be granted following a determination that the facilities
               have been constructed in accordance with FERC approval, can be expected to
               operate safely as designed, and the rehabilitation and restoration of areas affected
               by the project are proceeding satisfactorily.

         13.   CP Express must receive written authorization from the Director of OEP, or the
               Director’s designee, before placing the Pipeline System into service. Such
               authorization will only be granted following a determination that rehabilitation and
               restoration of the right-of-way and other areas affected by the project are
               proceeding satisfactorily.

         14.   Within 30 days of placing the authorized facilities in service, CP2 LNG and CP
               Express shall file an affirmative statement with the Secretary, certified by a senior
               company official:

               a.     that the facilities have been constructed in compliance with all applicable
                      conditions, and that continuing activities will be consistent with all
                      applicable conditions; or
Document Accession #: 20240627-3107          Filed Date: 06/27/2024
       USCA Case #24-1291       Document #2073429             Filed: 09/04/2024     Page 108 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 99 -

               b.     identifying which of the conditions in the Order CP2 LNG and CP Express
                      has complied with or will comply with. This statement shall also identify
                      any areas affected by the project where compliance measures were not
                      properly implemented, if not previously identified in filed status reports,
                      and the reason for noncompliance.

         15.   All conditions attached to the water quality certification issued by the Railroad
               Commission of Texas and/or the Louisiana Department of Environmental Quality
               constitute mandatory conditions of the Order. Prior to construction activities,
               CP2 LNG and CP Express shall file, for review and written approval of the
               Director of OEP, or the Director’s designee, any revisions to its project design
               necessary to comply with the water quality certification conditions.

         16.   Prior to construction, CP Express shall file with the Secretary, for review and
               written approval by the Director of OEP, or the Director’s designee:

               a.     the Interstate 10, Energy Corridor, and Houston River horizontal directional
                      drills (HDD) alignment plan and profile that incorporates site-specific
                      geotechnical information; and

               b.     for each proposed HDD, a description of any subsurface conditions that
                      were identified during geotechnical investigations that may increase the
                      risk of HDD complications (e.g., loss of drilling fluids; drill transition
                      between overburden/bedrock, drill hole collapse, existing groundwater
                      and/or soil contamination) as well as the measures that CP Express would
                      implement to minimize these risks.

         17.   Prior to construction, CP2 LNG shall file with the Secretary, for review and
               written approval by the Director of the OEP, or the Director’s designee, for the six
               proposed Calcasieu Pass HDDs:

               a.     an HDD monitoring, inadvertent return response, and contingency plan
                      which describes drilling fluid composition and management, monitoring
                      procedures during drilling operations, and response procedures for an
                      inadvertent return of drilling fluid to the ground surface;

               b.     an alignment plan and profile that incorporates site-specific geotechnical
                      information; and

               c.     a description of any subsurface conditions that were identified during
                      geotechnical investigations that may increase the risk of HDD
                      complications (e.g., loss of drilling fluids; drill transition between
                      overburden/bedrock, drill hole collapse, existing groundwater and/or soil
                      contamination) as well as the measures that CP2 LNG would implement to
Document Accession #: 20240627-3107                Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429            Filed: 09/04/2024     Page 109 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 - 100 -

                           minimize these risks.

         18.   Prior to construction, CP2 LNG shall provide a plan for review and written
               approval by the Director of the OEP, or the Director’s designee, to maintain an
               intake velocity of less than 0.5 feet per second at the hydrostatic test water intake
               structure screen.

         19.   Prior to construction, CP2 LNG shall consult with the National Marine Fisheries
               Service Marine Mammal Branch to confirm that an Incidental Take Authorization
               is not required for the project. CP2 LNG shall file the documentation of the
               consultation with the Secretary.

         20.   CP2 LNG and CP Express shall not begin construction of the project until they
               file with the Secretary a copy of the determination of consistency with the Coastal
               Zone Management Plan issued by the Louisiana Department of Natural
               Resource/Office of Coastal Management.

         21.   CP Express shall not begin construction of the facilities and/or use of staging,
               storage, or temporary workspace areas and new or to-be improved access roads
               until:

               a.          CP Express files with the Secretary:

                      i.         any remaining cultural resources survey report(s);

                     ii.         site evaluation report(s) and avoidance/treatment plan(s), as
                                 required; and

                    iii.         comments on the cultural resources reports and plans from the Texas
                                 and Louisiana State Historic Preservation Officers and/or any
                                 interested Indian tribes.

               b.          the Advisory Council on Historic Preservation is afforded the opportunity
                           to comment if historic properties would be adversely affected; and

               c.          the FERC staff reviews and the Director of OEP, or the Director’s designee,
                           approves the cultural resources reports and plans, and notifies CP Express
                           in writing that treatment plans/mitigation measures (including
                           archaeological data recovery) may be implemented and/or construction may
                           proceed.

               All material filed with the Commission containing location, character, and
               ownership information about cultural resources much as the cover and any
               relevant pages therein clearly labeled in bold lettering: “CUI/PRIV – DO NOT
               RELEASE.”
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291        Document #2073429             Filed: 09/04/2024     Page 110 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 101 -

         23.   Prior to construction, CP2 LNG shall file a nighttime noise mitigation plan with
               the Secretary, for review and written approval by the Director of OEP, or the
               Director’s designee, that includes the measures it will implement to reduce the
               projected nighttime (7:00 p.m. to 7:00 a.m.) construction noise levels to at or
               below 48.6 A-weighted decibel (dBA) equivalent sound level (Leq) at noise
               sensitive areas (NSA)/noise evaluation locations (NEL), and how it will monitor
               the noise levels during construction activities.

         24.   Prior to construction, CP2 LNG shall file a pile driving noise mitigation plan
               with the Secretary, for review and written approval by the Director of OEP, or the
               Director’s designee, that includes the measures it will implement to reduce the
               projected maximum sound level (Lmax) pile driving noise levels to at or below
               70 dBA Lmax at NSAs/NELs, and how it will monitor the noise levels during pile
               driving activities. The mitigation plan shall include mitigation measures, such as
               temporary barriers or shrouds.

         25.   During construction activities at the Terminal Facilities between 7:00 p.m.
               and 7:00 a.m., CP2 LNG shall monitor noise levels, document the noise levels in
               the construction status reports, and restrict the noise attributable to construction
               activities to no more than 55 dBA day-night sound level (Ldn) (48.6 dBA Leq) at
               any nearby NSAs.

         26.   CP2 LNG shall file with the Secretary, a full power load noise survey for the
               Terminal no later than 60 days after each phase of liquefaction blocks are placed
               into service. If the noise attributable to operation of the equipment at the Terminal
               exceeds an Ldn of 55 dBA at any nearby NSA, within 60 days CP2 LNG shall
               modify operation of the liquefaction facilities or install additional noise controls
               until a noise level below an Ldn of 55 dBA at the NSA is achieved. CP2 LNG
               shall confirm compliance with the above requirement by filing a second noise
               survey with the Secretary no later than 60 days after it installs the additional
               noise controls.

         27.   CP2 LNG shall file a noise survey with the Secretary, no later than 60 days after
               placing the entire Terminal into service. If a full load condition noise survey is not
               possible, CP2 LNG shall provide an interim survey at the maximum possible
               horsepower load within 60 days of placing the Terminal into service and provide
               the full load survey within 6 months. If the noise attributable to operation of the
               equipment at the Terminal exceeds an Ldn of 55 dBA at any nearby NSA under
               interim or full horsepower load conditions, CP2 LNG shall file a report on what
               changes are needed and shall install the additional noise controls to meet the level
               within 1 year of the in-service date. CP2 LNG shall confirm compliance with the
               above requirement by filing an additional noise survey with the Secretary no later
               than 60 days after it installs the additional noise controls.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291        Document #2073429             Filed: 09/04/2024     Page 111 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 102 -

         28.   CP Express shall file a noise survey for the Moss Lake Compressor Station with
               the Secretary no later than 60 days after placing the station into service. If a full
               power load conditions are not possible, CP Express shall file an interim survey at
               the maximum possible horsepower load within 60 days of placing the station into
               service and file the full load survey within 6 months. If the noise attributable to
               operation of the equipment at the Moss Lake Compressor Station exceeds an Ldn
               of 55 dBA at any nearby NSA under interim or full horsepower load conditions,
               CP Express shall file a report on what changes are needed and shall install the
               additional noise controls to meet the level within 1 year of the in-service date.
               CP Express shall confirm compliance with the above requirement by filing an
               additional noise survey with the Secretary no later than 60 days after it installs
               the additional noise controls.

         29.   CP Express shall file a noise survey for the TETCO & Boardwalk Interconnect
               and Florida Gas Meter Stations with the Secretary no later than 60 days after
               placing the stations into service. If full power load conditions are not possible, CP
               Express shall file an interim survey at the maximum possible horsepower load
               within 60 days of placing the station into service and file the full load survey
               within 6 months. If the noise attributable to operation of the equipment at the
               meter stations exceeds an Ldn of 55 dBA at any nearby NSAs under interim or full
               horsepower load conditions, CP Express shall file a report on what changes are
               needed and shall install the additional noise controls to meet the level within 1
               year of the in-service date. CP Express shall confirm compliance with the above
               requirement by filing an additional noise survey with the Secretary no later than
               60 days after it installs the additional noise controls.

         30.   Prior to initial site preparation, CP2 LNG shall file with the Secretary the
               following information, stamped and sealed by the professional engineer-of-record,
               registered in the State of Louisiana:

               a.     the erosion control and prevention plan for the dock area; and

               b.     the finalized foundation design criteria for the project; and the associated
                      quality assurance and quality control procedures.

         31.   Prior to initial site preparation, CP2 LNG shall file with the Secretary the
               finalized pile load test program (e.g., pile load test procedure, locations,
               configuration, quality assurance, and quality control, etc.), which shall comply
               with American Society for Testing and Materials (ASTM) D1143, ASTM 3689,
               ASTM 3966, or approved equivalent. The filing shall be stamped and sealed by
               the professional engineer-of-record, registered in the State of Louisiana.

         32.   Prior to initial site preparation, CP2 LNG shall file with the Secretary the
               finalized wind design basis for the project facility, which shall include the tornado
Document Accession #: 20240627-3107          Filed Date: 06/27/2024
       USCA Case #24-1291       Document #2073429              Filed: 09/04/2024       Page 112 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 103 -

               loads determination and consideration for the design loads combination cases as
               required by American Society of Civil Engineers (ASCE)/Structural Engineering
               Institute (SEI) (2022).

         33.   Prior to construction of final design, CP2 LNG shall file with the Secretary the
               following information, stamped and sealed by the professional engineer-of-record,
               registered in the State of Louisiana:

               a.    the corrosion control and prevention plan for any underground piping,
                     structure, foundations, equipment, and components;

               b.    the finalized site settlement analysis for the project site, which shall include
                     total settlement, differential settlement, subsidence, sea level rise, potential
                     soil liquefaction;

               c.    the total and differential settlement of final designed structures, systems,
                     and components foundations for the project site;

               d.    the finalized settlement monitoring program and procedures for the project
                     site; and

               e.    the total and differential settlement monitoring system of liquified natural
                     gas (LNG) storage tank foundation design shall comply with applicable
                     LNG industrial code/standards, including but not limited to American
                     Petroleum Institute (API) 620 (12th edition), API 625 (1st edition), API
                     650 (13th edition), API 653 (5th edition), and American Concrete Institute
                     (ACI) 376 (2011 edition) or approved equivalents.

         34.   Prior to construction of final design, CP2 LNG shall file with the Secretary the
               following information, stamped and sealed by the professional engineer-of-record,
               registered in the State of Louisiana:

               a.    site preparation drawings and specifications;

               b.    finalized civil and structural design basis, criteria, specifications;

               c.    LNG terminal structures, LNG storage tank, and foundation design
                     drawings and calculations (including prefabricated and field constructed
                     structures);

               d.    seismic design specifications for procured Seismic Category I equipment;

               e.    quality control procedures to be used for civil/structural design and
                     construction; and
Document Accession #: 20240627-3107          Filed Date: 06/27/2024
       USCA Case #24-1291       Document #2073429            Filed: 09/04/2024     Page 113 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                           - 104 -

               f.    a determination of whether soil improvement is necessary to counteract soil
                     liquefaction.

               In addition, CP2 LNG shall file, in its Implementation Plan, the schedule for
               producing this information.

         35.   Prior to construction of the final design, CP2 LNG shall file with the Secretary
               the finalized projectile/missile impact analysis to demonstrate that the outer
               concrete container wall of the full containment LNG storage tank could withstand
               projectile/missile impact. The analysis shall detail the projectile/missile speeds
               and characteristics and methods used to determine penetration resistance and
               perforation depths. The finalized projectile/missile impact analysis shall be
               stamped and sealed by the professional engineer-of-record, registered in the State
               of Louisiana.

         36.   Prior to construction of final design, CP2 LNG shall file with the Secretary a
               final design basis of the structure, system, and components in consideration of
               flood loads, erosion and scour and hydrostatic loads; and final maintenance
               program of inspection of hydrographic survey of the submerged slope conducted
               with enough frequency to detect any erosion in the areas vulnerable to bow
               thrusters and propellers. The filing shall be stamped and sealed by the
               professional engineer-of-record, registered in the State of Louisiana.

               Information pertaining to the following specific conditions, shall be filed with
               the Secretary for review and written approval by the Director of OEP, or the
               Director’s designee, within the timeframe indicated by each condition.
               Specific engineering, vulnerability, or detailed design information meeting the
               criteria specified in Order No. 833 (Docket No. RM16-15-000), including
               security information, shall be submitted as critical energy infrastructure
               information pursuant to 18 CFR §388.113. See Critical Electric
               Infrastructure Security and Amending Critical Energy Infrastructure
               Information, Order No. 833, 81 Fed. Reg. 93,732 (December 21, 2016), FERC
               Stats. & Regs. 31,389 (2016). Information pertaining to items such as offsite
               emergency response, procedures for public notification and evacuation, and
               construction and operating reporting requirements will be subject to public
               disclosure. All information shall be filed a minimum of 30 days before
               approval to proceed is requested.

         37.   Prior to initial site preparation, CP2 LNG shall file the finalized geotechnical
               investigation report that includes the performance of boreholes and cone
               penetration test (CPT) soundings on the route from LNG storage tank area to dock
               area; the performance of the boreholes and CPT soundings for each LNG storage
               tank foundation area in accordance with the provisions of ACI 376 (2011 edition)
               or approved equivalent; and details on the number, location, and depth of
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291        Document #2073429             Filed: 09/04/2024      Page 114 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 105 -

               boreholes and CPT soundings. The finalized geotechnical investigation report
               shall be stamped and sealed by the professional engineer-of-record, registered in
               the State of Louisiana.

         38.   Prior to initial site preparation, CP2 LNG shall file the finalized civil plot plan
               with slopes and elevation contour lines for the project site. The finalized civil plot
               plan shall demonstrate that the CP2 LNG site would not be flooded during mean
               higher high water (MHHW) after accounting for sea level rise and subsidence
               using intermediate values over 30 years. The MHHW shall be based upon tidal
               datum from station 8768094 recorded by National Oceanic and Atmospheric
               Administration or approved equivalent. The sea level rise and vertical land
               movement shall be in accordance with a minimum intermediate curve
               corresponding to the design life of the facility in Global and Regional Sea Level
               Rise Scenarios for the United States, U.S. Department of Commerce, National
               Ocean and Atmospheric Administration, National Ocean Service Center for
               Operational Oceanographic Products and Services, February 2022 or approved
               equivalent.

         39.   Prior to initial site preparation, CP2 LNG shall file the final design of
               floodwalls (storm surge protection barriers) to comply with applicable
               code/standards requirements including but not limited to National Fire Protection
               Association (NFPA) 59A (2019 edition) as incorporated by 33 CFR 127, and
               NFPA 59A (2001 edition) in 49 CFR 193. In addition, the floodwalls shall be
               designed and maintained in accordance with ASCE/SEI 7 (2022 edition) or
               approved equivalent and ASCE/SEI 24 (2014 edition) or approved equivalent to
               withstand a minimum of a 500-year mean occurrence interval in consideration of
               relative sea level rise, local subsidence, site settlement, shoreline recession,
               erosion and scour effect, and wind-driven wave effects. The sea level rise and
               vertical land movement shall be in accordance with a minimum intermediate curve
               corresponding to the design life of the facility in Global and Regional Sea Level
               Rise Scenarios for the United States, U.S. Department of Commerce, National
               Ocean and Atmospheric Administration, National Ocean Service Center for
               Operational Oceanographic Products and Services, February 2022 or approved
               equivalent.

         40.   Prior to construction of final design, CP2 LNG shall file the settlement
               monitoring and maintenance plan, which ensures the storm surge floodwalls to be
               no less than a minimum elevation of 500-year mean recurrence interval flood
               event; and facilities are protected for the life of the LNG terminal considering
               settlement, subsidence, and sea level rise.

         41.   Prior to initial site preparation, CP2 LNG shall file an overall project schedule,
               which includes the proposed stages of initial site preparation, construction,
               commissioning, and in-service plan relative to notice to proceed requests and
Document Accession #: 20240627-3107          Filed Date: 06/27/2024
       USCA Case #24-1291        Document #2073429             Filed: 09/04/2024     Page 115 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                             - 106 -

               related conditions.

         42.   Prior to initial site preparation, CP2 LNG shall file procedures for controlling
               access during construction.

         43.   Prior to initial site preparation, CP2 LNG shall file quality assurance and
               quality control procedures for construction activities, including initial equipment
               laydown receipt and preservation.

         44.   Prior to initial site preparation, CP2 LNG shall file its design wind speed
               criteria for all other facilities not covered by Pipeline and Hazardous Materials
               Safety Administration’s Letter of Determination to be designed to withstand wind
               speeds commensurate with the risk and reliability associated with the facilities in
               accordance with ASCE/SEI 7 (2022) or approved equivalent.

         45.   Prior to initial site preparation, CP2 LNG shall develop an Emergency
               Response Plan (including evacuation and any sheltering and re-entry) and
               coordinate procedures with the U.S. Coast Guard; state, county, and local
               emergency planning groups; fire departments; state and local law enforcement;
               and other appropriate federal agencies. This plan shall be consistent with
               recommended and good engineering practices, as defined in NFPA 1600, NFPA
               1616, NPFA 1620, NFPA 470, NFPA 475, or approved equivalents and based on
               potential impacts and onsets of hazards from accidental and intentional events
               along the LNG marine vessel route and potential impacts and onset of hazards
               from accidental and intentional events at the LNG terminal, including but not
               limited to a catastrophic failure of the largest LNG tank. This plan shall address
               any special considerations and pre-incident planning for infrastructure and public
               with access and functional needs and shall include at a minimum:

               a.     materials and plans for periodic dissemination of public education and
                      training materials for evacuation and/or shelter in place of the public within
                      any transient hazard areas along the LNG marine vessel route and within
                      LNG terminal hazard areas;

               b.     plans to competently train emergency responders required to effectively and
                      safely respond to hazardous material incidents including, but not limited to,
                      LNG fires and dispersion;

               c.     plans to competently train emergency responders to effectively and safely
                      evacuate or shelter public within transient hazard areas along the LNG
                      marine vessel route and within hazard areas from LNG terminal;

               d.     designated contacts with federal, state and local emergency response
                      agencies responsible for emergency management and response within any
Document Accession #: 20240627-3107         Filed Date: 06/27/2024
       USCA Case #24-1291       Document #2073429             Filed: 09/04/2024     Page 116 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                            - 107 -

                     transient hazard areas along the LNG marine vessel route and within hazard
                     areas from the LNG terminal;

               e.    scalable procedures for the prompt notification of appropriate local officials
                     and emergency response agencies based on the level and severity of
                     potential incidents;

               f.    scalable procedures for mobilizing response and establishing a unified
                     command, including identification, location, and design of any emergency
                     operations centers and emergency response equipment required to
                     effectively and safely respond to hazardous material incidents and evacuate
                     or shelter public within transient hazard areas along the LNG marine vessel
                     route and within LNG terminal hazard areas;

               g.    scalable procedures for notifying public, including identification, location,
                     design, and use of any permanent sirens or other warning devices required
                     to effectively communicate and warn the public prior to onset of
                     debilitating hazards within any transient hazard areas along the LNG
                     marine vessel route and within hazard areas from the LNG terminal;

               h.    scalable procedures for evacuating the public, including identification,
                     location, design, and use of evacuation routes/methods and any mustering
                     locations required to effectively and safely evacuate the public within any
                     transient hazard areas along the LNG marine transit route and within hazard
                     areas from the LNG terminal; and

               i.    scalable procedures for sheltering the public, including identification,
                     location, design, and use of any shelters demonstrated to be needed and
                     demonstrated to effectively and safely shelter the public prior to onset of
                     debilitating hazards within transient hazard areas that may better benefit
                     from sheltering in place (i.e., those within Zones of Concern 1 and 2), along
                     the route of the LNG marine vessel and within hazard areas of the LNG
                     terminal that may benefit from sheltering in place (i.e., those within areas
                     of 1,600 British thermal units per square foot per hour [BTU/ft2-hr] and
                     10,000 BTU/ft2-hr radiant heats from fires with the farthest impacts,
                     including from a catastrophic failure of the largest LNG tank).

               CP2 LNG shall notify the FERC staff of all planning meetings in advance and
               shall report progress on the development of its ERP at 3‑month intervals. CP2
               LNG shall file public versions of offsite emergency response procedures for public
               notification, evacuation, and shelter in place.

         46.   Prior to initial site preparation, CP2 LNG shall file a Cost-Sharing Plan
               identifying the mechanisms for funding all project-specific security/emergency
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291        Document #2073429              Filed: 09/04/2024     Page 117 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 108 -

               management costs that would be imposed on state and local agencies. This
               comprehensive plan shall include funding mechanisms for the capital costs
               associated with any necessary security/emergency management equipment and
               personnel base. This plan shall include sustained funding of any requirement or
               resource gap analysis identified to effectively and safely evacuate and shelter the
               public and to effectively and safely respond to hazardous material incidents
               consistent with recommended and good engineering practices. CP2 LNG shall
               notify FERC staff of all planning meetings in advance and shall report progress on
               the development of its Cost Sharing Plan at 3-month intervals.

         47.   Prior to initial site preparation, CP2 LNG shall file calculations demonstrating
               the loads on buried pipelines and utilities at temporary road crossings would be
               adequately distributed. The analysis shall be based on API Recommended
               Practices (RP) 1102 or other approved methodology.

         48.   Prior to initial site preparation, CP2 LNG shall file pipeline and utility damage
               prevention procedures for personnel and contractors. The procedures shall include
               provisions to mark buried pipelines and utilities prior to any site work and
               subsurface activities.

         49.   Prior to construction of final design, CP2 LNG shall file change logs that list
               and explain any changes made from the front-end-engineering-design (FEED)
               provided in CP2 LNG’s application and filings. A list of all changes with an
               explanation for the design alteration shall be provided, and all changes shall be
               clearly indicated on all diagrams and drawings.

         50.   Prior to construction of final design, CP2 LNG shall file information/revisions
               pertaining to CP2 LNG’s response numbers 37, 50, 60, 75b, 175, 176 of its June
               10, 2022 filing; numbers 35, 86, 195, 197 of its July 7, 2022 filing; numbers 55,
               59, 184, 191, 206 of its July 19, 2022 filing; number 15 of its August 2, 2022
               filing; numbers 196, 205 of its August 4, 2022 filing; number 87 of its September
               14, 2022 filing; numbers 13, 18 and 24 of its October 28, 2022 filing; number 22
               of its November 3, 2022 filing; number 6 of its November 28, 2022 filing; number
               11 of its May 19, 2023 filing; and numbers 1, 6, 7, 8, 9, 10 of its May 26, 2023
               filing, which indicated features to be included or considered in the final design.

         51.   Prior to construction of final design, CP2 LNG shall file drawings and
               specifications for crash rated vehicle barriers in accordance with ASTM F2656
               (2015) or approved equivalent at each facility entrance for access control. The
               crash rating vehicle type shall be supported by a security vulnerability assessment
               that takes into account the potential target attractiveness, threats, vulnerabilities,
               consequences, and mitigation effectiveness consistent with American Institute of
               Chemical Engineers, Guidelines for Analyzing and Managing the Security
               Vulnerabilities of Fixed Chemical Sites, or equivalent. The crash rating speed
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291        Document #2073429             Filed: 09/04/2024      Page 118 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 109 -

               shall be supported by an analysis of the maximum attainable vehicle velocity
               based on vehicle type acceleration and road characteristics (e.g., straight length,
               radius of curvature, sloped/banked, coefficient of friction, etc.).

         52.   Prior to construction of final design, CP2 LNG shall file drawings of vehicle
               protections internal to the plant, such as guard rails, barriers, and bollards to
               protect transfer piping, pumps, compressors, hydrants, and monitors to ensure that
               the facilities would be protected from inadvertent damage from vehicles, unless
               the facilities are located sufficiently away from in-plant roadways and areas
               accessed by vehicle.

         53.   Prior to construction of final design, CP2 LNG shall file drawings of the
               security fence. The fencing drawings shall provide details of fencing that
               demonstrate it is in accordance with National Fire Protection Association (NFPA)
               59A (2019 edition) and would restrict and deter access around the entire facility
               and have a setback from exterior features (e.g., power lines, trees, etc.) and from
               interior features (e.g., piping, equipment, buildings, etc.) by at least 10 feet and
               that would not allow the fence to be overcome.

         54.   Prior to construction of final design, CP2 LNG shall file security camera and
               intrusion detection drawings. The security camera drawings shall show the
               locations, mounting elevation, areas covered, and features of each camera (e.g.,
               fixed, tilt/pan/zoom, motion detection alerts, low light, etc.) and shall provide
               camera coverage at access points and along the entire perimeter of the terminal
               with redundancies and camera coverage of the interior of the terminal to enable
               rapid monitoring of the terminal, including a camera at the top of each LNG
               storage tank, and coverage within pretreatment areas, within liquefaction areas,
               within truck transfer areas, within marine transfer areas, and within buildings.
               Drawings shall also show or note the location and type of the intrusion detection
               and shall cover the entire perimeter of the facility.

         55.   Prior to construction of final design, CP2 LNG shall file photometric analyses
               or equivalent and associated lighting drawings. The lighting drawings shall show
               the location, elevation, type of light fixture, and lux levels of the lighting system
               and shall depict illumination coverage along the perimeter of the terminal, process
               equipment, mooring points, and along paths/roads of access and egress to facilitate
               security monitoring and emergency response operations in accordance with federal
               regulations (e.g., 49 CFR 193, 29 CFR 1910, and 29 CFR 1926) and API 540 or
               approved equivalent.

         56.   Prior to construction of final design, CP2 LNG shall file a plan to implement the
               security risk analysis countermeasure recommendations and provide justification
               for any that would not be implemented as recommended.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291        Document #2073429             Filed: 09/04/2024     Page 119 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                             - 110 -

         57.   Prior to construction of final design, CP2 LNG shall file a plot plan of the final
               design showing all major equipment, structures, buildings, and impoundment
               systems.

         58.   Prior to construction of the final design, CP2 LNG shall file an evaluation of the
               final design that quantitatively confirms the congestion levels used in overpressure
               modeling, considering the volume blockage ratios with all of the equipment,
               structural components, and piping included. In addition, CP2 LNG shall file
               details for mitigation of overpressures onto the emergency diesel generators and
               any other significant components, unless final overpressure calculations
               demonstrate this is not necessary.

         59.   Prior to construction of final design, CP2 LNG shall file three-dimensional plant
               drawings to confirm plant layout for maintenance, access, egress, and the extent
               and density of congested areas used in overpressure modeling.

         60.   Prior to construction of final design, CP2 LNG shall file up-to-date process flow
               diagrams (PFDs), heat and material balances (HMBs), and piping and instrument
               diagrams (P&IDs) including vendor P&IDs. The HMBs shall demonstrate a peak
               export rate of 28 million metric tonnes per annum. The P&IDs shall include the
               following information:

               a.     equipment tag number, name, size, duty, capacity, and design conditions;

               b.     equipment insulation type and thickness;

               c.     storage tank pipe penetration size and nozzle schedule;

               d.     valve high pressure side and internal and external vent locations;

               e.     piping with line number, piping class specification, size, and insulation type
                      and thickness;

               f.     piping specification breaks and insulation limits;

               g.     all control and manual valves numbered;

               h.     relief valves with size and set points; and

               i.     drawing revision number and date.

         61.   Prior to construction of final design, CP2 LNG shall file P&IDs, specifications,
               and procedures that clearly show and specify the tie-in details required to safely
               connect subsequently constructed facilities with the operational facilities.

         62.   Prior to construction of final design, CP2 LNG shall file a car seal and lock
Document Accession #: 20240627-3107          Filed Date: 06/27/2024
       USCA Case #24-1291       Document #2073429             Filed: 09/04/2024      Page 120 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 111 -

               philosophy and car seal and lock program, including a list of all car-sealed and
               locked valves consistent with the P&IDs. The car seal and lock program shall
               include monitoring and periodically reviewing correct car seal and lock placement
               and valve position.

         63.   Prior to construction of final design, CP2 LNG shall file information to verify
               how the EPC contractor has addressed all FEED hazard identification (HAZID)
               study recommendations.

         64.   Prior to construction of final design, CP2 LNG shall file a hazard and
               operability review of the final design P&IDs, a list of the resulting
               recommendations, and actions taken on the recommendations. The issued for
               construction P&IDs shall incorporate the hazard and operability review
               recommendations and justification shall be provided for any recommendations that
               are not implemented.

         65.   Prior to construction of final design, CP2 LNG shall file information to
               demonstrate adherence to NFPA 59A (2019) Chapter 10 or approved equivalent,
               and, or including, the following information for the final design of the LNG
               transfer pipe-in-pipe systems:

               a.    the detailed design, materials of construction, and a plot plan layout of the
                     pipe-in-pipe system, including identification of all conventional process
                     lines extending from or attached to the pipe-in-pipe, as well as the locations
                     of any reliefs, instrumentation or other connections along the inner or outer
                     pipes;

               b.    an assessment of the vapor production and vapor handling capacities within
                     the annular space during a full inner pipe rupture or smaller release into the
                     outer pipe;

               c.    stress analysis (thermal, mechanical, seismic, etc.) for the pipe-in-pipe
                     systems, including the differential stresses between the inner pipe and outer
                     pipe for a full inner pipe rupture, or any smaller release, at any location
                     along the system;

               d.    an evaluation demonstrating that pressure surge events will not exceed the
                     design pressures;

               e.    leak testing details, including pressures, for the outer pipe, consistent with
                     American Society of Mechanical Engineers (ASME) B31.3;

               f.    details of the maintenance procedures that will be followed over the life of
                     the facility to determine that the outer pipe will be continuing to adequately
                     serve as spill containment;
Document Accession #: 20240627-3107          Filed Date: 06/27/2024
       USCA Case #24-1291       Document #2073429              Filed: 09/04/2024      Page 121 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 112 -

               g.    procedures for purging or draining LNG from the outer pipe;

               h.    details of loading and any external features that will protect against external
                     common cause failures of the inner and outer pipes, including resulting
                     stresses during horizontal directional drilling and fabrication processes;

               i.    drawings and calculations for the sizing and configuration of any pressure
                     relief for the annular space of the pipe-in-pipe and for the inner pipe in case
                     of isolation while containing LNG; and

               j.    plans to detect and monitor the LNG transfer line for leak monitoring.

         66.   Prior to construction of final design, CP2 LNG shall provide a check valve
               upstream of the acid gas removal column to prevent backflow or provide a
               dynamic simulation that shows that upon plant shutdown, the vertical piping
               segment would be sufficient for this purpose.

         67.   Prior to construction of final design, CP2 LNG shall include LNG tank fill flow
               measurement with high flow alarm.

         68.   Prior to construction of final design, CP2 LNG shall specify the discretionary
               vent valve be operable through the Distributed Control System (DCS). In
               addition, car sealed open manual block valves shall be provided upstream and
               downstream of the discretionary vent valve. CP2 LNG shall also specify a
               discretionary vent valve on each LNG storage tank to safely vent pressure when
               the tank is isolated from the common boil-off gas (BOG) system.

         69.   Prior to construction of final design, CP2 LNG shall file the safe operating
               limits (upper and lower), alarm and shutdown set points for all instrumentation
               (e.g., temperatures, pressures, flows, and compositions).

         70.   Prior to construction of final design, CP2 LNG shall file cause-and-effect
               matrices for the process instrumentation, fire and gas detection system, and
               emergency shutdown system. The cause-and-effect matrices shall include alarms
               and shutdown functions, details of the voting and shutdown logic, and set points.

         71.   Prior to construction of final design, CP2 LNG shall specify that all emergency
               shutdown (ESD) valves are to be equipped with open and closed position switches
               connected to the DCS/safety instrument system (SIS).

         72.   Prior to construction of final design, CP2 LNG shall file an up-to-date
               equipment list, process and mechanical data sheets, and specifications. The
               specifications shall include:

               a.    building specifications (e.g., control buildings, electrical buildings,
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291        Document #2073429              Filed: 09/04/2024      Page 122 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 113 -

                      compressor buildings, storage buildings, pressurized buildings, ventilated
                      buildings, blast resistant buildings);

               b.     mechanical specifications (e.g., piping, valve, insulation, rotating
                      equipment, heat exchanger, storage tank and vessel, other specialized
                      equipment);

               c.     electrical and instrumentation specifications (e.g., power system, control
                      system, SIS, cable, other electrical and instrumentation); and

               d.     security and fire safety specifications (e.g., security, passive protection,
                      hazard detection, hazard control, firewater).

         73.   Prior to construction of final design, CP2 LNG shall file a list of all codes and
               standards and the final specification document number where they are referenced.

         74.   Prior to construction of final design, CP2 LNG shall file complete specifications
               and drawings of the proposed LNG tank design and installation.

         75.   Prior to construction of final design, CP2 LNG shall file an evaluation of
               emergency shutdown valve closure times. The evaluation shall account for the
               time to detect an upset or hazardous condition, notify plant personnel, and close
               the emergency shutdown valve(s).

         76.   Prior to construction of final design, CP2 LNG shall file an evaluation of
               dynamic pressure surge effects from valve opening and closure times and pump
               operations that demonstrate that the surge effects do not exceed the design
               pressures.

         77.   Prior to construction of final design, CP2 LNG shall file a pipe stress analysis
               for critical or potential higher consequence lines that evaluates all loads in
               ASME B31.3 (2016 edition and after), including but not limited to consideration
               of hazardous fluid lines that are cryogenic, high temperature, subject to slug flow,
               and that include 2-phase flow. CP2 LNG shall also demonstrate, for hazardous
               fluids, piping and piping nipples 2 inches or less in diameter are designed to
               withstand external loads, including vibrational loads in the vicinity of rotating
               equipment and operator live loads in areas accessible by operators.

         78.   Prior to construction of final design, CP2 LNG shall clearly specify the
               responsibilities of the LNG tank contractor and the Engineering Procurement and
               Construction (EPC) contractor for the piping associated with the LNG storage
               tank.

         79.   Prior to construction of final design, CP2 LNG shall file the sizing basis and
               capacity for the final design of the flares and/or vent stacks as well as the pressure
Document Accession #: 20240627-3107          Filed Date: 06/27/2024
       USCA Case #24-1291        Document #2073429             Filed: 09/04/2024     Page 123 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                             - 114 -

               and vacuum relief valves for major process equipment, vessels, and storage tanks.

         80.   Prior to construction of final design, CP2 LNG shall specify that the common,
               non-spared process vessels are installed with spare pressure relief valves to ensure
               overpressure protection during relief valve testing or maintenance.

         81.   Prior to construction of final design, CP2 LNG shall file an updated fire
               protection evaluation of the proposed facilities. A copy of the evaluation, a list of
               recommendations and supporting justifications, and actions taken on the
               recommendations shall be filed. The evaluation shall justify the type, quantity,
               and location of hazard detection and hazard control, passive fire protection,
               emergency shutdown and depressurizing systems, firewater, and emergency
               response equipment, training, and qualifications in accordance with NFPA 59A
               (2001). The justification for the flammable and combustible gas detection and
               flame and heat detection systems shall be in accordance with International Society
               of Automation (ISA) 84.00.07 or approved equivalent methodologies and would
               need to demonstrate 90 % or more of releases (unignited and ignited) that could
               result in an off-site or cascading impact would be detected by two or more
               detectors and result in isolation and de-inventory within 10 minutes. The analysis
               shall take into account the set points, voting logic, wind speeds, and wind
               directions. The justification for firewater shall provide calculations for all
               firewater demands based on design densities, surface area, and throw distance as
               well as specifications for the corresponding hydrant and monitors needed to reach
               and cool equipment.

         82.   Prior to construction of final design, CP2 LNG shall file spill containment
               system drawings with dimensions and slopes of curbing, trenches, impoundments,
               tertiary containment and capacity calculations considering any foundations and
               equipment within impoundments, as well as the sizing and design of the down-
               comers. The spill containment drawings shall show containment for all hazardous
               fluids including all liquids handled above their flashpoint, from the largest flow
               from a single line for 10 minutes, including de-inventory, or the maximum liquid
               from the largest vessel (or total of impounded vessels) or otherwise demonstrate
               that providing spill containment would not significantly reduce the flammable
               vapor dispersion or radiant heat consequences of a spill. Any elevated stainless
               steel that would convey spills of cold liquefied gases shall be demonstrated
               suitable to handle the thermal shock combined with any applicable jetting forces
               of a pressurized release.

         83.   Prior to construction of final design, CP2 LNG shall file an analysis that
               demonstrates the flammable vapor dispersion from design spills will be prevented
               from dispersing underneath the elevated jetty control room, or the control room
               will be able to withstand an overpressure due to ignition of the flammable vapor
               that disperses underneath the elevated jetty control room.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291        Document #2073429             Filed: 09/04/2024      Page 124 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 115 -

         84.   Prior to construction of final design, CP2 LNG shall file electrical area
               classification drawings, including cross sectional drawings. The drawings shall
               demonstrate compliance with NFPA 59A, NFPA 70, NFPA 497, and API RP 500,
               or approved equivalents. In addition, the drawings shall include revisions to the
               electrical area classification design or provide technical justification that supports
               the electrical area classification using most applicable API RP 500 figures (i.e.,
               figures 20 and 21) or hazard modeling of various release rates from equivalent
               hole sizes and wind speeds (see NFPA 497 release rate of 1 lb-mole/minute).

         85.   Prior to construction of final design, CP2 LNG shall file analysis of the
               buildings containing hazardous fluids and the ventilation calculations that limit
               concentrations below the lower flammable limits (LFL) (e.g., 25% LFL),
               including an analysis of off gassing of hydrogen in battery rooms, and shall also
               provide hydrogen detectors that alarm (e.g., 20 to 25% LFL) and initiate
               mitigative actions (e.g., 40 to 50% LFL) or alarms in the event the ventilation is
               not functioning as designed, in accordance with NFPA 59A and NFPA 70, or
               approved equivalents.

         86.   Prior to construction of final design, CP2 LNG shall file drawings and details of
               how process seals or isolations installed at the interface between a flammable fluid
               system and an electrical conduit or wiring system meet the requirements of
               NFPA 59A (2001) and NFPA 70 (1999 or 2020, as applicable).

         87.   Prior to construction of final design, CP2 LNG shall file details of an air gap or
               vent installed downstream of process seals or isolations installed at the interface
               between a flammable fluid system and an electrical conduit or wiring system.
               Each air gap shall vent to a safe location and be equipped with a leak detection
               device that shall continuously monitor for the presence of a flammable fluid, alarm
               the hazardous condition, and shut down the appropriate systems. Alternatively,
               CP2 LNG shall file details on a system providing an approved equivalent
               protection, in accordance with NFPA 59A (2023 edition), from the migration of
               flammable fluid through the electrical conduit or wiring.

         88.   Prior to construction of final design, CP2 LNG shall file complete drawings and
               a list of the hazard detection equipment. The drawings shall clearly show the
               location and elevation of all detection equipment as well as their coverage area.
               The list shall include the instrument tag number, type, manufacturer, model,
               location, alarm indication locations, and shutdown functions of the hazard
               detection equipment.

         89.   Prior to construction of final design, CP2 LNG shall file a technical review of
               facility design that:

               a.     identifies all combustion/ventilation air intake equipment; and
Document Accession #: 20240627-3107          Filed Date: 06/27/2024
       USCA Case #24-1291        Document #2073429             Filed: 09/04/2024     Page 125 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                             - 116 -

               b.     demonstrates that these areas are adequately covered by flammable gas
                      detection devices and applicable toxic gas detection devices, and indicates
                      how these devices would isolate or shutdown any combustion or ventilation
                      air intake equipment whose continued operation could add to or sustain an
                      emergency.

         90.   Prior to construction of final design, CP2 LNG shall file a design that includes
               hazard detection suitable to detect high temperatures and smoldering combustion
               products in electrical buildings and control room buildings.

         91.   Prior to construction of final design, CP2 LNG shall file an evaluation of the
               voting logic and voting degradation for hazard detectors.

         92.   Prior to construction of final design, CP2 LNG shall file a list of alarm and
               shutdown set points for all hazard detectors that account for the calibration gas of
               the hazard detectors when determining the lower flammable limit set points for
               methane, ethylene, propane, isopentane, and condensate.

         93.   Prior to construction of final design, CP2 LNG shall file a list of alarm and
               shutdown set points for all hazard detectors that account for the calibration gas of
               hazard detectors when determining the set points for toxic components such as
               condensate and hydrogen sulfide.

         94.   Prior to construction of final design, CP2 LNG shall file a drawing showing the
               location of the emergency shutdown buttons, including but not limited to the
               refrigerant storage, LNG storage areas and area/unit emergency isolation and
               equipment shutdown. Emergency shutdown buttons shall be easily accessible,
               conspicuously labeled, and located in an area which would be accessible during an
               emergency.

         95.   Prior to construction of final design, CP2 LNG shall file facility plan drawings
               and a list of the fixed and wheeled dry-chemical, hand-held fire extinguishers, and
               other hazard control equipment. Plan drawings shall clearly show the location by
               tag number of all fixed, wheeled, and hand-held extinguishers and shall
               demonstrate the spacing of extinguishers meet prescribed NFPA 10 travel
               distances. The list shall include the equipment tag number, type, manufacturer
               and model, capacity, equipment covered, discharge rate, and automatic and
               manual remote signals initiating discharge of the units and shall demonstrate they
               meet NFPA 59A.

         96.   Prior to construction of final design, CP2 LNG shall file drawings and
               specifications for the structural passive protection systems to protect equipment
               and supports from low temperature releases below minimum design metal
               temperatures.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429             Filed: 09/04/2024     Page 126 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 117 -

         97.    Prior to construction of final design, CP2 LNG shall file calculations or test
                results for the structural passive protection systems to protect equipment and
                supports from low temperature releases below minimum design metal
                temperatures.

         98.    Prior to construction of final design, CP2 LNG shall file drawings and
                specifications for the structural passive protection systems to protect equipment
                and supports from pool fires and from jet fires of design spills that may exacerbate
                the initial hazard, as well as for electrical and control equipment that activate
                emergency systems to protect this equipment from a minimum 20-minute
                Underwrites Laboratories Inc. (UL) 1709 fire exposure.

         99.    Prior to construction of final design, CP2 LNG shall file a detailed quantitative
                analysis to demonstrate that adequate mitigation would be provided for each
                pressure vessel that could fail within the 4,000 BTU/ft2-hr zone from pool or jet
                fires; each critical structural component (including the LNG marine vessel) and
                emergency equipment item that could fail within the 4,900 BTU/ft2-hr zone from a
                pool or jet fire; and each occupied building that could expose unprotected
                personnel within the 1,600 BTU/ft2-hr zone from a pool or jet fire. Trucks at truck
                transfer stations shall be included in the analysis of potential pressure vessel
                failures, as well as measures needed to prevent cascading impact due to the 10-
                minute sizing spill at the marine area. A combination of passive and active
                protection for pool fires and passive and/or active protection for jet fires shall be
                provided and demonstrate the effectiveness and reliability. Effectiveness of
                passive mitigation shall be supported by calculations or test results for the
                thickness limiting temperature rise over the fire duration, and active mitigation
                shall be supported by reliability information by calculations or test results, such as
                demonstrating flow rates and durations of any cooling water would mitigate the
                heat absorbed by the component. The total firewater demand shall account for all
                components that could fail due to a pool or jet fire.

         100.   Prior to construction of final design, CP2 LNG shall file an evaluation and
                associated specifications, drawings, and datasheets for transformers and
                transformer fluid demonstrating prevention of cascading damage of transformers
                (e.g., fire walls or spacing) in accordance with NFPA 850 or approved equivalent.

         101.   Prior to construction of final design, CP2 LNG shall provide additional
                information on final design for any blast walls, hardened structures, and blast
                resistant design, including supporting hazard analysis and building risk assessment
                studies, in order to prevent cascading damage.

         102.   Prior to construction of final design, CP2 LNG shall file facility plan drawings
                showing the proposed location of the firewater systems. Plan drawings shall
                clearly show the location of firewater piping, post indicator and sectional valves,
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429             Filed: 09/04/2024      Page 127 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 118 -

                and the location and area covered by each monitor, hydrant, hose, water curtain,
                deluge system, water-mist system, and sprinkler. The drawings shall demonstrate
                that each process area, fire zone, or other sections of piping with several users can
                be isolated with post indicator or sectional valves in accordance with NFPA 24
                (2013 or thereafter) or approved equivalent, and that firewater coverage is
                provided by at least two monitors or hydrants with sufficient firewater flow to cool
                exposed surfaces subjected to a fire. The drawings shall also include piping and
                instrumentation diagrams of the firewater systems. Drawings of the sprinkler
                system design shall show coverage in applicable buildings per NFPA 850 and in
                applicable closed roofed buildings around the site, per NFPA 13.

         103.   Prior to construction of final design, CP2 LNG shall specify that the firewater
                pump shelter is designed to remove the largest firewater pump or other component
                for maintenance with an overhead or external crane.

         104.   Prior to construction of final design, CP2 LNG shall demonstrate that the
                firewater storage tank is in compliance with NFPA 22 or approved equivalent.

         105.   Prior to construction of final design, CP2 LNG shall specify that the firewater
                flow test meter is equipped with a transmitter and that a pressure transmitter is
                installed upstream of the flow transmitter. The flow transmitter and pressure
                transmitter shall be connected to the DCS and recorded.

         106.   Prior to construction of the final design, CP2 shall file the finalized seismic
                monitoring program for the project site. The seismic monitoring program shall
                comply with NFPA 59A (2019 edition) sections 8.4.14.10, 8.4.14.12, 8.4.14.12.1,
                8.4.14.12.2, and 8.4.14.13; ACI 376 (2011 edition) sections 10.7.5 and 10.8.4;
                U.S. Nuclear Regulatory Commission Regulatory Guide Regulatory Guide (RG)
                1.12 (Revision 3) sections 1 and 3 through 9 and all subsections, or approved
                equivalents. A free-field seismic monitoring device shall be included in the
                seismic monitoring program for the project site. The seismic monitoring program
                information must include installation location plot plan; description of the triaxial
                strong motion recorders or other seismic instrumentation; the proposed alarm set
                points and operating procedures (including emergency operating procedures) for
                control room operators in response to such alarms/data obtained from seismic
                instrumentation; and testing and maintenance procedures.

         107.   Prior to construction of final design, CP2 LNG shall file drawings of the storage
                tank piping support structure and support of horizontal piping at grade including
                pump columns, relief valves, pipe penetrations, instrumentation, and
                appurtenances.

         108.   Prior to construction of final design, CP2 LNG shall file the structural analysis
                of the LNG storage tank and outer containment demonstrating they are designed to
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429              Filed: 09/04/2024      Page 128 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 119 -

                withstand all loads and combinations.

         109.   Prior to construction of final design, CP2 LNG shall file an analysis of the
                structural integrity of the outer containment of the full containment LNG storage
                tank demonstrating it can withstand the radiant heat from an adjacent external
                pipeline fire or from an adjacent tank roof fire modeled using LNGFIRE3 or a
                similarly approved and validated pool fire model with application of uncertainty
                factors commensurate with its validation results including consideration of
                extrapolation. If the LNG storage tank walls will not be designed to withstand the
                predicted radiant heat for the maximum duration, CP2 LNG shall demonstrate
                firewater coverage, or other mitigation that can be remotely or automatically
                activated or manually activated from a safe accessible distance based on
                appropriate Personal Protective Equipment ratings, for the LNG storage tank walls
                in addition to any other firewater coverage needs.

         110.   Prior to construction of final design, CP2 LNG shall file an analysis of the
                structural integrity of the outer containment of the full containment LNG storage
                tank demonstrating it can withstand the thermal shock caused by a failure of the
                inner tank, including specification of the leakage rate.

         111.   Prior to construction of final design, CP2 LNG shall file the final wheel load
                evaluations for underground hazardous fluid lines, including feed gas lines within
                the plant, in accordance with API RP 1102 or approved equivalent, and address
                any recommendations.

         112.   Prior to commissioning, CP2 LNG shall file a detailed schedule for
                commissioning through equipment startup. The schedule shall include milestones
                for all procedures and tests to be completed: prior to introduction of hazardous
                fluids and during commissioning and startup. CP2 LNG shall file documentation
                certifying that each of these milestones has been completed before authorization to
                commence the next phase of commissioning and startup will be issued.

         113.   Prior to commissioning, CP2 LNG shall file detailed plans and procedures for:
                testing the integrity of onsite mechanical installation; functional tests; introduction
                of hazardous fluids; operational tests; and placing the equipment into service.

         114.   Prior to commissioning, CP2 LNG shall file settlement results during the
                hydrostatic tests of the LNG storage containers and shall file a plan to periodically
                thereafter to verify settlement is as expected and does not exceed the applicable
                criteria set forth in API 620 (12th edition), API 625 (1st edition), API 650 (13th
                edition), API 653 (5th edition), and ACI 376 (2011 edition) or approved
                equivalents. The program shall also specify what actions would be taken after
                various levels of seismic events.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429            Filed: 09/04/2024      Page 129 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 120 -

         115.   Prior to commissioning, CP2 LNG shall file the operation and maintenance
                procedures and manuals, as well as safety procedures, hot work procedures and
                permits, abnormal operating conditions procedures, simultaneous operations
                procedures, and management of change procedures and forms. The operational
                maintenance and testing procedures for fire protection components shall be in
                accordance with the current versions of the applicable standards listed in
                NPFA 59A (2019) or equivalent.

         116.   Prior to commissioning, CP2 LNG shall file a plan for clean-out, dry-out,
                purging, and tightness testing. This plan shall address the requirements of the
                American Gas Association’s Purging Principles and Practice, and shall provide
                justification if not using an inert or non-flammable gas for clean-out, dry-out,
                purging, and tightness testing.

         117.   Prior to commissioning, CP2 LNG shall tag all equipment, instrumentation, and
                valves in the field, including drain valves, vent valves, main valves, and car-sealed
                or locked valves.

         118.   Prior to commissioning, CP2 LNG shall file a plan to maintain a detailed training
                log to demonstrate that operating, maintenance, and emergency response staff
                have completed the required training. In addition, CP2 LNG shall file signed
                documentation that demonstrates training has been conducted, including ESD and
                response procedures, prior to the respective operation.

         119.   Prior to commissioning, CP2 LNG shall file the procedures for pressure/leak
                tests which address the requirements of ASME Boiler and Pressure Vessel Code
                (BPVC) Section VIII and ASME B31.3. In addition, CP2 LNG shall file a line list
                of pneumatic and hydrostatic test pressures.

         120.   Prior to introduction of hazardous fluids, CP2 LNG shall complete and
                document a pre-startup safety review to ensure that installed equipment meets the
                design and operating intent of the facility. The pre-startup safety review shall
                include any changes since the last hazard review, operating procedures, and
                operator training. A copy of the review with a list of recommendations, and
                actions taken on each recommendation, shall be filed.

         121.   Prior to introduction of hazardous fluids, CP2 LNG shall complete and
                document all pertinent tests (Factory Acceptance Tests, Site Acceptance Tests,
                Site Integration Tests) associated with the DCS and SIS that demonstrates full
                functionality and operability of the system.

         122.   Prior to introduction of hazardous fluids, CP2 LNG shall develop and
                implement an alarm management program consistent with ISA 18.2 (2016 edition)
                or approved equivalent to reduce alarm complacency and maximize the
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291        Document #2073429              Filed: 09/04/2024    Page 130 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                             - 121 -

                effectiveness of operator response to alarms.

         123.   Prior to introduction of hazardous fluids, CP2 LNG shall complete and
                document clean agent acceptance tests.

         124.   Prior to introduction of hazardous fluids, CP2 LNG shall complete and
                document a firewater pump acceptance test and firewater monitor and hydrant
                coverage test. The actual coverage area from each monitor and hydrant shall be
                shown on facility plot plan(s).

         125.   Prior to introduction of hazardous fluids, CP2 LNG shall complete and
                document sprinkler system acceptance tests.

         126.   CP2 LNG shall file a request for written authorization from the Director of OEP
                prior to unloading or loading the first LNG commissioning cargo. After
                production of first LNG, CP2 LNG shall file weekly reports on the commissioning
                of the proposed systems that detail the progress toward demonstrating the facilities
                can safely and reliably operate at or near the design production rate. The reports
                shall include a summary of activities, problems encountered, and remedial actions
                taken. The weekly reports shall also include the latest commissioning schedule,
                including projected and actual LNG production by each liquefaction train, LNG
                storage inventories in each storage tank, and the number of anticipated and actual
                LNG commissioning cargoes, along with the associated volumes loaded or
                unloaded. Further, the weekly reports shall include a status and list of all planned
                and completed safety and reliability tests, work authorizations, and punch list
                items. Problems of significant magnitude shall be reported to the FERC within 24
                hours.

         127.   Prior to commencement of service, CP2 LNG shall file a request for written
                authorization from the Director of OEP. Such authorization would only be
                granted following a determination by the U.S. Coast Guard, under its authorities
                under the Ports and Waterways Safety Act, the Magnuson Act, the MTSA of 2002,
                and the Security and Accountability For Every Port Act, that appropriate measures
                to ensure the safety and security of the facility and the waterway have been put
                into place by CP2 LNG or other appropriate parties.

         128.   Prior to commencement of service, CP2 LNG shall notify the FERC staff of any
                proposed revisions to the security plan and physical security of the plant.

         129.   Prior to commencement of service, CP2 LNG shall label piping with fluid
                service and direction of flow in the field consistent with ASME A13.1 (2020
                edition) or approved equivalent, in addition to the pipe labeling requirements of
                NFPA 59A (2001).
Document Accession #: 20240627-3107          Filed Date: 06/27/2024
       USCA Case #24-1291        Document #2073429            Filed: 09/04/2024     Page 131 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                            - 122 -

         130.   Prior to commencement of service, CP2 LNG shall provide plans for any
                preventative and predictive maintenance program that performs periodic or
                continuous equipment condition monitoring.

         131.   Prior to commencement of service, CP2 LNG shall develop procedures for
                offsite contractors’ responsibilities, restrictions, monitoring, training, and
                limitations and for supervision of these contractors and their tasks by CP2 LNG
                staff. Specifically, the procedures shall address:

                a.    selecting a contractor, including obtaining and evaluating information
                      regarding the contract employer's safety performance and programs;

                b.    informing contractors of the known potential hazards, including flammable
                      and toxic release, explosion, and fire, related to the contractor's work and
                      systems they are working on;

                c.    developing and implementing provisions to control and monitor the
                      entrance, presence, and exit of contract employers and contract employees
                      from process areas, buildings, and the plant;

                d.    developing and implementing safe work practices for control of personnel
                      safety hazards, including lockout/tagout, confined space entry, work
                      permits, hot work, and opening process equipment or piping;

                e.    developing and implementing safe work practices for control of process
                      safety hazards, including identification of layers of protection in systems
                      being worked on, recognizing abnormal conditions on systems they are
                      working on, and re-instatement of layers of protection, including ensuring
                      bypass, isolation valve, and car-seal programs and procedures are being
                      followed;

                f.    developing and implementing provisions to ensure contractors are trained
                      on the emergency action plans and that they are accounted for in the event
                      of an emergency; and

                g.    monitoring and periodically evaluating the performance of contract
                      employers in fulfilling their obligations above, including successful and
                      safe completion of work and re-instatement of all layers of protection.

         In addition, we recommend that the following measures shall apply throughout the
         life of the CP2 LNG project.

         132.   The facility shall be subject to regular FERC staff technical reviews and site
                inspections on at least an annual basis or more frequently as circumstances
                indicate. Prior to each FERC staff technical review and site inspection, CP2 LNG
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429              Filed: 09/04/2024      Page 132 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 - 123 -

                shall respond to a specific data request including information relating to possible
                design and operating conditions that may have been imposed by other agencies or
                organizations. Up-to-date detailed P&IDs reflecting facility modifications and
                provision of other pertinent information not included in the semi-annual reports
                described below, including facility events that have taken place since the
                previously submitted semi-annual report, shall be submitted.

         133.   Semi-annual operational reports shall be filed with the Secretary to identify
                changes in facility design and operating conditions; abnormal operating
                experiences; activities (e.g., ship arrivals, quantity and composition of imported
                and exported LNG, liquefied and vaporized quantities, boil off/flash gas); and
                plant modifications, including future plans and progress thereof. Abnormalities
                shall include, but not be limited to, unloading/loading/shipping problems, potential
                hazardous conditions from offsite vessels, storage tank stratification or rollover,
                geysering, storage tank pressure excursions, cold spots on the storage tank, storage
                tank vibrations and/or vibrations in associated cryogenic piping, storage tank
                settlement, significant equipment or instrumentation malfunctions or failures, non-
                scheduled maintenance or repair (and reasons therefore), relative movement of
                storage tank inner vessels, hazardous fluids releases, fires involving hazardous
                fluids and/or from other sources, negative pressure (vacuum) within a storage
                tank, and higher than predicted boil off rates. Adverse weather conditions and the
                effect on the facility also shall be reported. Reports shall be submitted within 45
                days after each period ending June 30 and December 31. In addition to the
                above items, a section entitled “Significant Plant Modifications Proposed for the
                Next 12 Months (dates)” shall be included in the semi-annual operational reports.
                Such information would provide the FERC staff with early notice of anticipated
                future construction/maintenance at the LNG facilities.

         134.   In the event the temperature of any region of the LNG storage container, including
                any secondary containment and imbedded pipe supports, becomes less than the
                minimum specified operating temperature for the material, the Commission shall
                be notified within 24 hours and procedures for corrective action shall be
                specified.

         135.   Significant non-scheduled events, including safety-related incidents (e.g., LNG,
                condensate, refrigerant, or natural gas releases; fires; explosions; mechanical
                failures; unusual over pressurization; and major injuries) and security-related
                incidents (e.g., attempts to enter site, suspicious activities) shall be reported to the
                FERC staff. In the event that an abnormality is of significant magnitude to
                threaten public or employee safety, cause significant property damage, or interrupt
                service, notification shall be made immediately, without unduly interfering with
                any necessary or appropriate emergency repair, alarm, or other emergency
                procedure. In all instances, notification shall be made to the FERC staff within 24
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291          Document #2073429            Filed: 09/04/2024      Page 133 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 124 -

               hours. This notification practice shall be incorporated into the liquefaction
               facility’s emergency plan. Examples of reportable hazardous fluids-related
               incidents include:

               a.     fire;

               b.     explosion;

               c.     estimated property damage of $50,000 or more;

               d.     death or personal injury necessitating in-patient hospitalization;

               e.     release of hazardous fluids for 5 minutes or more;

               f.     unintended movement or abnormal loading by environmental causes, such
                      as an earthquake, landslide, or flood, that impairs the serviceability,
                      structural integrity, or reliability of an LNG facility that contains, controls,
                      or processes hazardous fluids;

               g.     any crack or other material defect that impairs the structural integrity or
                      reliability of an LNG facility that contains, controls, or processes hazardous
                      fluids;

               h.     any malfunction or operating error that causes the pressure of a pipeline or
                      LNG facility that contains or processes hazardous fluids to rise above its
                      maximum allowable operating pressure (or working pressure for LNG
                      facilities) plus the build-up allowed for operation of pressure-limiting or
                      control devices;

               i.     a leak in an LNG facility that contains or processes hazardous fluids that
                      constitutes an emergency;

               j.     inner tank leakage, ineffective insulation, or frost heave that impairs the
                      structural integrity of an LNG storage tank;

               k.     any safety-related condition that could lead to an imminent hazard and
                      cause (either directly or indirectly by remedial action of the operator), for
                      purposes other than abandonment, a 20 % reduction in operating pressure
                      or shutdown of operation of a pipeline or an LNG facility that contains or
                      processes hazardous fluids;

               l.     safety-related incidents from hazardous fluids transportation occurring at or
                      en route to and from the LNG facility; or

               m.     an event that is significant in the judgment of the operator and/or
Document Accession #: 20240627-3107          Filed Date: 06/27/2024
       USCA Case #24-1291       Document #2073429            Filed: 09/04/2024     Page 134 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                           - 125 -

                     management even though it did not meet the above criteria or the guidelines
                     set forth in an LNG facility’s incident management plan.

               In the event of an incident, the Director of OEP has delegated authority to take
               whatever steps are necessary to ensure operational reliability and to protect human
               life, health, property, or the environment, including authority to direct the LNG
               facility to cease operations. Following the initial company notification, the FERC
               staff would determine the need for a separate follow-up report or follow up in the
               upcoming semi-annual operational report. All company follow-up reports shall
               include investigation results and recommendations to minimize a reoccurrence of
               the incident.
Document Accession #: 20240627-3107              Filed Date: 06/27/2024
       USCA Case #24-1291          Document #2073429             Filed: 09/04/2024   Page 135 of 172



                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION

         Venture Global CP2 LNG, LLC                                   Docket Nos. CP22-21-000
         Venture Global CP Express, LLC                                            CP22-22-000


                                              (Issued June 27, 2024)

         CLEMENTS, Commissioner, dissenting:

                I dissent from today’s Order1 because it contravenes sections 3 and 7 of the
         Natural Gas Act (NGA),2 the National Environmental Policy Act (NEPA),3 and the
         Administrative Procedure Act (APA).4 The Order’s conclusions that the CP2 LNG
         Project is not inconsistent with the public interest5 and that the CP Express Pipeline
         Project is required by the public convenience and necessity6 cannot be sustained for
         several reasons.7 First, the Order fails to meaningfully assess these Projects’ enormous
               1
                   Venture Global CP2 LNG, LLC, 187 FERC ¶ 61,199 (2024) (Order).
               2
                   15 U.S.C. §§ 717b, 717f.
               3
                   42 U.S.C. § 4321 et seq.
               4
                   5 U.S.C. § 551 et seq.
               5
                  Order, 187 FERC ¶ 61,199 at PP 32, 199. I agree with commenters that the
         bifurcation of authority between the Commission and the Department of Energy (DOE)
         with respect to authorizations under section 3 of the Natural Gas Act leaves us no clear
         standard for making our public interest determination. See, e.g., Better Bayou et al.
         March 13, 2023 Comments on Draft Environmental Impact Statement (DEIS) at 1-3;
         NRDC March 13, 2023 Comments on DEIS at 2-3; Niskanen Center March 13, 2023
         Comments on DEIS at 7-9. We have no record on the economic or other benefits from
         LNG exports and therefore cannot weigh them against the adverse impacts from
         construction and operation of the CP2 LNG Project. I reiterate my call for Congressional
         clarification of how the Commission is to make its public interest determination. See
         Commonwealth LNG, LLC, 181 FERC ¶ 61,143 (2022) (Clements, Comm’r, concurring
         at P 5). However, in this case, the CP2 LNG Project’s adverse environmental and
         socioeconomic impacts are so great that I am compelled to find that approving the project
         is inconsistent with the public interest.
               6
                   Order, 187 FERC ¶ 61,199 at P 200.
               7
                   The CP2 LNG Project and CP Express Pipeline Project are collectively referred
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429         Filed: 09/04/2024    Page 136 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               -2-

         greenhouse gas (GHG) emissions and does not explain whether or how the Commission
         factored them into its public interest determinations.8 Second, the Commission’s analysis
         of cumulative air pollutant emissions is deficient, both procedurally and substantively.
         The public has had no access to critical new air impacts modeling information, which
         should have been addressed in a supplemental environmental impact statement (SEIS)
         with full opportunity for public review and comment. Third, the Order improperly
         discounts impacts to commercial fishing businesses, which will likely be significant.
         Finally, the Commission failed to adequately consider how the full range of adverse
         project impacts will affect Environmental Justice (EJ) communities.

                                Failure to Assess and Consider GHG Impacts

                 At the outset, it is helpful to summarize the Commission’s legal obligations under
         the NGA, NEPA, and the APA with respect to the consideration of a proposed project’s
         GHG emissions. A number of cases have recognized that the Commission must consider
         the impacts of GHG emissions in its public interest determinations under the NGA.9
         Those cases are consistent with the many precedents holding that environmental impacts
         are relevant to the Commission’s public interest determinations under the statute.10

         to below as the Projects.
                8
                    Order, 187 FERC ¶ 61,199 at PP 178-80.
                9
                  See Vecinos Para el Bienstar de la Comunidad Costera v. FERC, 6 F.4th 1321,
         1329, 1331 (D.C. Cir. 2021) (Vecinos) (finding the Commission’s analysis of climate
         change impacts deficient under both the NGA and NEPA and directing the Commission
         to revisit its public interest determination after correcting deficiencies); see also Del.
         Riverkeeper Network v. FERC, 45 F.4th 104, 109, 115 (D.C. Cir. 2022) (finding “the
         Commission’s NGA section 7 balancing of public benefits and adverse consequences
         reasonably accounted for potential environmental impacts” and noting that in some
         circumstances “[g]reenhouse gas emissions are a reasonably foreseeable effect of a
         pipeline project” that must be studied under NEPA); Food & Water Watch v. FERC, 28
         F.4th 277, 282 (D.C. Cir. 2022) (recognizing the NGA section 7 certificate process
         incorporates environmental review under NEPA, which includes analysis of downstream
         GHG emissions); Birckhead v. FERC, 925 F.3d 510, 518-19 (D.C. Cir. 2019) (affirming
         previous holdings that the Commission is the “legally relevant cause of the direct and
         indirect environmental effects of pipelines it approves,” including reasonably foreseeable
         GHG emissions (cleaned up)); Sierra Club v. FERC, 867 F.3d 1357, 1373 (D.C. Cir.
         2017) (addressing Commission’s treatment of GHG emissions and explaining that the
         Commission’s public convenience and necessity determination must weigh a project’s
         environmental effects).
                10
                  See, e.g., Ctr. for Biological Diversity v. FERC, 67 F.4th 1176, 1188 (D.C. Cir.
         2023) (holding that the Commission makes an appropriate NGA public interest
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429           Filed: 09/04/2024     Page 137 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               -3-

         Indeed, more than sixty years ago, the Supreme Court held that our predecessor, the
         Federal Power Commission, properly factored air pollution impacts into its public interest
         determination under section 7.11 In NAACP, the Supreme Court held that environmental
         protection is one purpose of the NGA.12

                 NEPA also requires the Commission to consider climate and other environmental
         impacts in deciding whether to approve a project application. As the Supreme Court has
         explained, NEPA’s EIS requirement “ensures that the agency, in reaching its decision,
         will have available, and will carefully consider, detailed information concerning
         significant environmental impacts . . .”13 The Commission’s obligations under the NGA
         and NEPA are intertwined. NEPA directs federal agencies “to the fullest extent possible”
         to interpret and administer their organic statutes in accordance with the environmental
         protection objectives set forth in NEPA.14 In requiring the Commission to consider
         environmental impacts in its substantive decision-making, NEPA gives content to the
         NGA’s broad “public interest” standard.15



         determination when it finds that a project has “substantial economic and commercial
         benefits” that are “not outweighed by the projected environmental impacts”); Sierra Club
         v. FERC, 827 F.3d 36, 42 (D.C. Cir. 2016) (“As required by the Natural Gas Act and
         NEPA, the Commission undertook an extensive review of the Freeport Projects.”); City
         of Oberlin v. FERC, 937 F.3d 599, 602 (D.C. Cir. 2019) (holding that “[a]s part of the
         Section 7 certificating process . . . the Commission must complete an environmental
         review of the proposed project under the National Environmental Policy Act” (emphasis
         added)); Minisink Residents for Env’t Pres. & Safety v. FERC, 762 F.3d 97, 106–11
         (D.C. Cir. 2014) (stating that FERC is obligated to consider alternatives to a proposed
         project that might better serve the public interest, including on the basis of their
         environmental impact, when issuing a certificate under section 7).
               11
                    Fed. Power Comm’n v. Transcon. Gas Pipe Line Corp., 365 U.S. 1, 5 (1961).
               12
                    NAACP v. Fed. Power Comm’n, 425 U.S. 662, 670 n.6 (1976).
               13
                 Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349 (1989)
         (Methow Valley) (emphasis added).
               14
                 42 U.S.C. § 4332; see also 42 U.S.C. § 4331 (setting forth NEPA’s
         environmental protection objectives).
               15
                  Cf. Vill. of Barrington v. Surface Transp. Bd., 636 F.3d 650, 665-66 (D.C. Cir.
         2011) (upholding agency’s interpretation of “public interest” in its organic statute to
         include environmental considerations given NEPA’s language and goals).
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429              Filed: 09/04/2024      Page 138 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                      -4-

                Of course, the Commission must do more than consider GHG impacts in its
         decision-making. The APA requires the Commission to provide a reasoned explanation
         of how it factored the GHG impacts into its substantive decision.16

                 Today’s order meets none of these statutory obligations. The Order does not and
         cannot meaningfully explain how the Commission factored the Projects’ GHG emissions
         into its decision, as the APA required it to do, because the Commission failed its duties
         under NEPA and the NGA to assess and weigh the impacts of those emissions.17

                The Commission’s legal errors begin with its deficient NEPA analysis. NEPA
         regulations and case law require the Commission to assess GHG-related environmental
         impacts. The Council on Environmental Quality’s (CEQ) regulations state that an EIS
         must discuss “[t]he environmental impacts of the proposed action and reasonable
         alternatives to the proposed action and the significance of those impacts.”18 The D.C.
         Circuit Court of Appeals recently held that the regulation does not require the
         Commission to label GHG emissions as significant or insignificant.19 However, NEPA
         nevertheless requires more than a mere recitation of general facts about climate change
         and quantification of emissions; the statute requires evaluation and analysis of




                16
                  See, e.g., SEC v. Chenery Corp., 318 U.S. 80, 94 (1943) (“[T]he orderly
         functioning of the process of review requires that the grounds upon which the
         administrative agency acted be clearly disclosed and adequately sustained.”); Del.
         Riverkeeper Network v. FERC, 753 F.3d 1304, 1313 (D.C. Cir. 2014) (“[A]n agency
         action will be set aside as arbitrary and capricious if it is not the product of ‘reasoned
         decisionmaking.’” (quoting Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm
         Mut. Auto. Ins. Co., 463 U.S. 29, 52 (1983) (State Farm))).
                17
                  In Vecinos, the D.C. Circuit Court of Appeals found the Commission must
         reconsider its NGA public interest determinations because they rested on a deficient EIS.
         See Vecinos, 6 F.4th at 1331.
                18
                   40 C.F.R. § 1502.16(a)(1) (2024); see also Sierra Club v. FERC, 867 F.3d 1357,
         1374 (D.C. Cir. 2017) (Sabal Trail) (recognizing CEQ regulations requires an EIS to
         discuss the significance of environmental impacts). The Commission’s regulations
         implementing NEPA provide that the Commission will comply with CEQ’s regulations
         under the statute. 18 C.F.R. § 380.1 (2024).
                19
                  See Food and Water Watch v. FERC, No. 22-1214, 2024 WL 2983833, at *6
         (D.C. Cir. 2024) (East 300).
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429          Filed: 09/04/2024     Page 139 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                -5-

         environmental impacts.20 Both the EIS for the Projects21 and today’s Order22 violate
         NEPA and CEQ’s regulations by failing to assess the nature and severity of
         environmental impacts that project-related GHG emissions will cause.

                Beyond failing its duties under NEPA, the Commission has not met its APA
         obligations because it nowhere explains whether or how the information on GHG
         emissions factored into its decision. For example, the Order compares project emissions
         to national and state emissions inventories and emission reduction goals but says nothing
         about how, if at all, the Commission assessed this information in deciding to authorize
         the Projects.23 The public—and a reviewing court—are left to guess what connection
         there might be between the information the EIS and Order provide on GHG emissions
         and the Commission’s public interest determinations under the NGA. In failing to
         articulate that connection, the Commission violated fundamental APA requirements.24

                 The Commission cannot excuse its non-compliance by claiming, as it does here,
         that there are no “accepted tools or methods for the Commission to use to determine
         significance” of the impacts of GHG emissions.25 That statement contradicts the

                20
                   See, e.g., 40 C.F.R. § 1502.1 (2024) (“Statements shall be concise, clear, and to
         the point, and shall be supported by evidence that the agency has made the necessary
         environmental analyses.”) (emphasis added); Reed v. Salazar, 744 F. Supp. 2d 98, 100
         (D.D.C. 2009) (“NEPA ‘requires that agencies assess the environmental consequences of
         federal projects by following certain procedures during the decision-making process.’”)
         (emphasis added) (quoting City of Alexandria v. Slater, 198 F.3d 862, 866 (D.C. Cir.
         1999))); 40 C.F.R. § 1502.15 (2024) (“The environmental impact statement may combine
         the description with evaluation of the environmental consequences.”) (emphasis added).
         The court in East 300 did not consider these requirements.
                21
                     Final EIS at 4-557 to 4-561.
                22
                     Order, 187 FERC ¶ 61,199 at PP 178-80.
                23
                     See id. at PP 171-73.
                24
                  See State Farm, 463 U.S. at 43 (“[T]he agency must examine the relevant data
         and articulate a satisfactory explanation for its action including a ‘rational connection
         between the facts found and the choice made.’” (emphasis added) (quoting Burlington
         Truck Lines, Inc. v. United States, 371 U.S. 156, 168 (1962))).
                25
                   Order, 187 FERC ¶ 61,199 at P 180. In addition to the reasons explained in the
         text of my dissent, I dissent from paragraphs 179-80 of the Order because they (1) reflect
         a final Commission decision that it cannot determine the significance of GHG emissions,
         despite the fact the Commission has never responded to comments in the GHG Policy
         Statement docket (Docket No. PL21-3) addressing methods for doing so; and (2) depart
Document Accession #: 20240627-3107         Filed Date: 06/27/2024
       USCA Case #24-1291       Document #2073429           Filed: 09/04/2024    Page 140 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                           -6-



         from previous Commission precedent without reasoned explanation, thereby violating the
         APA. In my concurrence in Transcon. Gas Pipe Line Co., 184 FERC ¶ 61,066 (2023)
         (Clements, Comm’r, concurring, at PP 2-3), I explained the history of the language,
         which the majority suddenly adopted in Driftwood Pipeline LLC, 183 FERC ¶ 61,049, at
         PP 61, 63 (2023) (Driftwood). I dissented from this language in Driftwood and every
         subsequent order in which it has appeared. See Driftwood, 183 FERC ¶ 61,049
         (Clements, Comm’r, dissenting in part at PP 2-3 & n.5); see also Gas Transmission Nw.
         LLC, 187 FERC ¶ 61,177 (2024) (Clements, Comm’r, dissenting at P 3); Tenn. Gas
         Pipeline Co., 187 FERC ¶ 61,136 (2004) (Clements, Comm’r, dissenting in part at P 2)
         Port Arthur LNG, LLC, 187 FERC ¶ 61,058 (2024) (Clements, Comm’r, dissenting in
         part at P 1); Great Basin Gas Transmission Co., 187 FERC ¶ 61,043 (2024) (Clements,
         Comm’r, dissenting in part at P 1); Fla. Gas Transmission Co., 187 FERC ¶ 61,042
         (2024) (Clements, Comm’r, dissenting in part at P 1); El Paso Nat. Gas Co., 187 FERC ¶
         61,041 (2024) (Clements, Comm’r, dissenting in part at P 1); Transcon. Gas Pipe Line
         Co., 187 FERC ¶ 61,024 (2024) (Clements, Comm’r, dissenting at P 1) (Transco); Gas
         Transmission Nw., LLC, 187 FERC ¶ 61,023 (2024) (Clements, Comm’r, dissenting at P
         28); E. Tenn. Nat. Gas, LLC, 186 FERC ¶ 61,210 (2024) (Clements, Comm’r, dissenting
         in part at PP 2-3); Transcon. Gas Pipe Line Co., 186 FERC ¶ 61,209 (2024) (Clements,
         Comm’r, dissenting in part at PP 2-3); N. Nat. Gas Co., 186 FERC ¶ 61,064 (2024)
         (Clements, Comm’r, dissenting in part at PP 2-3); Saguaro Connector Pipeline, LLC, 186
         FERC ¶ 61,114 (2024) (Clements, Comm’r, dissenting in part at PP 2-4); Tenn. Gas
         Pipeline Co., 186 FERC ¶ 61,113 (2024) (Clements, Comm’r, dissenting in part at PP 2-
         3); Transcon. Gas Pipe Line Co., 186 FERC ¶ 61,063 (2024) (Clements, Comm’r,
         dissenting in part at PP 2-3); Columbia Gas Transmission, LLC, 186 FERC ¶ 61,048
         (2024) (Clements, Comm’r, dissenting in part at PP 2-4); Transcon. Gas Pipe Line Co.,
         186 FERC ¶ 61,047 (2024) (Clements, Comm’r, dissenting at PP 8-9); Tenn. Gas
         Pipeline Co., 186 FERC ¶ 61,046 (2024) (Clements, Comm’r, dissenting in part at PP 1-
         2); ANR Pipeline Co., 185 FERC ¶ 61,191 (2023) (Clements, Comm’r, dissenting in part
         at PP 2-3); Transcon. Gas Pipe Line Co., 185 FERC ¶ 61,133 (2023) (Clements,
         Comm’r, dissenting in part at PP 2-4); Transcon. Gas Pipe Line Co., 185 FERC ¶ 61,130
         (2023) (Clements, Comm’r, dissenting in part at PP 2-3); Tex. LNG Brownsville LLC,
         185 FERC ¶ 61,079 (2023) (Clements, Comm’r, dissenting at PP 9-10); Rio Grande
         LNG, LLC, 185 FERC ¶ 61,080 (2023) (Clements, Comm’r, dissenting at PP 9-10); Gas
         Transmission Nw., LLC, 185 FERC ¶ 61,035 (2023) (Clements, Comm’r, concurring in
         part and dissenting in part at PP 7-8); WBI Energy Transmission, Inc., 185 FERC ¶
         61,036 (2023) (Clements, Comm’r, dissenting in part at PP 2-3); Venture Glob.
         Plaquemines LNG, LLC, 185 FERC ¶ 61,037 (2023) (Clements, Comm’r, dissenting in
         part at PP 2-3); Tex. E. Transmission, LP, 185 FERC ¶ 61,038 (2023) (Clements,
         Comm’r, dissenting in part at PP 2-3); Trailblazer Pipeline Co., 185 FERC ¶ 61,039
         (2023) (Clements, Comm’r, dissenting in part at PP 2-4); Equitrans, L.P., 185 FERC ¶
         61,040 (2023) (Clements, Comm’r, dissenting in part at PP 2-4); Port Arthur LNG Phase
         II, LLC, 184 FERC ¶ 61,184 (2023) (Clements, Comm’r, dissenting in part at PP 2-3);
Document Accession #: 20240627-3107              Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429            Filed: 09/04/2024     Page 141 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                  -7-

         Commission’s own precedent. In Northern Natural, the Commission found that it can
         determine the significance of GHG-related impacts by applying its “experience,
         judgment, and expertise,” just as it does for other types of environmental impacts.26
         Citing Supreme Court precedent, the Commission explained that the significance
         determination furthers NEPA’s purposes by “disclosing to the public and the relevant
         decisionmakers the extent of a project’s adverse environmental impacts.”27

                 I agree with parties in this docket who have stated that the Commission should
         have used the SC-GHG Protocol to assess the severity of the environmental impacts
         caused by the Projects’ GHG emissions.28 In another recent dissent, I explained in detail
         that the Commission’s continued refusal to use the SC-GHG Protocol in its substantive
         decision-making (rather than simply for general “informational purposes”) rests on
         outmoded reasoning that ignores important recent policy and scientific developments.29
         All of the points I made in that dissent apply here and I incorporate them by reference.

                The Order’s treatment of GHG impacts is especially objectionable because of the
         sheer scale of the Projects’ GHG emissions. The Projects’ annual emissions equate to


         Venture Glob. Calcasieu Pass, LLC, 184 FERC ¶ 61,185 (2023) (Clements, Comm’r,
         dissenting in part at PP 2-4); N. Nat. Gas Co., 184 FERC ¶ 61,186 (2023) (Clements,
         Comm’r, dissenting in part at PP 2-3); Tex. E. Transmission, LP, 184 FERC ¶ 61,187
         (2023) (Clements, Comm’r, dissenting in part at PP 2-4); Equitrans, LP, 183 FERC ¶
         61,200 (2023) (Clements, Comm’r dissenting at PP 2-3); Commonwealth LNG, LLC, 183
         FERC ¶ 61,173 (2023) (Clements, Comm’r, dissenting at PP 5-8); Rio Grande LNG,
         LLC, 183 FERC ¶ 61,046 (2023) (Clements, Comm’r, dissenting at PP 14-15); Tex. LNG
         Brownsville LLC, 183 FERC ¶ 61,047 (2023) (Clements, Comm’r, dissenting at PP 14-
         15).
                26
                     N. Nat. Gas Co., 174 FERC ¶ 61,189, at P 32 (2021) (Northern Natural).
                27
                     Id. at P 31 & n.47 (citing Dep’t of Transp. v. Pub. Citizen, 541 U.S. 752, 768
         (2004)).
                28
                 For a Better Bayou March 13, 2023 Comments on DEIS at 18-19; Niskanen
         Center March 13, 2023 Comments on DEIS at 39-42; NRDC March 13, 2023 Comments
         on DEIS at 10-12.
                29
                  Transco, 187 FERC ¶ 61,024 (Clements, Comm’r, dissenting at PP 9-17).
         While some courts have found that the Commission is not required to use the SC-GHG
         Protocol, the parties in those cases did not raise, nor did the courts consider, the points
         made in my dissent regarding recent policy and scientific developments supporting the
         protocol’s use.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429            Filed: 09/04/2024      Page 142 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 -8-

         putting more than 1,850,000 additional gas-fueled automobiles on the road each year.30
         Under any common sense understanding of the word, the Projects’ GHG emissions
         would have to be considered far more than “significant.” Yet the EIS and the Order fail
         to provide any analysis of the Projects’ incremental or cumulative climate impacts.31 As
         explained above, NEPA requires real analysis, not rote recitation of general facts about
         climate change. Moreover, the depth of the analysis must be commensurate with the
         magnitude of the impact.32 Here, both the EIS and the Order are silent as to the degree or
         severity of the expected climate impacts33 and bereft of any analysis of climate impacts
         the Projects will cause. Consequently, the Commission simply has failed to take the
         “hard look” at climate impacts that NEPA requires.34

                In summary, without assessing the Projects’ climate impacts, the Commission
         cannot credibly claim to have considered them in its substantive decision-making, as both
         NEPA and the NGA required it to do. And it is beyond dispute that the Commission
         nowhere explains whether or how it factored the Projects’ climate impacts into its public
         interest determinations, in violation of the APA. These fundamental legal errors render
         the Order unsustainable.

           Deficiencies in the Cumulative Air Pollution Impacts Analysis Undermine the Order



                30
                  The Projects are estimated to emit approximately 8,510,099 metric tons per year
         of CO2e. Order, 187 FERC ¶ 61,199 at P 165. That is equivalent to putting more than
         1,850,000 additional gas-fueled automobiles on the road. EPA, Greenhouse Gas
         Emissions from a Typical Passenger Vehicle (Aug. 28, 2023),
         https://www.epa.gov/greenvehicles/greenhouse-gas-emissions-typical-passenger-vehicle
         (“A typical passenger vehicle emits about 4.6 metric tons of CO2 per year.”).
                31
                  See supra P 6 & n.20 (discussing agency obligations under NEPA to engage in
         substantive analysis of environmental impacts).
                32
                  See 40 C.F.R. § 1502.2(b) (2024) (stating EISs “shall discuss impacts in
         proportion to their significance”); 40 C.F.R. § 1502.15 (2024) (“Data and analyses in a
         statement shall be commensurate with the importance of the impact . . .”).
                33
                   See Methow Valley, 490 U.S. at 352 (stating that an EIS must allow “the agency
         [or] other interested groups and individuals [to] properly evaluate the severity of the
         adverse effects [of an agency action]”).
                34
                   Id. at 350 (“The sweeping policy goals announced in § 101 of NEPA are thus
         realized through a set of action-forcing procedures that require that agencies take a hard
         look at environmental consequences.”) (cleaned up).
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429            Filed: 09/04/2024    Page 143 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 -9-

                 The Commission’s analysis of cumulative air quality impacts associated with the
         CP2 LNG Project was deficient, both procedurally and substantively, thereby
         undermining the Order’s conclusion that the project is “environmentally acceptable.”35
         CEQ regulations require that an agency publish an SEIS if “there are significant new
         circumstances or information relevant to environmental concerns and bearing on the
         proposed action or its impacts.”36 After the EIS for the Projects was published, critically
         important new information became available: EPA updated the National Ambient Air
         Quality Standard (NAAQS) for annual PM2.5 emissions. Based on the air emissions
         analysis in the EIS, cumulative PM2.5 emissions would exceed the new NAAQS. 37 The
         Commission treats NAAQS exceedances as significant environmental impacts because
         the standards are designed to protect human health.38 Consequently, with publication of
         the new NAAQS, the EIS’s conclusions that PM 2.5 emissions would be insignificant
         could not be sustained. Staff therefore required Venture Global to conduct new air
         modeling. Venture Global submitted the results of additional modeling purporting to
         show the new PM2.5 NAAQS would not be exceeded. But, as Sierra Club informed the
         Commission, the modeling did not account for planned increased PM2.5 emissions39 at
         the company’s existing Calcasieu Pass LNG terminal (CP1).40 These increased emissions
         are reflected in an air permit application that Venture Global filed with the state regulator
         but failed to share with the Commission. Commission staff then requested that Venture
         Global update the modeling to reflect these increased emissions.41 This time, Venture
         Global’s response did not include mobile emissions associated with CP1, and staff

                35
                     Order, 187 FERC ¶ 61,199 at P 198.
                36
                     40 C.F.R. § 1502.9(d)(1)(ii) (2024).
                37
                  See EIS at 4-372, table 4.12.1-22 (showing expected annual PM2.5
         concentrations at 9.4 µg/m3, exceeding the new NAAQS of 9.0 µg/m3).
                38
                   See 42 U.S.C. § 7409(b)(1) (“National primary ambient air quality standards . . .
         shall be ambient air quality standards the attainment and maintenance of which . . . are
         requisite to protect the public health.”); EIS at 4-376 (“[W]e find that the Project would
         not cause or contribute to an exceedance of the NAAQS, which are established to be
         protective of human health, including sensitive populations such as children, the elderly,
         and those with compromised respiratory function, i.e. asthmatics.”).
                39
                     Sierra Club April 22, 2024 Comments at 2.
                40
                  On February 21, 2019, the Commission granted Venture Global authorization to
         site, construct, and operate its Calcasieu Pass LNG export terminal. Venture Global
         Calcasieu Pass, LLC, 166 FERC ¶ 61,144 (2019).
                41
                     May 15, 2024 Environmental Information Request (EIR) No. 15 at 1.
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291          Document #2073429           Filed: 09/04/2024     Page 144 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 10 -

         requested a third round of modeling, which it received June 14, 2024. The data
         underlying that modeling has not been made public, so the basis for the Order’s
         conclusions on PM2.5 air pollutant impacts cannot be reviewed or verified by Sierra Club
         or other members of the public.

                 The Commission should have published an SEIS presenting and analyzing the new
         PM2.5 modeling data. NEPA requires that an agency prepare an EIS where there
         “might” be “any” significant environmental impacts,42 and “the decision whether to
         prepare a supplemental EIS is similar to the decision whether to prepare an EIS in the
         first instance.”43 Since the EIS indicated that there would be significant PM2.5 air
         pollution impacts associated with the CP2 terminal, the Commission was required to
         prepare an SEIS to account for the new data.

                 While the Order includes a truncated discussion of the updated modeling,44 that is
         insufficient. Failure to prepare an SEIS is more than a technical error. CEQ’s
         regulations provide that an agency “shall prepare, publish, and file a supplement to a[n
         EIS] . . . as a draft and final statement.”45 Although the regulation does not say so
         explicitly, the only purpose for publishing a draft would be for the public to comment on
         it. Consistent with the regulation, the Commission regularly provides for public
         comment on draft supplemental EISs.46 Public input ensures the Commission has a solid
         foundation for its environmental analysis and substantive decision-making. By failing to
         publish an SEIS regarding the new modeling, the Commission not only violated CEQ
         regulations but also compromised the Order itself.


                42
                  Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 985 F.3d 1032, 1039
         (D.C. Cir. 2021) (quoting Grand Canyon Tr. V. FAA, 290 F.3d 339, 340 (D.C. Cir.
         2002)); see also Sierra Club v. Peterson, 717 F.2d 1409, 1415 (D.C. Cir. 1983).
                43
                  Stand Up for Cal.! v. DOI, 994 F.3d 616, 628 (D.C. Cir. 2021) (quoting Marsh
         v. Or. Nat. Res. Council, 490 U.S. 360, 374 (1989)) (internal quotation marks omitted).
                44
                     Order, 187 FERC ¶ 61,199 at PP 192, 194, 197.
                45
                     40 C.F.R. § 1502.9(d)(3) (2024).
                46
                  Consistent with the regulation, the Commission regularly provides for public
         comment on draft supplemental EIS’s. See, e.g., Magnolia LNC, LLC; Notice of
         Availability of the Draft Environmental Impact Statement for the Proposed Magnolia
         Production Capacity Amendment, 84 Fed. Reg. 52,881 (Oct. 3, 2019); Fla. Se.
         Connection, LLC; Transcon. Gas Pipe Line Co., LLC; Sabal Trail Transmission, LLC;
         Notice of Availability of the Draft Supplemental Environmental Impact Statement for the
         Se. Mkt. Pipelines Project, 82 Fed. Reg. 46,233 (Oct. 4, 2017).
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291          Document #2073429            Filed: 09/04/2024     Page 145 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 11 -

                 There is a second reason for the Commission to prepare an SEIS addressing air
         pollution impacts. As Sierra Club repeatedly argued, the EIS improperly failed to
         consider mobile emissions from other LNG projects in the analysis of cumulative air
         pollution impacts.47 The Order suggests, with no explanation or citation to legal
         authority, that the Commission need not analyze the emissions from other LNG terminals
         if they are not included in the Louisiana Department of Environmental Quality Emissions
         Reporting Inventory (LDEQ Inventory). But nowhere does the Order address why the
         Commission chose to consider only the mobile emissions from the CP2 LNG Project and
         CP1, but not emissions from other Commission-authorized projects. Specifically, the
         analysis inexplicably excluded mobile emissions from the Driftwood LNG, Lake Charles
         Liquefaction, Commonwealth LNG, and Magnolia LNG projects.48 The LDEQ
         Inventory does not include the mobile emissions associated with the CP1 or CP2 LNG
         projects, yet the Commission included these emissions in its cumulative impacts
         modeling.49 As Sierra Club notes, the mobile emissions associated with all Commission-
         jurisdictional LNG facilities are clearly foreseeable as they have already been quantified
         in prior Commission EISs.50 NEPA requires that the Commission assess all reasonably
         foreseeable effects of the Projects.51 Contrary to the Order’s assertions,52 it is this
         foreseeability standard under NEPA, not the requirements for Clean Air Act permitting,

                47
                Sierra Club October 16, 2023 Comments on FEIS at 3-4; Sierra Club May 30,
         2024 Comments at 2.
                48
                   Sierra Club October 16, 2023 Comments on FEIS at 3-4. Driftwood LNG, Lake
         Charles Liquefaction, Commonwealth LNG, and Magnolia LNG operations all contribute
         or will contribute to cumulative air quality impacts in the project area. EIS at 4-511 to 4-
         512.
                49
                  In fact, the Commission rejected Venture Global’s air modeling as insufficient
         because it only included LDEQ Inventory sources and not CP1 mobile emissions. May
         29 EIR No. 16 at 3 (rejecting the May 15 modeling which was derived from modeling
         submitted to LDEQ because “it does not include the LNG ship and support vessel
         emissions from CP1”).
                50
                     Sierra Club October 16, 2023 Comments on FEIS at 3.
                51
                   See 40 C.F.R. § 1508.1(g)(3) (2024) (describing cumulative effects as “effects
         on the environment that result from the incremental effects of the action when added to
         the effects of other past, present, and reasonably foreseeable actions”); Sabal Trail, 867
         F.3d at 1371 (“Effects are reasonably foreseeable if they are ‘sufficiently likely to occur
         that a person of ordinary prudence would take [them] into account in reaching a
         decision.’”) (quoting EarthReports, Inc. v. FERC, 828 F.3d 949, 955 (D.C. Cir. 2016)).
                52
                     Order, 187 FERC ¶ 61,199 at P 195.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291          Document #2073429            Filed: 09/04/2024     Page 146 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 - 12 -

         that determines the required scope of the Commission’s review. The Commission’s
         inconsistent treatment of mobile emissions, along with its failure to explain that
         inconsistency, violates both NEPA and the APA.53 The Commission should rectify these
         deficiencies by publishing an SEIS that includes a cumulative impacts analysis
         incorporating all relevant mobile source emissions.

                The Order’s claim that modeling additional mobile sources would not change the
         “cause and contribute” analysis is simply unsupported.54 Factoring in additional
         emissions would likely identify new locations where the NAAQS will be exceeded, with
         the Projects deemed to cause or contribute to the exceedances.55 Without properly
         modeling all foreseeable mobile source emissions, the Commission risks failing to
         account for how the Projects might contribute to NAAQS violations and the consequent
         significant health risks. That risk is especially high in the case of these Projects, which
         are located in areas where NAAQS violations are already predicted.56

               The improper modeling of mobile source emissions highlights why the
         Commission should have made public all the modeling inputs upon which it relied.
         NEPA plays an information forcing role by requiring agencies both to assess the
         environmental impacts of their actions and to inform the public of its analysis.57 By

                53
                   State Farm, 463 U.S. at 43 (“[T]he agency must examine the relevant data and
         articulate a satisfactory explanation for its action including a ‘rational connection
         between the facts found and the choice made.’” (emphasis added) (quoting Burlington
         Truck Lines, Inc. v. United States, 371 U.S. at 168)).
                54
                     See Order, 187 FERC ¶ 61,199 at PP 186-88.
                55
                   The record confirms that including additional emissions sources will likely
         change the cause and contribute analysis. In Appendix K of the EIS, the highest project
         contribution to any potential NAAQS exceedance location for the 1-hour NO2 standard is
         3.7 μg/m3. EIS at Appendix K. But in updated modeling reflecting greater NO2
         emissions from CP1, new NAAQS exceedances were found, including a location where
         CP2 contributed 6.36 μg/m3 to the NO2 exceedance. See CP2 LNG June 3, 2024
         Response to EIR No. 16 at 3. Thus, the Order relies on outdated information in stating
         that “the highest project contribution to any potential NAAQS exceedance location for
         the 1-hour NO2 standard is 3.7 micrograms per cubic meter.” Order, 187 FERC ¶ 61,199
         at P 187.
                56
                     Order, 187 FERC ¶ 61,199 at P 186.
                57
                  Baltimore Gas & Elec. Co. v. NRDC, 462 U.S. 87, 97 (1983) (“NEPA has twin
         aims. First, it places upon an agency the obligation to consider every significant aspect of
         the environmental impact of a proposed action. Second, it ensures that the agency will
         inform the public that it has indeed considered environmental concerns in its
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291         Document #2073429             Filed: 09/04/2024     Page 147 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                - 13 -

         explaining its reasoning and the data on which it relies, the agency enables the public to
         identify informational gaps or errors for the agency to correct.58 Sierra Club did just that
         in this case, identifying the EIS’s failure to account for sources of mobile emissions in the
         EIS’s cumulative impacts analysis, as well as the increased PM2.5 emissions reflected in
         Venture Global’s state permit application. Shielding this information from the public
         limited the public’s ability to identify additional errors in the cumulative air impacts
         modeling and how they should be corrected.59 By limiting the information made
         available to the public, the Commission limited its ability to satisfy its own legal
         obligations.60


         decisionmaking process.”) (internal citations omitted).
                58
                  See Weinberger v. Catholic Action of Hawaii/Peace Educ. Project, 454 U.S.
         139, 143 (1981) (“Through the disclosure of an EIS, the public is made aware that the
         agency has taken environmental considerations into account.”); see also Methow Valley,
         490 U.S. at 349 (“Publication of an EIS . . . provides a springboard for public
         comment.”).
                59
                   See Sierra Club October 16, 2023 Comments on FEIS at 5-6 (explaining Sierra
         Club’s inability to provide a complete analysis of air modeling without modeling inputs).
         The majority’s claims that modeling information was provided is incorrect. See Order,
         187 FERC ¶ 61,199 at P 189. Venture Global did not make public any of the modeling
         data supporting the results submitted on June 3, 2024. This is the modeling supporting
         the ultimate conclusions in the Order with respect to air impacts. As to the earlier
         modeling, the Order mischaracterizes what information Venture Global made public.
         The “modeling files” are not included in Venture Global’s EIR, as the page referencing
         them is blank and has no link or embedded files. See Appendix E of CP2 LNG August 1,
         2022 Supplemental Response to EIR No. 3 at 951. While the public might be able to
         request the modeling files from the Commission, the Commission’s failure to
         affirmatively notify participants in the docket that they may request the modeling files
         means that the public functionally had no access. Of course, even if the data had been
         made public, there would have been too little time before issuance of this Order for any
         real evaluation of such highly technical information.
                60
                   See, e.g., Grazing Fields Farm v. Goldschmidt, 626 F.2d 1068, 1072-74 (1st Cir.
         1980) (failure to present data and analysis supporting agency’s decision in EIS
         improperly hampers public comment, “mut[ing] those most likely to identify problems
         and criticize decisions”); Trout Unlimited v. Morton, 509 F.2d 1276, 1283 (9th Cir. 1974)
         (“An EIS is in compliance with NEPA when its form, content, and preparation
         substantially . . . make available to the public, information of the proposed project's
         environmental impact and encourage public participation in the development of that
         information.”) (emphasis added).
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291           Document #2073429          Filed: 09/04/2024     Page 148 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 14 -

                            Inadequate Review of Impacts to Commercial Fishing

                 NEPA requires that when “economic or social and natural or physical
         environmental effects are interrelated, the environmental impact statement shall discuss
         and give appropriate consideration to these effects on the human environment.”61 Here,
         the Commission recognized that it must assess impacts on commercial fishing interests.
         Ultimately however, the EIS did not fully consider impacts on commercial fishing and
         the people who rely on it for their livelihoods.62 The EIS found that dredging associated
         with construction of the CP2 LNG Project “would likely result in the direct mortality of
         benthic organisms, including less mobile life stages of managed species such as shrimp
         and benthic invertebrates, which are an important food source for many species of fish.”63
         The EIS found that these impacts would not be significant because the “losses would be
         short term and the benthic community is expected to rebound within a few seasons.”64
         While the EIS concludes that shrimp populations will eventually recover, it fails to
         consider how this would impact commercial fishing. Comments from FISH,65 For a
         Better Bayou, and affected individuals indicate that a single season of decreased shrimp
         catch threatens to irrevocably end shrimping business ventures in the area.66 Yet, despite
         these comments, the EIS ignores the risk that temporary impacts on fisheries might
         permanently adversely affect commercial fishing businesses. Consequently, the

               61
                    40 C.F.R. § 1502.16(b).
               62
                  I distinguish between the fisheries, the fish population and ecosystem in a given
         area, and businesses and individuals engaged in commercial fishing businesses, who
         make their livelihood catching fish in the fishery.
               63
                    EIS at 4-206.
               64
                    Id.
               65
                  Fishermen Involved in Sustaining our Heritage (FISH) is a coalition of
         commercial fishermen in Southwestern Louisiana. See FISH April 18, 2024 Motion to
         Intervene at 1.
               66
                   Comments of Mr. Eustis at the March 1, 2023 Public Comment Meeting, pg. 24
         at lines 19-23 (noting that with regards to shrimping impacts “discontinuity of one season
         can be the difference between -- can bankrupt the family.”); FISH June 14, 2024
         Comments at 6 (“Mr. Theriot is unsure whether his commercial fishing business will
         survive through 2024 and he is worried that he may not be able to continue to make
         payments on his home.”); Id. at Exhibit 4, Theriot Declaration (describing how Mr.
         Theriot has experienced decreased catch volume since 2022, and declaring that “[i]f my
         shrimp catch does not recover this year, I am concerned that I will be forced out of
         business.”).
Document Accession #: 20240627-3107                Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429           Filed: 09/04/2024      Page 149 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                 - 15 -

         Commission failed to take the legally required “hard look” at commercial fishing
         impacts.

                 The Commission’s analysis of fishing impacts is flawed in other ways as well.
         The EIS recognizes that project construction would cause impacts to nearby fisheries due
         to marine traffic from LNG carriers.67 But the EIS is inconsistent in predicting the extent
         of the marine traffic impact commercial fishing businesses,68 likely because the
         Commission has not fully considered marine traffic impacts. The EIS suggests that
         impacts on shrimping boats are minimal because “[t]ypically, shrimp are most active at
         night when few vessels are using the Calcasieu Ship Channel.”69 But the assertion that
         few ships use the channel at night conflicts with the 2019 Port of Lake Charles Calcasieu
         Ship Channel Traffic Study (Marine Traffic Study), which the EIS relied on to assess
         expected traffic impacts.70 The Marine Traffic Study assumed that “[a]ll vessels were
         able to transit the channel at night, with no further restrictions and no preference given to
         either day or night transits.”71 Either the EIS is incorrect in its assertion that few vessels
         use the Calcasieu Ship Channel at night, and thus the impact on shrimpers is larger than
         the EIS contemplated, or the Marine Traffic Study does not paint a representative picture
         of traffic by assuming no preferences for channel transit time, in which case daytime
         fishers will face greater impacts than the EIS considered. Either way, the Commission’s
         analysis of marine traffic impacts on commercial fishing is flawed.

                In addition, the EIS ignores the features of the areas of the channel near the project
         terminal that make it a popular shrimping spot. The Order finds that there would be less
         than significant impacts on fishers who are members of EJ communities because the area
         near the terminal facilities “does not have any unique features or habitat characteristics
         that would draw recreational or commercial users to this particular location versus other

                67
                  EIS at 4-270 (finding that an “increase in delays associated with LNG carrier
         transit would have a moderate, but not significant impact on commercial fishing”).
                68
                   Contrast the EIS finding that the CP2 terminal in isolation would have a
         “moderate, but not significant impact on commercial fishing,” id., with later findings that
         “the Project would contribute negligibly to overall temporary and minor cumulative
         impacts on commercial fisheries in the Calcasieu Ship Channel.” Id. at 4-541. It is
         clearly inconsistent to find that the cumulative impacts of all ship traffic in the channel
         would be minor when the impacts of ship traffic from the ships servicing CP2 alone
         would be moderate.
                69
                     EIS at 4-270.
                70
                     EIS at 4-295; EIS at 4-543 to 4-544.
                71
                     Marine Traffic Study at 20.
Document Accession #: 20240627-3107             Filed Date: 06/27/2024
       USCA Case #24-1291          Document #2073429              Filed: 09/04/2024      Page 150 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                                   - 16 -

         locations within the Calcasieu Ship Channel.”72 But the ship channel, particularly the
         narrow area of the channel at the firing line,73 is a special habitat. The ship channel at the
         firing line represents an especially popular shrimping location in part because it acts as a
         unique geographic bottleneck where shrimp migrate.74 While the proposed LNG terminal
         is south of the firing line and so will not directly impact traffic in this unique location, the
         EIS fails to consider how “[t]he moving security zone around LNG carriers [which] has
         the potential to close the channel to traffic” would impact access to the area around the
         firing line.75

                In short, there are significant contradictions and omissions in the Commission’s
         analysis of project impacts on commercial fishing businesses. These errors in the
         Commission’s environmental analysis join the others in rendering the Order
         unsustainable.

                      Inadequate Consideration of Totality of Impacts on EJ Communities

                Although the EIS and Order purport to consider the Projects’ cumulative impacts
         on EJ communities, neither fully considered the interrelationship of the multiple adverse
         impacts the Projects would have on these communities. The EIS found that “the addition
         of the Terminal Facilities at this location would represent a significant impact on the
         viewshed of boaters, beachgoers, tourists, and local residents, as it would detract from the
         overall quality of the scenic views of this portion of the region.”76 These impacts would

                72
                     Order, 187 FERC ¶ 61,199 at P 112.
                73
                  The firing line represents the boundary between waters open for commercial
         fishing year round and those only open for seasonal commercial fishing. See EIS at 4-
         267 to 4-268.
                74
                  See EIS at 4-541. The EIS states that the migration occurs for “approximately
         two weeks,” although the length of migration is characterized as “generally… much
         longer than two weeks” by LDWF. Memo of May 23, 2023 Telephone Conversation
         with NMFW and LDWF at 1. It is not clear why the Commission disagreed with the
         LDWF assessment, or if a longer migration period would have changed the
         Commission’s assessment of the significance of impacts on shrimpers.
                75
                   EIS at 4-538. The Terminal facilities are approximately 1.5 miles from the
         firing line, and thus the shrimping location at the firing line would be impacted by any
         moving security zone, which extends for 2 miles ahead of applicable ships. 33 C.F.R. §
         165.805(a)(2) (2024) (“The following areas are moving security zones: . . . 2 miles ahead
         and 1 mile astern of certain designated vessels while in transit.”).
                76
                   EIS at 4-546. Notably, although the EIS recognizes that the terminal represents
         a significant impact on the viewshed of tourists, it does not examine how such an impact
Document Accession #: 20240627-3107            Filed Date: 06/27/2024
       USCA Case #24-1291            Document #2073429         Filed: 09/04/2024     Page 151 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                              - 17 -

         not be felt equally, however. Rather, “permanent changes in the viewshed would have a
         significant adverse effect on residents and passersby of those environmental justice
         communities near the Project,”77 resulting in “disproportionately high and adverse
         impact[s]”78 on EJ communities.

                 Members of EJ communities would also suffer from the LNG terminal’s adverse
         impacts on commercial fishing businesses. As discussed above, the EIS and Order
         provide a deficient analysis of the project’s impacts on commercial fishing businesses.79
         The EIS acknowledges that “commercial users in the Calcasieu Ship Channel . . . would
         likely include individuals from environmental justice communities.”80 Thus, the
         deficiencies in the analysis of adverse impacts on fishing blind the Commission to the
         adverse impacts on members of EJ communities. EJ communities are especially
         vulnerable to those impacts since one bad season can significantly disrupt fishing
         businesses,81 and low-income fishers without significant savings likely would be among
         those least likely to recover from that disruption.

                 The Commission has also failed to fully consider climate change impacts on EJ
         communities. The EIS found that “the impacts of compounded extreme events . . . may
         exacerbate preexisting community vulnerabilities and have a cumulative adverse impact
         on environmental justice communities.” 82 But we know that climate change will have
         adverse impacts on EJ communities. Commission Staff found “local mean sea level rise .
         . . [would be] 2.1 feet . . . between 2050 and 2060 (relative to year 2000) at the proposed
         project site area.”83 These rising sea levels can “accelerate coastal erosion and wetland
         loss, exacerbate flooding, and increase storm impacts.”84 Indeed, with the 2.1 feet of sea
         level rise some homes in identified impacted EJ communities will be permanently


         would affect tourism in the region.
                77
                     Id. at 4-319.
                78
                     Id. at 4-328.
                79
                     See supra PP 18-21.
                80
                     EIS at 4-545.
                81
                     See supra P 18.
                82
                     EIS at 4-549 (emphasis added).
                83
                     Id. at 4-453.
                84
                     Id. at 4-90.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291          Document #2073429           Filed: 09/04/2024      Page 152 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                               - 18 -

         underwater.85 Surely this is an adverse impact on EJ communities, but it is one the
         Commission completely failed to consider. Marginalized communities face additional
         barriers to moving when climate change makes their homes unlivable,86 highlighting why
         it is important for the Commission to fully consider impacts to EJ communities in its
         NEPA reviews.

                Finally, the Order fails to adequately assess the impact of cumulative air pollutant
         emissions on EJ communities. As discussed above, the Commission failed to properly
         assess cumulative emissions impacts by omitting foreseeable mobile sources that might
         well lead to NAAQS violations.87 This is especially disturbing given that “[p]eople in
         low socioeconomic neighborhoods and communities may be more vulnerable to air
         pollution,”88 making the health impacts even more severe.

                 The Order’s failure to fully assess the totality of impacts on EJ communities, like
         its deficient analysis of GHG impacts, falls short of the Commission’s legal obligations
         under NEPA, the NGA, and the APA. It is also difficult to square with the Commission’s
         commitment to “better integrate environmental justice and equity considerations in its
         decision-making processes,”89 and to address barriers to “adequate and consistent review
         of all potential project impacts to environmental justice communities, including
         cumulative impacts and impacts to health and safety.”90 Today’s approval of the Projects
         will compound the cumulative impacts of existing LNG projects on nearby EJ
         communities, and is a key reason the Projects will not serve the public interest.


                85
                   For example, some of the homes on Mildred street are at an elevation of just
         1.72 feet above current sea levels, leaving them underwater with 2.1 feet of additional sea
         level rise. See U.S. Geological Surv., The National Map,
         https://apps.nationalmap.gov/viewer/ (showing a 1.72 ft elevation at lat. 29.78469, long.
         93.29007 using the spot elevation tool).
                86
                  See, e.g., Bergan et al., Creating Moves to Opportunity: Experimental Evidence
         on Barriers to Neighborhood Choice, 114 Am. Econ. Rev. 2181 (2024).
                87
                     See supra P 15.
                88
                  EPA, Research on Health Effects from Air Pollution (May 28, 2024),
         https://www.epa.gov/air-research/research-health-effects-air-pollution.
                89
                  FERC, 2023 Equity Action Plan at 2 (Apr. 15, 2022),
         https://www.ferc.gov/equity.
                90
                  FERC, 2024 Equity Action Plan at 14 (June 6, 2024),
         https://www.ferc.gov/equity.
Document Accession #: 20240627-3107           Filed Date: 06/27/2024
       USCA Case #24-1291        Document #2073429          Filed: 09/04/2024   Page 153 of 172
         Docket Nos. CP22-21-000 and CP22-22-000                                        - 19 -

               For these reasons, I respectfully dissent.



         ________________________
         Allison Clements
         Commissioner
Document Accession #: 20240627-3107   Filed Date: 06/27/2024
      USCA Case #24-1291  Document #2073429    Filed: 09/04/2024 Page 154 of 172
   Document Content(s)
   CP22-21-000.docx..........................................................1
USCA Case #24-1291   Document #2073429   Filed: 09/04/2024   Page 155 of 172




                           EXHIBIT B
Document Accession #: 20240829-3022            Filed Date: 08/29/2024
       USCA Case #24-1291         Document #2073429             Filed: 09/04/2024     Page 156 of 172



                                      188 FERC ¶ 62,109
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

         Venture Global CP2 LNG, LLC                                  Docket Nos. CP22-21-001
         Venture Global CP Express, LLC                                           CP22-22-001

               NOTICE OF DENIAL OF REHEARING BY OPERATION OF LAW AND
                        PROVIDING FOR FURTHER CONSIDERATION

                                              (August 29, 2024)

                Rehearing has been timely requested of the Commission’s order issued on
         June 27, 2024, in this proceeding. Venture Glob. CP2 LNG, LLC, 187 FERC ¶ 61,199
         (2024). In the absence of Commission action on a request for rehearing within 30 days
         from the date it is filed, the request for rehearing may be deemed to have been denied.
         15 U.S.C. § 717r(a); 18 C.F.R. § 385.713 (2023); Allegheny Def. Project v. FERC,
         964 F.3d 1 (D.C. Cir. 2020) (en banc).

                As provided in 15 U.S.C. § 717r(a), the request for rehearing of the above-cited
         order filed in this proceeding will be addressed in a future order to be issued consistent
         with the requirements of such section. As also provided in 15 U.S.C. § 717r(a), the
         Commission may modify or set aside its above-cited order, in whole or in part, in such
         manner as it shall deem proper.



                                                        Debbie-Anne A. Reese,
                                                          Acting Secretary.
Document Accession #: 20240829-3022   Filed Date: 08/29/2024
      USCA Case #24-1291  Document #2073429    Filed: 09/04/2024 Page 157 of 172
   Document Content(s)
   CP22-21-001.docx..........................................................1
USCA Case #24-1291   Document #2073429   Filed: 09/04/2024   Page 158 of 172




                           EXHIBIT C
USCA Case #24-1291                          Document #2073429   Filed: 09/04/2024     Page 159 of 172



 Service List for CP22-21-000 Venture Global CP2 LNG, LLC
 Contacts marked ** must be postal served




                            Primary Person or Counsel
  Party                                                         Other Contact to be Served
                            of Record to be Served
                            Spencer Gall                        Megan Gibson
                            Southern Environmental Law Center   Southern Environmental Law Center
                            120 Garrett St                      122 C St. NW
  Anthony
                            Suite 400                           Suite 325
  Theriot
                            Charlottesville, VIRGINIA 22902     WASHINGTON, DISTRICT OF
                            UNITED STATES                       COLUMBIA 20001
                            sgall@selcva.org                    mgibson@selcdc.org
                            Deirdre Dlugoleski
                            Southern Environmental Law Center
                            120 Garrett St
  Anthony                   Suite 400
  Theriot                   CHARLOTTESVILLE, VIRGINIA
                            22902
                            UNITED STATES
                            ddlugoleski@selcva.org
                            Clement Tsao
                            Branstetter, Stranch & Jennings,
  Branstetter,
                            PLLC
  Stranch &
                            425 WALNUT ST STE 2315
  Jennings,
                            CINCINNATI, OHIO 45202
  PLLC
                            UNITED STATES
                            clementt@bsjfirm.com
                            Akayla Broussard
                            Cheniere Energy, Inc.               Karri Mahmoud
                            Cheniere Energy, Inc.               Director, Environmental and Re
  Cheniere
                            845 Texas Avenue                    Cheniere Energy, Inc.
  Creole Trail
                            Suite 1250                          845 Texas Avenue, Ste. 1250
  Pipeline, L.P.
                            Houston, TEXAS 77002                HOUSTON, TEXAS 77002
                            UNITED STATES                       karri.mahmoud@cheniere.com
                            akayla.broussard@cheniere.com
                            Taylor Johnson
                            Deputy General Counsel
  Cheniere                  Cheniere Energy, Inc.
  Creole Trail              PO Box Null
  Pipeline, L.P.            Houston,TEXAS 77002
                            UNITED STATES
                            taylor.johnson@cheniere.com


                                                           1
USCA Case #24-1291        Document #2073429            Filed: 09/04/2024     Page 160 of 172



               David Wochner
               K&L Gates LLP
               1601 K Street, NW
  Commonwealth Suite 400
  LNG, LLC     Washington, DISTRICT OF
               COLUMBIA 20006-1600
               UNITED STATES
               david.wochner@klgates.com
               Timothy Furdyna
               Partner
               K&L Gates LLP
               1601 K Street, NW
  Commonwealth
               Suite 400
  LNG, LLC
               Washington, DISTRICT OF
               COLUMBIA 20006
               UNITED STATES
               tim.furdyna@klgates.com
                   Lisa Tonery
                   Attorney                            Mariah T Johnston
                   ORRICK, HERRINGTON &                Orrick, Herrington & Sutcliffe LLP
  Driftwood        SUTCLIFFE, LLP                      51 West 52nd St
  LNG LLC          51 West 52nd Street                 22nd Floor
                   New York, NEW YORK 10019            New York, NEW YORK 10019
                   UNITED STATES                       mjohnston@orrick.com
                   ltonery@orrick.com
                                                       Catherine Rourke
                                                       VP, Health, Safety, and Enviro
                                                       Tellurian Inc.
  Driftwood
                                                       1201 LOUISIANA ST STE 3100
  LNG LLC
                                                       DRIFTWOOD LNG
                                                       HOUSTON, TEXAS 77002
                                                       cathy.rourke@driftwoodlng.com
                   Lisa Tonery
                   Attorney                            Mariah T Johnston
                   ORRICK, HERRINGTON &                Orrick, Herrington & Sutcliffe LLP
  Driftwood        SUTCLIFFE, LLP                      51 West 52nd St
  Pipeline LLC     51 West 52nd Street                 22nd Floor
                   New York, NEW YORK 10019            New York, NEW YORK 10019
                   UNITED STATES                       mjohnston@orrick.com
                   ltonery@orrick.com
  Fisherman        Spencer Gall                        Megan Gibson
  Involved in      Southern Environmental Law Center   Southern Environmental Law Center
  Sustaining Our   120 Garrett St                      122 C St. NW
  Heritage         Suite 400                           Suite 325

                                              2
USCA Case #24-1291      Document #2073429            Filed: 09/04/2024    Page 161 of 172



                 Charlottesville, VIRGINIA 22902     WASHINGTON, DISTRICT OF
                 UNITED STATES                       COLUMBIA 20001
                 sgall@selcva.org                    mgibson@selcdc.org
                 Deirdre Dlugoleski
                 Southern Environmental Law Center
  Fishermen      120 Garrett St
  Involved in    Suite 400
  Sustaining Our CHARLOTTESVILLE, VIRGINIA
  Heritage       22902
                 UNITED STATES
                 ddlugoleski@selcva.org
                 Spencer Gall                        Megan Gibson
                 Southern Environmental Law Center   Southern Environmental Law Center
                 120 Garrett St                      122 C St. NW
  For a Better
                 Suite 400                           Suite 325
  Bayou
                 Charlottesville, VIRGINIA 22902     WASHINGTON, DISTRICT OF
                 UNITED STATES                       COLUMBIA 20001
                 sgall@selcva.org                    mgibson@selcdc.org
                                                     Deirdre Dlugoleski
                                                     Southern Environmental Law Center
                                                     120 Garrett St
  For a Better
                                                     Suite 400
  Bayou
                                                     CHARLOTTESVILLE, VIRGINIA
                                                     22902
                                                     ddlugoleski@selcva.org
               Kevin Sweeney
               Law Office of Kevin M. Sweeney        S Diane Neal
               1717 K Street, NW                     Assoc. General Counsel
  Golden Pass
               Suite 900                             Golden Pass LNG Project
  LNG Terminal
               Washington, DISTRICT OF               811 Louisiana St
  LLC
               COLUMBIA 20006                        Houston, TEXAS 77002
               UNITED STATES                         dneal@goldenpasslng.com
               ksweeney@kmsenergylaw.com
                 Kevin Sweeney
                 Law Office of Kevin M. Sweeney      S Diane Neal
                 1717 K Street, NW                   Assoc. General Counsel
  Golden Pass    Suite 900                           Golden Pass LNG Project
  Pipeline LLC   Washington, DISTRICT OF             811 Louisiana St
                 COLUMBIA 20006                      Houston, TEXAS 77002
                 UNITED STATES                       dneal@goldenpasslng.com
                 ksweeney@kmsenergylaw.com
                 naomi yoder
  Healthy Gulf   5912 KANSAS ST UNIT A
                 HOUSTON, TEXAS 77007

                                            3
USCA Case #24-1291       Document #2073429            Filed: 09/04/2024    Page 162 of 172



                  UNITED STATES
                  n yoder@yahoo.com
                  Spencer Gall                        Megan Gibson
                  Southern Environmental Law Center   Southern Environmental Law Center
                  120 Garrett St                      122 C St. NW
  Jerryd Tassin   Suite 400                           Suite 325
                  Charlottesville, VIRGINIA 22902     WASHINGTON, DISTRICT OF
                  UNITED STATES                       COLUMBIA 20001
                  sgall@selcva.org                    mgibson@selcdc.org
                                                      Deirdre Dlugoleski
                                                      Southern Environmental Law Center
                                                      120 Garrett St
  Jerryd Tassin                                       Suite 400
                                                      CHARLOTTESVILLE, VIRGINIA
                                                      22902
                                                      ddlugoleski@selcva.org
                  Spencer Gall                        Megan Gibson
                  Southern Environmental Law Center   Southern Environmental Law Center
                  120 Garrett St                      122 C St. NW
  Kent Duhon      Suite 400                           Suite 325
                  Charlottesville, VIRGINIA 22902     WASHINGTON, DISTRICT OF
                  UNITED STATES                       COLUMBIA 20001
                  sgall@selcva.org                    mgibson@selcdc.org
                                                      Deirdre Dlugoleski
                                                      Southern Environmental Law Center
                                                      120 Garrett St
  Kent Duhon                                          Suite 400
                                                      CHARLOTTESVILLE, VIRGINIA
                                                      22902
                                                      ddlugoleski@selcva.org
                 James Hiatt
                 3416B Canal Street
  Louisiana
                 New Orleans, LOUISIANA 70119
  Bucket Brigade
                 UNITED STATES
                 james@labucketbrigade.org
                Tom Gosselin
  Louisiana     Sierra Club
  Environmental PO BOX 4998
  Action        AUSTIN, TEXAS 78765
  Network       UNITED STATES
                tom.gosselin@sierraclub.org
  Mary Alice      Megan Gibson                        Zoe Klass-Warch
  Nash            Southern Environmental Law Center   Niskanen Center


                                              4
USCA Case #24-1291       Document #2073429            Filed: 09/04/2024    Page 163 of 172



                  122 C St. NW                        820 First Street, NE, Suite 675
                  Suite 325                           Washington DC, DISTRICT OF
                  WASHINGTON, DISTRICT OF             COLUMBIA 20002
                  COLUMBIA 20001                      zklasswarch@niskanencenter.org
                  UNITED STATES
                  mgibson@selcdc.org
                  Deirdre Dlugoleski
                  Southern Environmental Law Center   Spencer Gall
                  120 Garrett St                      Southern Environmental Law Center
  Mary Alice      Suite 400                           120 Garrett St
  Nash            CHARLOTTESVILLE, VIRGINIA           Suite 400
                  22902                               Charlottesville, VIRGINIA 22902
                  UNITED STATES                       sgall@selcva.org
                  ddlugoleski@selcva.org
                  Morgan Johnson
                                                      Gillian R Giannetti
                  Staff Attorney
                                                      Staff Attorney
                  Natural Resources Defense Council
  Natural                                             Natural Resources Defense Council
                  1152 15TH STREET NW
  Resources                                           1152 15th Street, NW
                  SUITE 300
  Defense                                             Suite 300
                  Washington, DISTRICT OF
  Council                                             Washington, DISTRICT OF
                  COLUMBIA 20005
                                                      COLUMBIA 20005
                  UNITED STATES
                                                      ggiannetti@nrdc.org
                  majohnson@nrdc.org
                  Spencer Gall                        Megan Gibson
                  Southern Environmental Law Center   Southern Environmental Law Center
                  120 Garrett St                      122 C St. NW
  Nicole Dardar   Suite 400                           Suite 325
                  Charlottesville, VIRGINIA 22902     WASHINGTON, DISTRICT OF
                  UNITED STATES                       COLUMBIA 20001
                  sgall@selcva.org                    mgibson@selcdc.org
                                                      Deirdre Dlugoleski
                                                      Southern Environmental Law Center
                                                      120 Garrett St
  Nicole Dardar                                       Suite 400
                                                      CHARLOTTESVILLE, VIRGINIA
                                                      22902
                                                      ddlugoleski@selcva.org
                  Zoe Klass-Warch
                  Niskanen Center
                  820 First Street, NE, Suite 675
  Niskanen
                  Washington DC, DISTRICT OF
  Center
                  COLUMBIA 20002
                  UNITED STATES
                  zklasswarch@niskanencenter.org

                                             5
USCA Case #24-1291      Document #2073429          Filed: 09/04/2024   Page 164 of 172



                John Beard
  Port Arthur   Mr.
  Community     501 W. 15th St. Port Arthur, TX
  Action        Port Arthur, TEXAS 77640
  Network       UNITED STATES
                john.beard901456@outlook.com
               Tyson Slocum
               Energy Program Director
               Public Citizen's Energy Program
               215 PENNSYLVANIA AVE SE
  PUBLIC
               PUBLIC CITIZEN, INC.
  CITIZEN, INC
               WASHINGTON, DISTRICT OF
               COLUMBIA 20003
               UNITED STATES
               tslocum@citizen.org
                RESTORE RESTORE
                RESTORE
                RESTORE
  RESTORE       PO Box 233
                Longville,LOUISIANA 70652-0233
                UNITED STATES
                michaeltritico@yahoo.com
                RESTORE RESTORE
                RESTORE
                RESTORE
  RESTORE       PO Box 233
                Longville,LOUISIANA 70652-0233
                UNITED STATES
                michaeltritico@yahoo.com
                Tom Gosselin
                Sierra Club
                PO BOX 4998
  Sierra Club
                AUSTIN, TEXAS 78765
                UNITED STATES
                tom.gosselin@sierraclub.org
                Clement Tsao
                Branstetter, Stranch & Jennings,
  Southeast
                PLLC
  Laborers
                425 WALNUT ST STE 2315
  District
                CINCINNATI, OHIO 45202
  Council
                UNITED STATES
                clementt@bsjfirm.com
  State of      Joseph St. John
  Louisiana     Deputy Solicitor General

                                              6
USCA Case #24-1291        Document #2073429           Filed: 09/04/2024    Page 165 of 172



                  909 POYDRAS ST STE 1850
                  LOUISIANA DEPARTMENT OF
                  JUSTICE
                  NEW ORLEANS, LOUISIANA
                  70112
                  UNITED STATES
                  stjohnj@ag.louisiana.gov
                  Tom Gosselin
  Texas           Sierra Club
  Campaign For    PO BOX 4998
  The             AUSTIN, TEXAS 78765
  Environment     UNITED STATES
                  tom.gosselin@sierraclub.org
                  Spencer Gall                        Megan Gibson
                  Southern Environmental Law Center   Southern Environmental Law Center
                  120 Garrett St                      122 C St. NW
  Travis Dardar   Suite 400                           Suite 325
                  Charlottesville, VIRGINIA 22902     WASHINGTON, DISTRICT OF
                  UNITED STATES                       COLUMBIA 20001
                  sgall@selcva.org                    mgibson@selcdc.org
                                                      Deirdre Dlugoleski
                                                      Southern Environmental Law Center
                                                      120 Garrett St
  Travis Dardar                                       Suite 400
                                                      CHARLOTTESVILLE, VIRGINIA
                                                      22902
                                                      ddlugoleski@selcva.org
                  Joanie Steinhaus
                  Program Director
  Turtle Island
                  1214 Bowie Drive
  Restoration
                  Galveston, TEXAS 77551
  Network
                  UNITED STATES
                  joanie@tirn.net
                 Patrick Nevins
                 Latham & Watkins LLP
                                                      Sandra Snyder, ESQ
                 Latham & Watkins LLP
                                                      Assistant General Counsel
  Venture Global 555 Eleventh Street NW
                                                      Venture Global LNG Inc.
  CP Express     Suite 1000
                                                      1001 19TH ST N STE 1500
  LLC            Washington, DISTRICT OF
                                                      ARLINGTON, VIRGINIA 22209
                 COLUMBIA 20004
                                                      ssnyder@venturegloballng.com
                 UNITED STATES
                 patrick.nevins@lw.com




                                                7
USCA Case #24-1291     Document #2073429       Filed: 09/04/2024   Page 166 of 172



                 Patrick Nevins
                 Latham & Watkins LLP
                                               Sandra Snyder, ESQ
                 Latham & Watkins LLP
                                               Assistant General Counsel
  Venture Global 555 Eleventh Street NW
                                               Venture Global LNG Inc.
  CP2 LNG,       Suite 1000
                                               1001 19TH ST N STE 1500
  LLC            Washington, DISTRICT OF
                                               ARLINGTON, VIRGINIA 22209
                 COLUMBIA 20004
                                               ssnyder@venturegloballng.com
                 UNITED STATES
                 patrick.nevins@lw.com




                                           8
USCA Case #24-1291                          Document #2073429   Filed: 09/04/2024      Page 167 of 172



 Service List for CP22-22-000 Venture Global CP Express, LLC
 Contacts marked ** must be postal served




                          Primary Person or Counsel
  Party                                                         Other Contact to be Served
                          of Record to be Served
                          Spencer Gall                          Megan Gibson
                          Southern Environmental Law Center     Southern Environmental Law Center
                          120 Garrett St                        122 C St. NW
  Anthony
                          Suite 400                             Suite 325
  Theriot
                          Charlottesville, VIRGINIA 22902       WASHINGTON, DISTRICT OF
                          UNITED STATES                         COLUMBIA 20001
                          sgall@selcva.org                      mgibson@selcdc.org
                          Deirdre Dlugoleski
                          Southern Environmental Law Center
                          120 Garrett St
  Anthony                 Suite 400
  Theriot                 CHARLOTTESVILLE, VIRGINIA
                          22902
                          UNITED STATES
                          ddlugoleski@selcva.org
                          Lisa Tonery
                          Attorney                              Mariah T Johnston
                          ORRICK, HERRINGTON &                  Orrick, Herrington & Sutcliffe LLP
  Driftwood               SUTCLIFFE, LLP                        51 West 52nd St
  LNG LLC                 51 West 52nd Street                   22nd Floor
                          New York, NEW YORK 10019              New York, NEW YORK 10019
                          UNITED STATES                         mjohnston@orrick.com
                          ltonery@orrick.com
                                                                Catherine Rourke
                                                                VP, Health, Safety, and Enviro
                                                                Tellurian Inc.
  Driftwood
                                                                1201 LOUISIANA ST STE 3100
  LNG LLC
                                                                DRIFTWOOD LNG
                                                                HOUSTON, TEXAS 77002
                                                                cathy.rourke@driftwoodlng.com
               Lisa Tonery                                      Mariah T Johnston
               Attorney                                         Orrick, Herrington & Sutcliffe LLP
  Driftwood    ORRICK, HERRINGTON &                             51 West 52nd St
  Pipeline LLC SUTCLIFFE, LLP                                   22nd Floor
               51 West 52nd Street                              New York, NEW YORK 10019
               New York, NEW YORK 10019                         mjohnston@orrick.com



                                                           9
USCA Case #24-1291       Document #2073429           Filed: 09/04/2024    Page 168 of 172



                 UNITED STATES
                 ltonery@orrick.com
                 Spencer Gall                        Megan Gibson
                 Southern Environmental Law Center   Southern Environmental Law Center
  Fishermen
                 120 Garrett St                      122 C St. NW
  Involved in
                 Suite 400                           Suite 325
  Sustaining
                 Charlottesville, VIRGINIA 22902     WASHINGTON, DISTRICT OF
  Our Heritage
                 UNITED STATES                       COLUMBIA 20001
                 sgall@selcva.org                    mgibson@selcdc.org
                                                     Deirdre Dlugoleski
                                                     Southern Environmental Law Center
  Fishermen
                                                     120 Garrett St
  Involved in
                                                     Suite 400
  Sustaining
                                                     CHARLOTTESVILLE, VIRGINIA
  Our Heritage
                                                     22902
                                                     ddlugoleski@selcva.org
                 Spencer Gall                        Megan Gibson
                 Southern Environmental Law Center   Southern Environmental Law Center
                 120 Garrett St                      122 C St. NW
  For a Better
                 Suite 400                           Suite 325
  Bayou
                 Charlottesville, VIRGINIA 22902     WASHINGTON, DISTRICT OF
                 UNITED STATES                       COLUMBIA 20001
                 sgall@selcva.org                    mgibson@selcdc.org
                                                     Deirdre Dlugoleski
                                                     Southern Environmental Law Center
                                                     120 Garrett St
  For a Better
                                                     Suite 400
  Bayou
                                                     CHARLOTTESVILLE, VIRGINIA
                                                     22902
                                                     ddlugoleski@selcva.org
               Kevin Sweeney
               Law Office of Kevin M. Sweeney        S Diane Neal
               1717 K Street, NW                     Assoc. General Counsel
  Golden Pass
               Suite 900                             Golden Pass LNG Project
  LNG
               Washington, DISTRICT OF               811 Louisiana St
  Terminal LLC
               COLUMBIA 20006                        Houston, TEXAS 77002
               UNITED STATES                         dneal@goldenpasslng.com
               ksweeney@kmsenergylaw.com
               Kevin Sweeney                         S Diane Neal
               Law Office of Kevin M. Sweeney        Assoc. General Counsel
  Golden Pass 1717 K Street, NW                      Golden Pass LNG Project
  Pipeline LLC Suite 900                             811 Louisiana St
               Washington, DISTRICT OF               Houston, TEXAS 77002
               COLUMBIA 20006                        dneal@goldenpasslng.com

                                            10
USCA Case #24-1291        Document #2073429           Filed: 09/04/2024    Page 169 of 172



                  UNITED STATES
                  ksweeney@kmsenergylaw.com
                  naomi yoder
                  5912 KANSAS ST UNIT A
  Healthy Gulf    HOUSTON, TEXAS 77007
                  UNITED STATES
                  n yoder@yahoo.com
                  Spencer Gall                        Megan Gibson
                  Southern Environmental Law Center   Southern Environmental Law Center
                  120 Garrett St                      122 C St. NW
  Jerryd Tassin   Suite 400                           Suite 325
                  Charlottesville, VIRGINIA 22902     WASHINGTON, DISTRICT OF
                  UNITED STATES                       COLUMBIA 20001
                  sgall@selcva.org                    mgibson@selcdc.org
                                                      Deirdre Dlugoleski
                                                      Southern Environmental Law Center
                                                      120 Garrett St
  Jerryd Tassin                                       Suite 400
                                                      CHARLOTTESVILLE, VIRGINIA
                                                      22902
                                                      ddlugoleski@selcva.org
                  Spencer Gall                        Megan Gibson
                  Southern Environmental Law Center   Southern Environmental Law Center
                  120 Garrett St                      122 C St. NW
  Kent Duhon      Suite 400                           Suite 325
                  Charlottesville, VIRGINIA 22902     WASHINGTON, DISTRICT OF
                  UNITED STATES                       COLUMBIA 20001
                  sgall@selcva.org                    mgibson@selcdc.org
                                                      Deirdre Dlugoleski
                                                      Southern Environmental Law Center
                                                      120 Garrett St
  Kent Duhon                                          Suite 400
                                                      CHARLOTTESVILLE, VIRGINIA
                                                      22902
                                                      ddlugoleski@selcva.org
                  James Hiatt
  Louisiana       3416B Canal Street
  Bucket          New Orleans, LOUISIANA 70119
  Brigade         UNITED STATES
                  james@labucketbrigade.org
                Tom Gosselin
  Louisiana
                Sierra Club
  Environmental
                PO BOX 4998


                                             11
USCA Case #24-1291         Document #2073429             Filed: 09/04/2024     Page 170 of 172



  Action          AUSTIN, TEXAS 78765
  Network         UNITED STATES
                  tom.gosselin@sierraclub.org
                  Zoe Klass-Warch                        Megan Gibson
                  Niskanen Center                        Southern Environmental Law Center
                  820 First Street, NE, Suite 675        122 C St. NW
  Mary Alice
                  Washington DC, DISTRICT OF             Suite 325
  Nash
                  COLUMBIA 20002                         WASHINGTON, DISTRICT OF
                  UNITED STATES                          COLUMBIA 20001
                  zklasswarch@niskanencenter.org         mgibson@selcdc.org
                  Deirdre Dlugoleski
                  Southern Environmental Law Center      Spencer Gall
                  120 Garrett St                         Southern Environmental Law Center
  Mary Alice      Suite 400                              120 Garrett St
  Nash            CHARLOTTESVILLE, VIRGINIA              Suite 400
                  22902                                  Charlottesville, VIRGINIA 22902
                  UNITED STATES                          sgall@selcva.org
                  ddlugoleski@selcva.org
                  Morgan Johnson
                                                         Gillian R Giannetti
                  Staff Attorney
                                                         Staff Attorney
                  Natural Resources Defense Council
  Natural                                                Natural Resources Defense Council
                  1152 15TH STREET NW
  Resources                                              1152 15th Street, NW
                  SUITE 300
  Defense                                                Suite 300
                  Washington, DISTRICT OF
  Council                                                Washington, DISTRICT OF
                  COLUMBIA 20005
                                                         COLUMBIA 20005
                  UNITED STATES
                                                         ggiannetti@nrdc.org
                  majohnson@nrdc.org
                Spencer Gall                             Megan Gibson
                Southern Environmental Law Center        Southern Environmental Law Center
                120 Garrett St                           122 C St. NW
  Nicole Dardar Suite 400                                Suite 325
                Charlottesville, VIRGINIA 22902          WASHINGTON, DISTRICT OF
                UNITED STATES                            COLUMBIA 20001
                sgall@selcva.org                         mgibson@selcdc.org
                                                         Deirdre Dlugoleski
                                                         Southern Environmental Law Center
                                                         120 Garrett St
  Nicole Dardar                                          Suite 400
                                                         CHARLOTTESVILLE, VIRGINIA
                                                         22902
                                                         ddlugoleski@selcva.org
                  Zoe Klass-Warch
  Niskanen
                  Niskanen Center
  Center
                  820 First Street, NE, Suite 675

                                                    12
USCA Case #24-1291       Document #2073429              Filed: 09/04/2024   Page 171 of 172



                Washington DC, DISTRICT OF
                COLUMBIA 20002
                UNITED STATES
                zklasswarch@niskanencenter.org
                John Beard
  Port Arthur   Mr.
  Community     501 W. 15th St. Port Arthur, TX
  Action        Port Arthur, TEXAS 77640
  Network       UNITED STATES
                john.beard901456@outlook.com
                Tyson Slocum
                Energy Program Director
                Public Citizen's Energy Program
  PUBLIC        215 PENNSYLVANIA AVE SE
  CITIZEN,      PUBLIC CITIZEN, INC.
  INC           WASHINGTON, DISTRICT OF
                COLUMBIA 20003
                UNITED STATES
                tslocum@citizen.org
                RESTORE RESTORE
                RESTORE
                RESTORE
  RESTORE       PO Box 233
                Longville,LOUISIANA 70652-0233
                UNITED STATES
                michaeltritico@yahoo.com
                Tom Gosselin
                Sierra Club
                PO BOX 4998
  Sierra Club
                AUSTIN, TEXAS 78765
                UNITED STATES
                tom.gosselin@sierraclub.org
                Clement Tsao
  Southeast     Branstetter, Stranch & Jennings, PLLC
  Laborers      425 WALNUT ST STE 2315
  District      CINCINNATI, OHIO 45202
  Council       UNITED STATES
                clementt@bsjfirm.com
                Joseph St. John
                Deputy Solicitor General
  State of      909 POYDRAS ST STE 1850
  Louisiana     LOUISIANA DEPARTMENT OF
                JUSTICE
                NEW ORLEANS, LOUISIANA 70112

                                              13
USCA Case #24-1291         Document #2073429           Filed: 09/04/2024    Page 172 of 172



                  UNITED STATES
                  stjohnj@ag.louisiana.gov
               Tom Gosselin
  Texas        Sierra Club
  Campaign For PO BOX 4998
  The          AUSTIN, TEXAS 78765
  Environment UNITED STATES
               tom.gosselin@sierraclub.org
                Spencer Gall                           Megan Gibson
                Southern Environmental Law Center      Southern Environmental Law Center
                120 Garrett St                         122 C St. NW
  Travis Dardar Suite 400                              Suite 325
                Charlottesville, VIRGINIA 22902        WASHINGTON, DISTRICT OF
                UNITED STATES                          COLUMBIA 20001
                sgall@selcva.org                       mgibson@selcdc.org
                                                       Deirdre Dlugoleski
                                                       Southern Environmental Law Center
                                                       120 Garrett St
  Travis Dardar                                        Suite 400
                                                       CHARLOTTESVILLE, VIRGINIA
                                                       22902
                                                       ddlugoleski@selcva.org
                  Joanie Steinhaus
                  Program Director
  Turtle Island
                  1214 Bowie Drive
  Restoration
                  Galveston, TEXAS 77551
  Network
                  UNITED STATES
                  joanie@tirn.net
                  Patrick Nevins
                  Latham & Watkins LLP
                                                       Sandra Snyder, ESQ
                  Latham & Watkins LLP
                                                       Assistant General Counsel
  Venture         555 Eleventh Street NW
                                                       Venture Global LNG Inc.
  Global CP       Suite 1000
                                                       1001 19TH ST N STE 1500
  Express LLC     Washington, DISTRICT OF
                                                       ARLINGTON, VIRGINIA 22209
                  COLUMBIA 20004
                                                       ssnyder@venturegloballng.com
                  UNITED STATES
                  patrick.nevins@lw.com
                  Patrick Nevins
                                                       Sandra Snyder, ESQ
                  Latham & Watkins LLP
                                                       Assistant General Counsel
  Venture         555 Eleventh Street NW, Suite 1000
                                                       Venture Global LNG Inc.
  Global CP2      Washington, DISTRICT OF
                                                       1001 19TH ST N STE 1500
  LNG, LLC        COLUMBIA 20004
                                                       ARLINGTON, VIRGINIA 22209
                  UNITED STATES
                                                       ssnyder@venturegloballng.com
                  patrick.nevins@lw.com

                                              14
